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                      EXHIBIT 5
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                             Amazon.com, Inc., et al.

                                             v.

                               WDC Holdings LLC



                                    Transcript of

                        Danny Christopher Mulcahy
                                      Volume I

                                  March 30, 2022




                                      EXHIBIT 5
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        Danny Christopher Mulcahy               Amazon.com, Inc., et al. v. WDC Holdings LLC

                                                                                  Page 1
        ·1· · · · · · IN THE UNITED STATES DISTRICT COURT
        · · · · · · · FOR THE EASTERN DISTRICT OF VIRGINIA
        ·2· · · · · · · · · · ALEXANDRIA DIVISION

        ·3
        · ·   ·   AMAZON.COM, INC. and· · · · )
        ·4·   ·   AMAZON DATA SERVICES,· · · ·)
        · ·   ·   INC.,· · · · · · · · · · · ·)
        ·5·   ·   · · · · · · · · · · · · · · )·             ·Case No.
        · ·   ·   · Plaintiff,· · · · · · · · )·             ·1:20-CV-484-
        ·6·   ·   · · · · · · · · · · · · · · )·             ·RDA-TCB
        · ·   ·   vs.· · · · · · · · · · · · ·)
        ·7·   ·   · · · · · · · · · · · · · · )
        · ·   ·   WDC HOLDINGS, LLC dba· · · ·)
        ·8·   ·   NORTHSTAR COMMERCIAL· · · · )·             ·***CONFIDENTIAL***
        · ·   ·   PARTNERS, et al.,· · · · · ·)·             · · ·VIDEOTAPED
        ·9·   ·   · · · · · · · · · · · · · · )·             · · ·DEPOSITION
        · ·   ·   · Defendant.· · · · · · · · )
        10·   ·   __________________________· )·             · · · · ·OF
        · ·   ·   800 HOYT LLC,· · · · · · · ·)
        11·   ·   · · · · · · · · · · · · · · )·             ·DANIEL CHRISTOPHER
        · ·   ·   · Intervening Interpleader· )·             · · · ·MULCAHY
        12·   ·   · Plaintiff/Intervening· · ·)
        · ·   ·   · Interpleader Counter-· · ·)·             · · · Taken on
        13·   ·   · Defendant,· · · · · · · · )·             · · ·Wednesday,
        · ·   ·   · · · · · · · · · · · · · · )·             · ·March 30, 2022
        14·   ·   vs.· · · · · · · · · · · · ·)
        · ·   ·   · · · · · · · · · · · · · · )
        15·   ·   BRIAN WATSON, WDC· · · · · ·)·             · ·By a Certified
        · ·   ·   HOLDINGS, LLC, and BW· · · ·)·             ·Court Reporter and
        16·   ·   HOLDINGS, LLC,· · · · · · · )·             ·Legal Videographer
        · ·   ·   · · · · · · · · · · · · · · )
        17·   ·   · Interpleader Defendants,· )
        · ·   ·   · · · · · · · · · · · · · · )·             · · At 9:36 a.m.
        18·   ·   AMAZON.COM, INC. and· · · · )
        · ·   ·   AMAZON DATA SERVICES,· · · ·)
        19·   ·   INC.,· · · · · · · · · · · ·)·             ·At 100 North City
        · ·   ·   · · · · · · · · · · · · · · )·             · ·Parkway, Suite
        20·   ·   · Interpleader Defendants/· )·             · · · · 1600
        · ·   ·   · Interpleader Counter-· · ·)·             ·Las Vegas, Nevada
        21·   ·   · Plaintiffs.· · · · · · · ·)·             · · · · 89106
        · ·   ·   __________________________· )
        22

        23

        24
        · · ·Reported by:· Sarah Safier, CCR No. 808
        25· ·Job No. 48397, Firm No. 061F



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        ·2·   ·For the Plaintiffs Amazon.com, Inc. and Amazon Data                · ·   · · · · · · · · · · · (Continued)
        · ·   ·Services:                                                          ·2
        ·3
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        ·4·   ·   ·   ·   ·   Gibson, Dunn & Crutcher, LLP                        ·3
        · ·   ·   ·   ·   ·   200 Park Avenue                                     · ·   ·DM-010 - Declaration of D. Matthew Doden· · · · 143
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        ·7·   ·   ·   ·   ·   1050 Connecticut Avenue NW                          · ·   · · · · · Structure Chart
        · ·   ·   ·   ·   ·   Washington, D.C. 20036
        ·8                                                                        ·6
        · ·   ·For the Defendants WDC Holdings, LLC, Brian Watson,                · ·   ·DM-012 - 12/11/18 - 12/14/18 E-Mail Chain/· · · 162
        ·9·   ·Sterling NCP FF, LLC, Manassas NCP FF, LLC, NSIPI                  ·7·   · · · · · Watson, Fisher, Mulcahy, Re:· Two
        · ·   ·Administrative Manager, and BW Holdings, LLC:                      · ·   · · · · · Items
        10                                                                        ·8
        · ·   · · · · SARA R. BODNER, ESQ.                                        · ·   ·DM-013   -   7/7/20 - 10/7/20 E-Mail Chain,· · · · ·165
        11·   · · · · AMANDA K. HOUSEAL, ESQ. (Present Via
        · ·   · · · · Videoconference)                                            ·9·   · · · ·   ·   Re:· Confidential Call
        12·   · · · · Brownstein Hyatt Farber Schreck, LLP                        10·   ·DM-014   -   1/16/20 E-Mail/Mulcahy to Omar,· · · · 187
        · ·   · · · · 410 17th Street, Suite 2200                                 · ·   · · · ·   ·   Doden, Re:· Vacancies
        13·   · · · · Denver, Colorado 80202                                      11
        14·   ·For the Defendants Carleton Nelson and Cheshire                    · ·   ·DM-015 - Independent Contractor Agreement· · · ·216
        · ·   ·Ventures:                                                          12
        15                                                                        · ·   ·DM-016   -   12/11/18 -   12/12/18   E-Mail Chain/· · · 222
        · ·   ·   ·   ·   ·   ADAM R. SMART, ESQ.
        16·   ·   ·   ·   ·   (Present Via Videoconference)                       13·   · · · ·   ·   Watson and   Mulcahy,   Re: Two Items
        · ·   ·   ·   ·   ·   Burr & Forman, LLP                                  14·   ·DM-017   -   12/11/18 -   12/14/18   E-Mail Chain/· · · 227
        17·   ·   ·   ·   ·   50 North Laura Street, Suite 1800                   · ·   · · · ·   ·   Watson and   Mulcahy,   Re:· Two Items
        · ·   ·   ·   ·   ·   Jacksonville, Florida 32202                         15
        18                                                                        · ·   ·DM-018   -   3/12/18 - 3/26/18 E-Mail Chain,· · · · 239
        · ·   ·For the Deponent:                                                  16·   · · · ·   ·   Re:· Fishin' In Florida
        19
        · ·   · · · · KEVIN B. BEDELL, ESQ.
                                                                                  17·   ·DM-019   -   2/14/19 - 2/15/19 E-Mail Chain,· · · · 240
        20·   · · · · 1309 Capulet Court                                          · ·   · · · ·   ·   Re:· March 11th - 12th
        · ·   · · · · McLean, Virginia 22102                                      18
        21                                                                        19
        · ·   ·Also Present:                                                      20·   · · · · · ·QUESTION INSTRUCTED NOT TO ANSWER
        22                                                                        21·   · · · · · · · · · · Page· · · · Line
        · ·   · · · · BRIAN WATSON                                                22·   · · · · · · · · · · ·40· · · · · 10
        23
        · ·   · · · · CARLETON NELSON                                             23
        24·   · · · · (Present Via Videoconference)                               24
        25·   · · · · DAWN BECK, Videographer                                     25

                                                                              3                                                                    5
        ·1·   · · · · · · · · · · · ·I N D E X                                    ·1· · · · · · · · · ·P R O C E E D I N G S
        ·2·   ·WITNESS· · · · · · · · · · · · · · · · · ·           · · PAGE
        ·3·   ·DANIEL CHRISTOPHER MULCAHY                                         ·2· · · · · · THE VIDEOGRAPHER:· Good morning.· This
        ·4·   · · Examination by Ms. Bodner· · · · · · 6,           247, 257
        · ·   · · Examination by Mr. Smart· · · · · · · ·           196, 256      ·3· ·begins the videotaped deposition of Danny Mulcahy.
        ·5·   · · Examination by Mr. Heyburn· · · · · · ·           · · ·209      ·4· ·Today's date is March 30, 2022.· The time is
        ·6
        · ·   · · · · · · · · · · E X H I B I T S                                 ·5· ·9:36 a.m.
        ·7
        · ·   ·NUMBER· · · · · · · ·DESCRIPTION· · · · · · · ·PAGE                ·6· · · · · · We are located at 100 North City Parkway,
        ·8                                                                        ·7· ·Suite 1600, in Las Vegas, Nevada.
        · ·   ·   DM-001 - 10/7/21 Letter and Subpoena/SEC to· · 41
        ·9·   ·   · · · · ·Mulcahy                                                ·8· · · · · · This case is entitled Amazon.com, Inc., et
        10·   ·   DM-002 - 3/3/17 E-Mail/Watson to Others, Re:· ·53
        · ·   ·   · · · · ·Welcome Danny and Yang                                 ·9· ·al., versus WDC Holdings, LLC, doing business as
        11                                                                        10· ·Northstar Commercial Partners, et al.· The case
        · ·   · DM-003 - 8/2/17 E-Mail Chain, Re:· New· · · · ·58
        12·   · · · · · ·Referral Agreement and Travel                            11· ·number is 1:20-CV-484-RDA-TCB, in the United States
        · ·   · · · · · ·Schedule
        13                                                                        12· ·District Court for the Eastern District of Virginia,
        · ·   ·   DM-004 - 3/5/17 E-Mail Chain,· · · · · · · · · 69               13· ·Alexandria Division.
        14·   ·   · · · · ·Re:· Introduction
        15·   ·   DM-005 - 12/28/17 - 12/29/17 E-Mail Chain/· · ·76               14· · · · · · My name is Dawn Beck.· I am the
        · ·   ·   · · · · ·Watson to Mulcahy and Ramstetter,
        16·   ·   · · · · ·Re:· Final Agreement, Attached                         15· ·videographer.· The court reporter is Sarah Safier.
        · ·   ·   · · · · ·Independent Contractor Agreement                       16· ·We represent Oasis Reporting Services.
        17
        · ·   ·   DM-006 - Verified Second Amended Complaint· · 104               17· · · · · · Will counsel please state your appearances
        18·   ·   · · · · ·(Older Version)
        19·   ·   DM-006A- Verified Second Amended Complaint· · 183               18· ·for the record and whom you represent.
        · ·   ·   · · · · ·(Newer Version)                                        19· · · · · · MS. BODNER:· Sara Bodner.· I represent Brian
        20
        · ·   · DM-007 - 12/2/19 E-Mail/Mulcahy to Bezos· · · 107                 20· ·Watson, WDC Holdings, and the Watson defendants in
        21
        · ·   · DM-008 - 12/12/19 - 1/10/20 E-Mail Chain/· · ·134                 21· ·this lawsuit.
        22·   · · · · · ·Mulcahy, Doden, Omar, Re: Time                           22· · · · · · My client, Brian Watson, is here as well;
        · ·   · · · · · ·To Speak
        23                                                                        23· ·and I believe my colleague, Amanda Houseal, is on
        · ·   ·   DM-009 - 1/24/20 E-Mail Chain/Mulcahy, Doden· 139
        24·   ·   · · · · ·Omar, Re:· Confidential - Update?                      24· ·Zoom or will be joining shortly.
        · ·   ·   · · · · ·Attached Confidential Release                          25· · · · · · MR. SMART:· Adam Smart for the law firm of
        25·   ·   · · · · ·Agreement



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        ·1· ·Burr & Forman on behalf of Carl Nelson and Cheshire      ·1· ·every hour.· If you need one at a different time,
        ·2· ·Ventures.· And my client, Carl Nelson, is on the         ·2· ·just let me know and if there's a question pending,
        ·3· ·Zoom.                                                    ·3· ·I'll just ask that you answer that question.
        ·4· · · · · · MR. HEYBURN:· Jack Heyburn and Alyse Ullery     ·4· · · ·A· · Okay.
        ·5· ·with Gibson, Dunn & Crutcher.· We represent the          ·5· · · ·Q· · Your attorney or the attorneys here
        ·6· ·plaintiff, Amazon.                                       ·6· ·representing Amazon may make some objections to my
        ·7· · · · · · MR. BEDELL:· Kevin Bedell.· I represent the     ·7· ·questions; that's pretty typical, but even if they
        ·8· ·witness.                                                 ·8· ·do, I'm still entitled to an answer unless your
        ·9· · · · · · THE VIDEOGRAPHER:· Will the court reporter      ·9· ·attorney specifically instructs you not to answer.
        10· ·please administer the oath.                              10· · · · · · Do you understand that?
        11· · · · · · · · ·DANIEL CHRISTOPHER MULCAHY                 11· · · ·A· · I do.
        12· · · · · · ·having been first duly sworn, was              12· · · ·Q· · Is there anything about your physical,
        13· · · · · · ·examined and testified as follows:             13· ·mental, or emotional health today that would in any
        14· · · · · · · · · · · · EXAMINATION                         14· ·way interfere with your ability to give accurate and
        15· ·BY MS. BODNER:                                           15· ·honest testimony?
        16· · · ·Q· · Hi, Mr. Mulcahy.· As I -- as you just heard     16· · · ·A· · No.
        17· ·me say, my name is Sara Bodner.· I'm from the law        17· · · ·Q· · Are you currently on any medications?
        18· ·firm of Brownstein Hyatt and I represent Brian           18· · · ·A· · No.
        19· ·Watson, WDC Holdings, and the Watson defendants in       19· · · ·Q· · Have you consumed any drugs or alcohol
        20· ·this lawsuit.                                            20· ·within the last 24 hours?
        21· · · · · · Have you ever had your deposition taken         21· · · ·A· · No.
        22· ·before?                                                  22· · · ·Q· · Is there anything at all that might, in your
        23· · · ·A· · I have.                                         23· ·opinion, prevent you from testifying fully and
        24· · · ·Q· · Even if you have, I'm just going to just        24· ·truthfully today?
        25· ·refresh you on some ground rules for today's             25· · · ·A· · No.

                                                                  7                                                           9
        ·1· ·deposition.                                              ·1· · · ·Q· · Can you please state your full legal name
        ·2· · · · · · First and foremost, you are required to tell    ·2· ·and spell it for the record.
        ·3· ·the truth.                                               ·3· · · ·A· · Daniel Christopher Mulcahy.· The entire name
        ·4· · · · · · Do you understand that?                         ·4· ·spelled?
        ·5· · · ·A· · I do.                                           ·5· · · ·Q· · Yes, please.
        ·6· · · ·Q· · The court reporter is here transcribing this    ·6· · · ·A· · D-A-N-I-E-L, C-H-R-I-S-T-O-P-H-E-R,
        ·7· ·deposition.· In order for her to do her job, we can't    ·7· ·M-U-L-C-A-H-Y.
        ·8· ·talk over each other.                                    ·8· · · ·Q· · What is your birthdate?
        ·9· · · · · · Do you understand that?                         ·9· · · ·A· · 12/22/70.
        10· · · ·A· · I do.                                           10· · · ·Q· · What is your current address?
        11· · · ·Q· · That's even more important today because we     11· · · ·A· · 11874 Albissola Avenue, Las Vegas, Nevada
        12· ·have some colleagues appearing via Zoom.                 12· ·8913 -- 89138.
        13· · · · · · Do you understand that?                         13· · · ·Q· · How long have you lived there?
        14· · · ·A· · I do.                                           14· · · ·A· · Two and a half years.
        15· · · ·Q· · For the same reason, it's important that you    15· · · ·Q· · Is it a house or an apartment?
        16· ·respond with verbal answers rather than a head nod or    16· · · ·A· · House.
        17· ·mumbling.                                                17· · · ·Q· · Do you own that house?
        18· · · · · · Can you do that?                                18· · · ·A· · I do.
        19· · · ·A· · I can.                                          19· · · ·Q· · When did you purchase it?
        20· · · ·Q· · I will definitely at some point ask a           20· · · ·A· · 2019.
        21· ·question that doesn't make sense; so I'd appreciate      21· · · ·Q· · Do you own any other residences?
        22· ·it if you'd just ask me for clarification.               22· · · ·A· · No.
        23· · · · · · Are you able to do that?                        23· · · ·Q· · Do you own a residence located at 5212
        24· · · ·A· · I can.                                          24· ·Spanish Heights Drive?
        25· · · ·Q· · We'll take breaks periodically, probably        25· · · ·A· · No.


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        ·1· · · ·Q· · Are you aware of an entity called Dacia,         ·1· ·were inactive, they were active and now they're
        ·2· ·LLC?                                                      ·2· ·inactive again.
        ·3· · · ·A· · Dacia, LLC?                                      ·3· · · ·Q· · Is there any reason that you let them go
        ·4· · · ·Q· · Dacia, LLC.                                      ·4· ·active and inactive?
        ·5· · · ·A· · I don't think I have -- I don't own Dacia,       ·5· · · ·A· · I just don't need them.
        ·6· ·LLC.· I have a lot of Dacias, so I don't think I own      ·6· · · ·Q· · You don't use them in your current line of
        ·7· ·that one, though.                                         ·7· ·work?
        ·8· · · ·Q· · Is Dacia the correct way to pronounce it?        ·8· · · ·A· · No.
        ·9· · · ·A· · That's the way I say it.· Other people say       ·9· · · ·Q· · What was your first job after graduating
        10· ·Dossia or Daycia.                                         10· ·college?
        11· · · ·Q· · Dacia.· What does Dacia mean, if anything?       11· · · ·A· · I was probably still working at the golf
        12· · · ·A· · It's some Roman or Latin term for nomad.         12· ·course when I graduated college.
        13· · · ·Q· · Okay.· Where did you go to high school?          13· · · ·Q· · What golf course was that?
        14· · · ·A· · I went to -- I graduated from Zweibrücken        14· · · ·A· · Angel Park Golf Club.
        15· ·American High School.                                     15· · · ·Q· · Where is that?
        16· · · ·Q· · Where is that located?                           16· · · ·A· · Here in Las Vegas.
        17· · · ·A· · Zweibrücken, Germany.                            17· · · ·Q· · How long did you work there?
        18· · · ·Q· · Did you grow up in Germany?                      18· · · ·A· · Couple years.
        19· · · ·A· · I spent a couple years there.                    19· · · ·Q· · Do you know until when?
        20· · · ·Q· · Which years did you spend there?                 20· · · ·A· · Probably somewhere around '97, '98.
        21· · · ·A· · 1986 through 1990.· 1978 through 1981.           21· · · ·Q· · Did you hold any other employment during
        22· · · ·Q· · Did you go to college?                           22· ·that time?
        23· · · ·A· · UNLV.                                            23· · · ·A· · No.
        24· · · ·Q· · Did you graduate?                                24· · · ·Q· · What did you do at the golf course?
        25· · · ·A· · I did.                                           25· · · ·A· · Guest services.

                                                                  11                                                          13

        ·1· · · ·Q· · And for the record, is UNLV University of        ·1· · · ·Q· · What did you do after working at the golf
        ·2· ·Nevada, Las Vegas?                                        ·2· ·course?
        ·3· · · ·A· · It is.                                           ·3· · · ·A· · I've done a lot of things since then.
        ·4· · · ·Q· · What year did you graduate?                      ·4· · · ·Q· · I understand, but I do have to walk through
        ·5· · · ·A· · '97.                                             ·5· ·your history of employment.
        ·6· · · ·Q· · What type of degree did you graduate with?       ·6· · · · · · MR. BEDELL:· Objection.· Vague.
        ·7· · · ·A· · Bachelor's in psychology.                        ·7· · · · · · Ask a better question.
        ·8· · · ·Q· · Do you currently hold any licenses?              ·8· ·BY MS. BODNER:
        ·9· · · ·A· · I have licenses that are inactive,               ·9· · · ·Q· · What did you do for work after working at
        10· ·securities licenses that are inactive.                    10· ·the golf course?
        11· · · ·Q· · What securities licenses?                        11· · · · · · MR. BEDELL:· You mean immediately after?
        12· · · ·A· · 7, 66, 24 and -- and 7 [sic].                    12· · · · · · MS. BODNER:· I do mean immediately after.
        13· · · ·Q· · And all three of those licenses                  13· · · · · · MR. BEDELL:· Why don't you answer that
        14· ·are currently --                                          14· ·question.
        15· · · ·A· · Four.                                            15· · · · · · THE WITNESS:· Immediately after that, I went
        16· · · ·Q· · Sorry.· All four of those licenses are           16· ·for the Venator Group and managed Lady and Kids Foot
        17· ·currently inactive?                                       17· ·Locker stores.
        18· · · ·A· · Correct.                                         18· ·BY MS. BODNER:
        19· · · ·Q· · At what time were those licenses active?         19· · · ·Q· · Was that here in Las Vegas?
        20· · · ·A· · Up until 2000 and -- I don't remember.           20· · · ·A· · It started in Las Vegas, New Mexico, and
        21· ·Recently.· They can only be inactive for two years        21· ·California.
        22· ·and then they go away.· So up until two years ago.        22· · · ·Q· · Okay.· And how long did you work for the
        23· · · ·Q· · So they were active up until end of 2020,        23· ·Venator Group?
        24· ·roughly?                                                  24· · · ·A· · Two or three years.
        25· · · ·A· · They were inactive -- they were active, they     25· · · ·Q· · Okay.· Do you know what year your employment


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        ·1· ·with the Venator Group concluded?                         ·1· · · ·Q· · So to be clear, you were doing that staffing
        ·2· · · ·A· · Probably around 2000.                            ·2· ·job immediately before you transitioned to commercial
        ·3· · · ·Q· · What was your title?                             ·3· ·real estate work?
        ·4· · · ·A· · Manager.                                         ·4· · · ·A· · Correct.
        ·5· · · ·Q· · What did you do immediately after working        ·5· · · ·Q· · Okay.· What was the name of the company?
        ·6· ·for the Venator Group?                                    ·6· · · ·A· · TEKsystems.
        ·7· · · ·A· · I was a substitute teacher in Reno, Nevada.      ·7· · · ·Q· · TEKsystems.· And when you transitioned to
        ·8· · · ·Q· · Okay.· One second.· I'm just admitting.          ·8· ·commercial real estate work, did you work for a
        ·9· · · · · · How long were you a substitute teacher in        ·9· ·company?
        10· ·Reno, Nevada?                                             10· · · ·A· · I did.
        11· · · ·A· · Three months, I guess.                           11· · · ·Q· · What was the name of that company?
        12· · · · · · MR. BEDELL:· You said you were just              12· · · ·A· · At the time it was called Insight Realty
        13· ·admitting.· Does that mean somebody else has joined       13· ·Associates.
        14· ·us?                                                       14· · · ·Q· · Where was that company located?
        15· · · · · · MS. BODNER:· Apologies.· I just admitted         15· · · ·A· · Las Vegas.
        16· ·opposing counsel to the exhibit share platform so         16· · · ·Q· · Las Vegas.· What was your title?
        17· ·that she can view the exhibits.                           17· · · ·A· · Agent/broker.
        18· · · · · · MR. BEDELL:· That's fine.· Just keeping          18· · · ·Q· · How long did you work for that company?
        19· ·track.                                                    19· · · ·A· · Four years.
        20· · · · · · MS. BODNER:· Appreciate it.                      20· · · ·Q· · Four years.· What were your
        21· ·BY MS. BODNER:                                            21· ·responsibilities?
        22· · · ·Q· · What did you do after working as a               22· · · ·A· · Sell -- buying, selling, and leasing
        23· ·substitute teacher for three months for work?             23· ·commercial real estate.
        24· · · ·A· · I went and sold corporate apparel here in        24· · · ·Q· · Where was that commercial real estate
        25· ·Las Vegas.                                                25· ·located?

                                                                  15                                                          17
        ·1· · · ·Q· · Was that for a specific company?                 ·1· · · ·A· · Las Vegas.
        ·2· · · ·A· · I think it was called Campus Club.               ·2· · · ·Q· · Did you eventually leave that company?
        ·3· · · ·Q· · Okay.· What years did you work for Campus        ·3· · · ·A· · I did.
        ·4· ·Club?                                                     ·4· · · ·Q· · What year was that?
        ·5· · · ·A· · Just maybe a year.· I don't remember             ·5· · · ·A· · 2005, I think.· 2004, 2005, in that area.
        ·6· ·exactly.                                                  ·6· · · ·Q· · What did you do next for work?
        ·7· · · ·Q· · Okay.· Did there come a certain time in your     ·7· · · ·A· · I just was an independent -- self-employed
        ·8· ·career when you transitioned to working in the            ·8· ·as a commercial real estate broker.
        ·9· ·commercial real estate industry?                          ·9· · · · · · MR. SMART:· Amanda -- just hold on one
        10· · · ·A· · Around 2001.                                     10· ·second.· I just want counsel and everyone to know,
        11· · · ·Q· · So was that immediately after your               11· ·Amanda Houseal has joined as you indicated she was
        12· ·employment with Campus?                                   12· ·going to from your firm.
        13· · · ·A· · Probably.                                        13· · · · · · MS. BODNER:· Amanda Houseal has just joined
        14· · · ·Q· · Okay.· What led you to make that transition?     14· ·as I indicated she was.
        15· · · ·A· · The opportunity presented itself.                15· · · · · · MS. HOUSEAL:· Thanks, guys.
        16· · · ·Q· · What was that opportunity?                       16· · · · · · MS. BODNER:· The joys of Zoom.
        17· · · ·A· · I was able to be hired on as a -- to help        17· ·BY MS. BODNER:
        18· ·somebody build some commercial real estate, so I took     18· · · ·Q· · Did you operate under your own name when you
        19· ·it.                                                       19· ·were an independent broker?
        20· · · · · · Oh, no, I forgot.· I had another job in          20· · · ·A· · I created a company called Terraspec and
        21· ·there.· I did staffing.· I did some staffing at a         21· ·then I just changed the name to DM Hollo.
        22· ·company called TEKsystems in between Campus Club and      22· · · ·Q· · DM Hollo?
        23· ·going into commercial real estate.                        23· · · ·A· · H-O-L-L-O.
        24· · · ·Q· · Was that job in Las Vegas?                       24· · · ·Q· · How long did you work as an independent
        25· · · ·A· · It was.                                          25· ·broker under the name Terraspec and DM Hollo?


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        ·1· · · ·A· · Well, Terraspec was just short-lived, maybe      ·1· · · ·A· · I don't know.· Maybe a year.
        ·2· ·a year.· DM Hollo was a better name and probably --       ·2· · · ·Q· · Did you have any prior experience working in
        ·3· ·that probably ceased operation functionally in 2009.      ·3· ·venture capital?
        ·4· ·And then technically it probably, you know, as far as     ·4· · · ·A· · No.
        ·5· ·like -- you know, I didn't do anything after 2009 or      ·5· · · ·Q· · What were your responsibilities in that job?
        ·6· ·so.                                                       ·6· · · ·A· · Assist in sourcing and underwriting small
        ·7· · · ·Q· · Was DM Hollo involved in commercial real         ·7· ·companies and raising equity.
        ·8· ·estate opportunities?                                     ·8· · · ·Q· · Was that the first time in your career that
        ·9· · · ·A· · It was.                                          ·9· ·you were involved in raising equity?
        10· · · ·Q· · Where were those opportunities located?          10· · · ·A· · No.
        11· · · ·A· · Here in Las Vegas.                               11· · · ·Q· · In what other jobs had you raised equity?
        12· · · ·Q· · Did you do any work outside of Las Vegas?        12· · · ·A· · When I was in DM Hollo, I raised equity.
        13· · · ·A· · Arizona.                                         13· · · ·Q· · Do you recall how much equity you raised
        14· · · ·Q· · Anywhere else?                                   14· ·when you were operating DM Hollo?
        15· · · ·A· · Colorado.                                        15· · · ·A· · I do not.
        16· · · ·Q· · And you testified that DM Hollo ceased           16· · · ·Q· · Do you recall how much equity you raised for
        17· ·operating in 2009; is that correct?                       17· ·the venture -- venture capital firm?
        18· · · ·A· · Yeah, plus or minus.· During the financial       18· · · ·A· · I don't.
        19· ·crisis.                                                   19· · · ·Q· · Why did you leave that job?
        20· · · ·Q· · What did you do for employment after that        20· · · ·A· · I joined Zacks Investment Research to help
        21· ·time?                                                     21· ·them with various business ideas that the owner of
        22· · · ·A· · I think it was 2010 or '11 -- probably 2010      22· ·that company had.
        23· ·or '11, in that area, I went and joined Merrill Lynch     23· · · ·Q· · Where is that company located?
        24· ·as a financial advisor.                                   24· · · ·A· · Chicago.
        25· · · ·Q· · Did you get hired by one specific office?        25· · · ·Q· · Was there line of work related to commercial

                                                                  19                                                          21
        ·1· · · ·A· · San Diego.                                       ·1· ·real estate?
        ·2· · · ·Q· · Did you move to San Diego?                       ·2· · · ·A· · No.
        ·3· · · ·A· · I did.                                           ·3· · · ·Q· · What was your title at Zacks Investment
        ·4· · · ·Q· · How long did you work for Merrill Lynch?         ·4· ·Research?
        ·5· · · ·A· · A year maybe.                                    ·5· · · ·A· · I guess manager.
        ·6· · · ·Q· · So was that until 2012?                          ·6· · · ·Q· · How long did you work there?
        ·7· · · ·A· · Somewhere around there, maybe.· Yeah.            ·7· · · ·A· · Probably, I guess, four years maybe.· Three
        ·8· · · ·Q· · What were your responsib- --                     ·8· ·years.· Somewhere around there.
        ·9· · · ·A· · Just financial advisor.                          ·9· · · ·Q· · And you were in Chicago at this time; is
        10· · · ·Q· · Did you do anything related to commercial        10· ·that correct?
        11· ·real estate?                                              11· · · ·A· · I was.
        12· · · ·A· · No.                                              12· · · ·Q· · And did you raise any equity for Zacks
        13· · · ·Q· · Why did you leave that job?                      13· ·Investment Research?
        14· · · ·A· · Didn't like being a financial advisor.           14· · · ·A· · I raised -- I created some equity-raising
        15· · · ·Q· · Did you have any prior training as a             15· ·platforms wherein we raised money for other people's
        16· ·financial advisor?                                        16· ·deals.
        17· · · ·A· · I got trained at Merrill Lynch.                  17· · · ·Q· · Do you recall how much money you raised in
        18· · · ·Q· · What did you do for employment after leaving     18· ·total?
        19· ·your job at Merrill Lynch?                                19· · · ·A· · I do not.
        20· · · ·A· · I joined a brokerage in Chicago called Rain      20· · · ·Q· · Rough estimate?
        21· ·Point Securities -- or Rainmaker Securities doing         21· · · ·A· · I don't know, a million bucks.
        22· ·venture capital, working in venture capital.              22· · · · · · MS. BODNER:· Adam, you are still able to
        23· · · ·Q· · Did you move to Chicago?                         23· ·hear us, right?· Okay.
        24· · · ·A· · I did.                                           24· ·BY MS. BODNER:
        25· · · ·Q· · How long did you hold that job?                  25· · · ·Q· · What did you do after Zacks Investment


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        ·1· ·Research?                                                 ·1· ·in 2018?
        ·2· · · ·A· · I was independent but hung my license at         ·2· · · ·A· · I knew I needed to start my own company.
        ·3· ·TriPoint Global Equities in New York, but I still         ·3· · · ·Q· · Why did you know you needed to start your
        ·4· ·lived in Chicago.                                         ·4· ·own company?
        ·5· · · ·Q· · What does it mean to hang your license?          ·5· · · ·A· · Because I wanted to.
        ·6· · · ·A· · You just operate as an independent person        ·6· · · ·Q· · Why did you want to?
        ·7· ·but you still have to hang your license under a           ·7· · · ·A· · Because I wanted to work for myself.
        ·8· ·brokerage.                                                ·8· · · ·Q· · Had you ever started your own company
        ·9· · · ·Q· · What sort of work were you doing while you       ·9· ·before?
        10· ·were --                                                   10· · · ·A· · Yes, as I mentioned already.
        11· · · ·A· · Raising equity.· Sourcing deals and raising      11· · · ·Q· · Was that the DC --
        12· ·equity.                                                   12· · · ·A· · DM Hollo --
        13· · · ·Q· · What were you raising equity for?                13· · · ·Q· · DM Hollo?
        14· · · ·A· · I only raised equity for one deal at             14· · · ·A· · -- and Terraspec, yes.
        15· ·TriPoint Global.· That was a senior housing deal.         15· · · ·Q· · Okay.· When did Dacia Resort Group start
        16· · · ·Q· · Did your work relate to commercial real          16· ·operating?
        17· ·estate at this time?                                      17· · · ·A· · 2000- -- April, May of 2019.
        18· · · ·A· · Other than just raising the money for that       18· · · ·Q· · Did anyone found Dacia Resort Group with
        19· ·deal, but I didn't have any role in sort of a -- you      19· ·you?
        20· ·know, it was somebody else's deal.· I just raised the     20· · · ·A· · My wife.
        21· ·money for it.                                             21· · · ·Q· · What's your wife's name?
        22· · · ·Q· · Was the TriPoint deal located in Chicago?        22· · · ·A· · Anita Mulcahy.
        23· · · ·A· · No.· I don't even remember where that place      23· · · ·Q· · Did anyone else found Dacia Resort Group
        24· ·was at, actually.                                         24· ·with you, other than your wife?
        25· · · ·Q· · What did you do for employment after working     25· · · ·A· · No.

                                                                  23                                                          25
        ·1· ·independently?                                            ·1· · · ·Q· · Does Dacia Resort Group have a physical
        ·2· · · ·A· · I joined WDC Holdings.                           ·2· ·office location?
        ·3· · · ·Q· · Do you know what year that was?                  ·3· · · ·A· · No.
        ·4· · · ·A· · March to June of 2017, I believe.                ·4· · · ·Q· · Do you operate it out of your personal
        ·5· · · ·Q· · I'm going to return to that, but I want to       ·5· ·residence?
        ·6· ·jump ahead for now.                                       ·6· · · ·A· · I do.
        ·7· · · ·A· · Go ahead.                                        ·7· · · ·Q· · What is that address again?
        ·8· · · ·Q· · What do you do for work now?                     ·8· · · ·A· · 11874 Albissola Avenue, Las Vegas, Nevada
        ·9· · · ·A· · I own a company called Dacia Resort Group.       ·9· ·89138.
        10· · · ·Q· · What is your position with Dacia Resort          10· · · ·Q· · What sort of work does Dacia Resort Group
        11· ·Group?                                                    11· ·do?
        12· · · ·A· · I own it.                                        12· · · ·A· · We own and operate RV parks.
        13· · · ·Q· · Did you found it?                                13· · · ·Q· · How many RV parks do you own and operate?
        14· · · ·A· · I did.                                           14· · · ·A· · Eight.
        15· · · ·Q· · When did you found it?                           15· · · ·Q· · Where are they located?
        16· · · ·A· · 2000- -- well, I incorporated in 2018, but       16· · · ·A· · Across the country.
        17· ·it didn't do anything until 2019.                         17· · · ·Q· · Can you name the states?
        18· · · · · · (Off-the-record discussion.)                     18· · · ·A· · Oregon, Missouri, Oklahoma, Texas, Florida.
        19· · · · · · THE VIDEOGRAPHER:· We are going off record       19· · · ·Q· · How many employees work for Dacia Resort
        20· ·at 9:55 a.m.                                              20· ·Group?
        21· · · · · · (Pause in proceedings.)                          21· · · ·A· · Three.· Other than myself.
        22· · · · · · THE VIDEOGRAPHER:· We are back on record at      22· · · ·Q· · What are the names of those three employees?
        23· ·9:57 a.m.                                                 23· · · ·A· · Karen Cottom, Scott Cleveland, and Will
        24· ·BY MS. BODNER:                                            24· ·Camenson.
        25· · · ·Q· · Why did you incorporate Dacia Resort Group       25· · · ·Q· · Does your wife also work for Dacia Resort


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        ·1· ·Group?                                                    ·1· · · · · · MR. BEDELL:· Objection.
        ·2· · · ·A· · Not in an official capacity.                     ·2· ·BY MS. BODNER:
        ·3· · · ·Q· · Do any other individuals work for Dacia          ·3· · · ·Q· · Can you please tell me the names of the
        ·4· ·Resort Group, not in an official capacity?                ·4· ·investors that you know?
        ·5· · · ·A· · No.                                              ·5· · · · · · MR. BEDELL:· Investors that were at
        ·6· · · ·Q· · How do you identify the RV park                  ·6· ·Northstar and are now with Dacia --
        ·7· ·opportunities?                                            ·7· · · · · · MS. BODNER:· Correct.
        ·8· · · ·A· · How do I identify them?                          ·8· · · · · · MR. BEDELL:· -- is that the question?
        ·9· · · ·Q· · (Counsel nods head.)                             ·9· · · · · · MS. BODNER:· That is the question.
        10· · · ·A· · I look online and call places and I shop for     10· · · · · · THE WITNESS:· Brian Cleveland, Dan Grail,
        11· ·them.                                                     11· ·Bryce Kelly, Michael Warner -- and I'm sure there's a
        12· · · ·Q· · Do you carry out that work yourself?             12· ·few other ones, but for the most part, that would --
        13· · · ·A· · I do.                                            13· ·I'd say -- I mean, the three that I mentioned are per
        14· · · ·Q· · Do you raise capital?                            14· ·se -- had invested with Brian Watson prior to my
        15· · · ·A· · I do.                                            15· ·meeting them, so -- but there's some other ones in
        16· · · ·Q· · How do you raise the capital?                    16· ·there.
        17· · · ·A· · I ask investors if they want to participate      17· ·BY MS. BODNER:
        18· ·in my opportunities.                                      18· · · ·Q· · Do you keep track of the investors in Dacia
        19· · · ·Q· · How do you identify those potential              19· ·Resort Group?
        20· ·investors?                                                20· · · ·A· · I do.
        21· · · ·A· · By living an active life and meeting people      21· · · ·Q· · Do you maintain some sort of spreadsheet?
        22· ·who are interested in doing that type of stuff.           22· · · ·A· · It's not investors in Dacia Resort Group.
        23· · · ·Q· · Did you already have capital committed to        23· · · ·Q· · What entity have those individuals that you
        24· ·Dacia Resort Group when you founded it?                   24· ·just identified --
        25· · · ·A· · No.                                              25· · · ·A· · They invest in individual investment

                                                                  27                                                          29
        ·1· · · ·Q· · Did you self-fund it in the beginning?           ·1· ·opportunities that each have their own companies unto
        ·2· · · ·A· · I did.                                           ·2· ·themselves.· So there's no investors in Dacia Resort
        ·3· · · ·Q· · What is Will Camenson's title?                   ·3· ·Group -- there's no investors other than myself in
        ·4· · · ·A· · Asset manager.                                   ·4· ·Dacia Resort Group.
        ·5· · · ·Q· · Mr. Camenson used to work at Northstar,          ·5· · · · · · Each individual RV park has its own group of
        ·6· ·correct?                                                  ·6· ·investors.
        ·7· · · ·A· · He did.                                          ·7· · · ·Q· · So the individual investors formerly
        ·8· · · ·Q· · Have any Northstar employees worked for          ·8· ·associated with Northstar have invested in individual
        ·9· ·Dacia Resort Group, other than Mr. Camenson, at any       ·9· ·RV parks owned and operated by Dacia Resort Group?
        10· ·time?                                                     10· · · ·A· · Well, they're owned by themselves and the
        11· · · ·A· · No.                                              11· ·investment is managed by Dacia.· The property is
        12· · · ·Q· · Have you raised money from any former            12· ·managed and the investments managed by Dacia Resort
        13· ·Northstar employees?                                      13· ·Group.
        14· · · ·A· · No.                                              14· · · ·Q· · So these individual investors own the RV
        15· · · ·Q· · Have you raised money from any former            15· ·parks and Dacia Resort Group operates --
        16· ·Northstar investors?                                      16· · · ·A· · Correct.
        17· · · ·A· · Identify what a Northstar investor is.           17· · · ·Q· · -- and manages the RV parks?
        18· · · ·Q· · Have you raised money from anyone that           18· · · ·A· · Correct.
        19· ·formerly invested equity with Northstar?                  19· · · ·Q· · Have you founded any other companies since
        20· · · ·A· · Yes.                                             20· ·leaving Northstar?
        21· · · ·Q· · Who?                                             21· · · ·A· · Be more specific.· So I don't have any other
        22· · · ·A· · I couldn't tell you offhand.                     22· ·operating companies other than Dacia Resort Group.
        23· · · ·Q· · You don't -- you don't know the names of any     23· · · ·Q· · Did you at one time found a company called
        24· ·investors?                                                24· ·Dacia Capital Management?
        25· · · ·A· · I know some of them.                             25· · · ·A· · That's underneath Dacia Resort Group.



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        ·1· · · ·Q· · Can you explain to me the operating              ·1· · · ·A· · I have my ownership interest in every RV
        ·2· ·structure of Dacia Resort Group and what companies        ·2· ·park, yes.
        ·3· ·are underneath it?                                        ·3· · · ·Q· · Does that mean that you've invested your own
        ·4· · · ·A· · Dacia Resort Group is the property manager.      ·4· ·money in each of the RV parks?
        ·5· ·Dacia Capital is sort of the investment manager and       ·5· · · ·A· · It does.
        ·6· ·they all -- you know, the umbrella organization is        ·6· · · ·Q· · Do you know how much money you've invested
        ·7· ·Dacia Resort Group and actually technically it's          ·7· ·in those RV parks in total?
        ·8· ·Dacia Hospitality with a d/b/a as Dacia Resort Group.     ·8· · · ·A· · I do not.
        ·9· · · ·Q· · So Dacia Hospitality is the umbrella             ·9· · · ·Q· · Have you ever founded any other entities
        10· ·organization and then there's Dacia Resort Group          10· ·with the name Dacia in it?
        11· ·which operates the RV park?                               11· · · ·A· · I have incorporated entities with the Dacia
        12· · · ·A· · Yeah, Dacia Resort Group is a d/b/a for          12· ·name into it.
        13· ·Dacia Hospitality.                                        13· · · ·Q· · What entities have you incorporated with the
        14· · · ·Q· · And then Dacia Capital Management is the         14· ·name Dacia?
        15· ·investment manager for Dacia Resort Group?                15· · · ·A· · Well, each RV park has Dacia in the name in
        16· · · ·A· · Correct.                                         16· ·it.· Dacia RV Adventure Fund 1, Dacia RV Funds, you
        17· · · ·Q· · Are there any other entities under the           17· ·know, 2, 3, 4, 5.· I think those are the only ones
        18· ·umbrella of Dacia Hospitality?                            18· ·that I've done.
        19· · · ·A· · No.                                              19· · · · · · You know, I have eight Dacia entities that
        20· · · ·Q· · Do you currently operate --                      20· ·are RV parks and then I have two Dacia entities,
        21· · · · · · MR. BEDELL:· Let's go back a question.· When     21· ·which is Dacia Capital Management and Dacia
        22· ·you say "any other entities under the umbrella of         22· ·Hospitality, as we've discussed.
        23· ·Dacia Hospitality" -- I think that's what you said --     23· · · ·Q· · Do you have an estimate of how much money
        24· ·where are you counting the individual RV park             24· ·you've invested personally in the RV parks?
        25· ·entities?                                                 25· · · · · · MR. BEDELL:· Objection.· Asked and answered.

                                                                  31                                                          33
        ·1· · · · · · MS. BODNER:· My understanding, and you           ·1· ·Try it again.
        ·2· ·can --                                                    ·2· · · · · · THE WITNESS:· What's the question?
        ·3· · · · · · MR. BEDELL:· I just want to make sure we're      ·3· ·BY MS. BODNER:
        ·4· ·on the same page.                                         ·4· · · ·Q· · Do you have an estimate as to how much money
        ·5· · · · · · MS. BODNER:· The RV parks are operated by        ·5· ·you've personally invested in the RV parks?
        ·6· ·Dacia Resort Group.                                       ·6· · · ·A· · No, I don't.· No, I don't have an estimate.
        ·7· · · · · · THE WITNESS:· Correct.                           ·7· · · ·Q· · Is it more than $1 million?
        ·8· · · · · · MS. BODNER:· They're assets --                   ·8· · · ·A· · No.
        ·9· · · · · · THE WITNESS:· They're not owned, they're not     ·9· · · ·Q· · It's less than $1 million?
        10· ·assets --                                                 10· · · ·A· · Yes.
        11· · · · · · MS. BODNER:· They're not assets.                 11· · · ·Q· · Do you have an estimate as to how much money
        12· · · · · · THE WITNESS:· -- of Dacia Capital --             12· ·you invested in Dacia Resort Group when you founded
        13· · · · · · MS. BODNER:· Okay.                               13· ·it?
        14· · · · · · THE WITNESS:· --· or Dacia Resort Group, no.     14· · · ·A· · 50 grand.
        15· · · · · · MR. BEDELL:· I'm just trying to be clear.        15· · · ·Q· · Can you estimate how much capital you've
        16· ·When you say owning different entities --                 16· ·raised overall for the RV parks?
        17· · · · · · MS. BODNER:· Mm-hm.                              17· · · ·A· · 10 million.
        18· · · · · · MR. BEDELL:· -- that we're not --                18· · · ·Q· · Do you know if it was a conflict of interest
        19· · · · · · MS. BODNER:· I appreciate that.                  19· ·to raise money from former Northstar investors?
        20· · · · · · MR. BEDELL:· -- that we're being accurate        20· · · · · · MR. HEYBURN:· Objection.· Calls for a legal
        21· ·and not creating some tension that's not really           21· ·conclusion.
        22· ·there.                                                    22· · · · · · MR. BEDELL:· Same.
        23· ·BY MS. BODNER:                                            23· · · · · · THE WITNESS:· No, it was not.
        24· · · ·Q· · Do you have any ownership interest in            24· ·BY MS. BODNER:
        25· ·individual RV parks?                                      25· · · ·Q· · You testified that each of the RV parks has


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                                                                  34                                                          36
        ·1· ·the name Dacia in it, correct?                            ·1· · · ·A· · No.
        ·2· · · ·A· · I did.                                           ·2· · · ·Q· · Are you aware that your name is still on the
        ·3· · · ·Q· · Other than those RV parks, have you              ·3· ·website?
        ·4· ·incorporated any other entities with the term "Dacia"     ·4· · · ·A· · I am.
        ·5· ·in them?                                                  ·5· · · ·Q· · So you've never done any work for
        ·6· · · ·A· · Not that I can recall.                           ·6· ·IIPDIRECT.com?
        ·7· · · ·Q· · Did you ever found -- strike that.               ·7· · · ·A· · No.
        ·8· · · · · · Did you ever incorporate an entity named         ·8· · · ·Q· · Did any former Northstar employees work for
        ·9· ·Dacia, LLC?                                               ·9· ·IIPDIRECT.com?
        10· · · ·A· · I don't believe so.                              10· · · ·A· · No.
        11· · · ·Q· · Do you know who incorporated that entity?        11· · · ·Q· · Have you ever been arrested?
        12· · · ·A· · Dacia is a large car company owned by            12· · · ·A· · Yes.
        13· ·Renault now.· So there's actually a number of Dacias,     13· · · ·Q· · When?
        14· ·unfortunately.· But the answer is no.                     14· · · ·A· · 2007.
        15· · · ·Q· · Are you affiliated with those car companies      15· · · ·Q· · Why were you arrested?
        16· ·in any way?                                               16· · · ·A· · Actually, I would like to confer --
        17· · · ·A· · No.                                              17· · · · · · MR. BEDELL:· Yeah, well, we will talk about
        18· · · ·Q· · Are you affiliated with Dacia, LLC in any        18· ·that one for a second.· Let's take a break.
        19· ·way, to the best of your knowledge?                       19· · · · · · MS. BODNER:· Can we go off the record.
        20· · · ·A· · I do not think so.                               20· · · · · · THE VIDEOGRAPHER:· We are going off the
        21· · · ·Q· · Did you found a company called                   21· ·record at 10:11 a.m.
        22· ·IIPDIRECT.com?                                            22· · · · · · (Thereupon, a brief recess was taken.)
        23· · · ·A· · I didn't found it.· It was a partnership.        23· · · · · · THE VIDEOGRAPHER:· We are back on record at
        24· ·It was actually just -- actually, no, the answer is       24· ·10:13 a.m.
        25· ·no.                                                       25· · · · · · ///

                                                                  35                                                          37
        ·1· · · ·Q· · Have you ever worked for a company called        ·1· ·BY MS. BODNER:
        ·2· ·IIPDIRECT.com?                                            ·2· · · ·Q· · Mr. Mulcahy, why were you arrested in 2007?
        ·3· · · ·A· · I founded -- I don't know how to answer that     ·3· · · · · · MR. BEDELL:· And I'm going to generally
        ·4· ·question.                                                 ·4· ·object to these questions because, as a general
        ·5· · · ·Q· · Have you heard of the entity IIPDIRECT.com?      ·5· ·proposition, arrests are irrelevant in a civil
        ·6· · · ·A· · Yes.· That was -- yes, I have heard.             ·6· ·proceeding.
        ·7· · · ·Q· · How have you heard of it?                        ·7· · · · · · We don't need to brief it now and I don't
        ·8· · · ·A· · Me and a former business partner were going      ·8· ·want to make the objection too long.· Obviously you
        ·9· ·to create it together and we never -- actually never      ·9· ·can ask some of these questions, but we're not going
        10· ·ended up doing it.· We created the website and then       10· ·to go too far into this.
        11· ·didn't do anything with it.· We just -- we parted         11· · · · · · Go ahead.
        12· ·ways before we could do anything with it.                 12· · · · · · THE WITNESS:· I haven't been convicted of
        13· · · ·Q· · Who was the partner you just referenced?         13· ·anything.
        14· · · ·A· · James Zeiter.                                    14· ·BY MS. BODNER:
        15· · · · · · MR. BEDELL:· Spell the last name for her,        15· · · ·Q· · Understood.· Have you been arrested, though?
        16· ·please.                                                   16· · · ·A· · Yes.
        17· · · · · · THE WITNESS:· Z-E-I-T-E-R.                       17· · · ·Q· · Why were you arrested in 2007?
        18· ·BY MS. BODNER:                                            18· · · ·A· · DUI.· .089, by the way.
        19· · · ·Q· · Are you aware that the website is still          19· · · · · · MR. SMART:· Are we back on the record?
        20· ·active?                                                   20· ·Because I don't have any volume, if we are.
        21· · · ·A· · I am.                                            21· · · · · · MS. BODNER:· Yes.· Sorry, Adam.· Do you want
        22· · · ·Q· · Has IIPDIRECT.com ever conducted any             22· ·the court reporter to read that back to you?
        23· ·business?                                                 23· · · · · · MR. SMART:· Why don't -- what was it about?
        24· · · ·A· · Not with me associated to it.                    24· ·Was it more about Dacia?
        25· · · ·Q· · Are you associated with it in any way?           25· · · · · · MS. BODNER:· No, it was -- I'll just have


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                                                      EXHIBIT 5
                                                                                                                                    YVer1f
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        ·1· ·the court reporter read it back.                          ·1· · · · · · MR. BEDELL:· Could we do that -- well, never
        ·2· · · · · · MR. SMART:· Sorry.                               ·2· ·mind.
        ·3· · · · · · (Thereupon, from the record above,               ·3· ·BY MS. BODNER:
        ·4· · · · · · ·the reporter read, to wit:                      ·4· · · ·Q· · And you testified that you have had your
        ·5· · · · · · "Q· Mr. Mulcahy, why were you                    ·5· ·deposition taken before, correct?
        ·6· · · · · · arrested in 2007?                                ·6· · · ·A· · I have.
        ·7· · · · · · MR. BEDELL:· And I'm going to                    ·7· · · ·Q· · How many times have you had your deposition
        ·8· · · · · · generally object to these questions              ·8· ·taken?
        ·9· · · · · · because, as a general proposition,               ·9· · · ·A· · Once.
        10· · · · · · arrests are irrelevant in a civil                10· · · ·Q· · When was that?
        11· · · · · · proceeding.                                      11· · · · · · MR. BEDELL:· I'm going to object to this and
        12· · · · · · · We don't need to brief it now                  12· ·instruct him not to answer because -- actually, I
        13· · · · · · and I don't want to make the                     13· ·will tell you a short version.· Well, it was -- he
        14· · · · · · objection too long.· Obviously you               14· ·got deposed by a government agency, that we had to
        15· · · · · · can ask some of these questions, but             15· ·sign a whole bunch of confidentiality stuff.
        16· · · · · · we're not going to go too far into               16· · · · · · That's my objection on this.
        17· · · · · · this.                                            17· · · · · · MS. BODNER:· Is that a relevant --
        18· · · · · · · Go ahead.                                      18· · · · · · MR. BEDELL:· I'm not going to have him
        19· · · · · · THE WITNESS:· I haven't been convicted           19· ·violate it by giving you an answer in this case right
        20· · · · · · of anything.                                     20· ·now.
        21· · · · · · BY MS. BODNER:                                   21· · · · · · MS. BODNER:· So you're instructing the
        22· · · · · · Q· Understood.· Have you been arrested,          22· ·witness not to answer in what case he was previously
        23· · · · · · though?                                          23· ·deposed in?
        24· · · · · · A· Yes.                                          24· · · · · · MR. BEDELL:· Yes.· It was not a case.
        25· · · · · · Q· Why were you arrested in 2007?                25· · · · · · MS. BODNER:· Can you identify the government

                                                                  39                                                          41
        ·1· · · · · · A· DUI.· .089, by the way.")                     ·1· ·agency that was involved with respect to the
        ·2· ·BY MS. BODNER:                                            ·2· ·deposition?
        ·3· · · ·Q· · Have you been arrested on any other              ·3· · · · · · MR. BEDELL:· Securities and Exchange
        ·4· ·occasions?                                                ·4· ·Commission.
        ·5· · · ·A· · No.                                              ·5· ·BY MS. BODNER:
        ·6· · · ·Q· · Have you ever been convicted of a crime?         ·6· · · ·Q· · Are you aware that you produced a letter
        ·7· · · ·A· · No.                                              ·7· ·from the SEC about that deposition?
        ·8· · · ·Q· · Have you ever been sued before by an             ·8· · · ·A· · I've never seen a letter from it, no.
        ·9· ·individual or entity?                                     ·9· · · ·Q· · I will introduce that now.
        10· · · ·A· · No.                                              10· · · · · · First, actually, do you recall receiving a
        11· · · ·Q· · Have you ever filed a lawsuit against anyone     11· ·subpoena to produce documents?
        12· ·before?                                                   12· · · ·A· · I do.
        13· · · ·A· · No.                                              13· · · ·Q· · Were you involved in the identification of
        14· · · ·Q· · Have you ever been a witness to a lawsuit        14· ·the documents in response to that subpoena?
        15· ·other than the one we're here about?                      15· · · ·A· · I am.
        16· · · ·A· · No.                                              16· · · ·Q· · Did you send those documents to your
        17· · · ·Q· · Have you ever filed a whistleblower              17· ·attorney?
        18· ·complaint?                                                18· · · ·A· · I did.
        19· · · ·A· · No.                                              19· · · · · · MS. BODNER:· I am going to introduce the
        20· · · ·Q· · Have you ever faced any sort of disciplinary     20· ·first exhibit, which I'll call DM-001.
        21· ·action with respect to your securities licenses?          21· · · · · · Is that fine with you guys?
        22· · · ·A· · No.                                              22· · · · · · MR. HEYBURN:· Yeah.
        23· · · ·Q· · Do you know if you've ever been in violation     23· · · · · · MS. BODNER:· Okay.
        24· ·of any of your securities licenses?                       24· · · · · · (Deposition Exhibit DM-001 was deemed
        25· · · ·A· · No.                                              25· · · · · · ·marked for identification.)


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                                                      EXHIBIT 5
                                                                                                                                    YVer1f
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        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
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        ·1· · · · · · MR. BEDELL:· We've got a black screen over       ·1· ·particular you were asked about?
        ·2· ·here.· I don't know if we're supposed to be seeing        ·2· · · ·A· · No.· I mean, no, I do not recall the
        ·3· ·something different.                                      ·3· ·individual ones.· There was at least a dozen of them.
        ·4· · · · · · MS. BODNER:· Nothing has popped up yet, but      ·4· · · ·Q· · Do you recall any of the questions about the
        ·5· ·would you mind wiggling the mouse?· I think it's          ·5· ·preparation of the investments?
        ·6· ·gone.                                                     ·6· · · ·A· · No.
        ·7· · · · · · THE WITNESS:· We have a picture of a castle.     ·7· · · ·Q· · Did you provide any documents to the SEC?
        ·8· · · · · · MS. BODNER:· Can we go off the record.           ·8· · · ·A· · I don't recall.
        ·9· · · · · · THE VIDEOGRAPHER:· We are going off record       ·9· · · ·Q· · Do you recall if you brought any documents
        10· ·at 10:18.                                                 10· ·to your deposition?
        11· · · · · · (Pause in proceedings.)                          11· · · ·A· · I did not.
        12· · · · · · THE VIDEOGRAPHER:· We are back on record at      12· · · ·Q· · Did you discuss any documents during the
        13· ·10:20 a.m.                                                13· ·deposition?
        14· ·BY MS. BODNER:                                            14· · · ·A· · I don't recall.
        15· · · ·Q· · Mr. Mulcahy, are you able to see what has        15· · · ·Q· · You don't recall if they showed you any
        16· ·been marked as DM-001?                                    16· ·documents?
        17· · · · · · MR. BEDELL:· Are you able to see it?             17· · · ·A· · I don't.
        18· · · · · · THE WITNESS:· I'm able to see a document. I      18· · · ·Q· · Since that deposition, have you had any
        19· ·don't see any label that is DM-001.· I see D-3919.        19· ·communications with the SEC?
        20· · · · · · MR. BEDELL:· Scroll down.                        20· · · ·A· · I don't believe so.
        21· · · · · · THE WITNESS:· Okay.· DM -- I got it.· Yes, I     21· · · ·Q· · Do you know why the SEC wanted to depose
        22· ·am.                                                       22· ·you?
        23· · · · · · MR. BEDELL:· Yellow sticker bottom right?        23· · · ·A· · Yes.
        24· · · · · · MS. BODNER:· Yes.· Thank you.                    24· · · ·Q· · Why?
        25· · · · · · THE WITNESS:· Yes, I am.                         25· · · ·A· · They're investigating WDC Holdings.

                                                                  43                                                          45
        ·1· ·BY MS. BODNER:                                            ·1· · · ·Q· · Do you know what they're investigating WDC
        ·2· · · ·Q· · Do you recognize this document?                  ·2· ·Holdings for?
        ·3· · · ·A· · Yes.                                             ·3· · · ·A· · Securities violations.
        ·4· · · ·Q· · Was this the matter in which you were            ·4· · · ·Q· · Do you have any more specific understanding
        ·5· ·deposed?                                                  ·5· ·as to why they're investigating WDC Holdings?
        ·6· · · ·A· · I believe so.                                    ·6· · · ·A· · I do not.
        ·7· · · ·Q· · What do you recall about that deposition?        ·7· · · ·Q· · Did you approach the SEC about potential
        ·8· · · ·A· · It was long.                                     ·8· ·securities violations by WDC Holdings?
        ·9· · · ·Q· · How long was it?                                 ·9· · · ·A· · I did not.
        10· · · ·A· · Eight hours.                                     10· · · ·Q· · So they did -- strike that.
        11· · · ·Q· · What else do you recall about the                11· · · · · · You did not make contact with the SEC before
        12· ·deposition?                                               12· ·they sought to depose you?
        13· · · ·A· · Nothing.                                         13· · · ·A· · Correct.
        14· · · ·Q· · Do you recall any of the questions you were      14· · · ·Q· · Other than your SEC deposition, have you
        15· ·asked?                                                    15· ·been deposed in any case?
        16· · · ·A· · No.                                              16· · · ·A· · No.
        17· · · ·Q· · Do you recall generally the subject matter       17· · · ·Q· · You received a subpoena to appear for this
        18· ·of your testimony?                                        18· ·deposition, right?
        19· · · ·A· · Yes.                                             19· · · ·A· · I did.
        20· · · ·Q· · What was the subject matter of your              20· · · ·Q· · Do you recall receiving that subpoena?
        21· ·testimony?                                                21· · · ·A· · I do.
        22· · · ·A· · Questions regarding various investments that     22· · · ·Q· · What did you do when you received it?
        23· ·WDC Holdings had and -- yeah, and the preparation of      23· · · ·A· · I read it.
        24· ·such.                                                     24· · · ·Q· · Did you do anything else?
        25· · · ·Q· · Do you recall which investments in               25· · · ·A· · Called my attorney.


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                                                      EXHIBIT 5
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        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
                                                                  46                                                          48
        ·1· · · ·Q· · Was he already your attorney at that time?       ·1· · · · · · MR. BEDELL:· Objection and clarification
        ·2· · · ·A· · He was.                                          ·2· ·there.· You obviously issued a subpoena to him for
        ·3· · · ·Q· · Was he your attorney with respect to             ·3· ·documents.· He reviewed the documents in response to
        ·4· ·Northstar matters or your attorney in general?            ·4· ·the subpoena.· That was in advance of this deposition
        ·5· · · ·A· · All securities matters.                          ·5· ·temporally.
        ·6· · · ·Q· · And you retained your attorney to assist you     ·6· · · · · · MS. BODNER:· Mm-hm.
        ·7· ·in this deposition?                                       ·7· · · · · · MR. BEDELL:· So I just want to be clear that
        ·8· · · ·A· · I did.                                           ·8· ·your question was vague.· I have explained why.
        ·9· · · ·Q· · Do you understand why you're being deposed       ·9· ·BY MS. BODNER:
        10· ·today?                                                    10· · · ·Q· · Other than identifying the documents
        11· · · ·A· · No.                                              11· ·responsive to the subpoena, did you review any
        12· · · ·Q· · You have no understanding as to why you          12· ·additional documents to prepare for today's
        13· ·might be being deposed today?                             13· ·deposition?
        14· · · · · · MR. HEYBURN:· Objection.· Asked and              14· · · ·A· · I did not.
        15· ·answered.                                                 15· · · ·Q· · When you identified those documents
        16· · · · · · MR. BEDELL:· Yeah, I'm going to object to        16· ·responsive to the subpoena, did you review them?
        17· ·that one as well.· He's being deposed today because       17· · · ·A· · I did.
        18· ·you issued a subpoena to him.· If you are asking him      18· · · ·Q· · Did they refresh your recollection with
        19· ·to guess what your reason is --                           19· ·respect to anything?
        20· · · · · · MS. BODNER:· I'm asking him his                  20· · · ·A· · Maybe at the time.
        21· ·understanding as to why he might be being deposed         21· · · ·Q· · Do you recall in what way you were
        22· ·today.                                                    22· ·refreshed?
        23· · · · · · THE WITNESS:· No.· I don't see the value in      23· · · ·A· · I don't recall them today.
        24· ·it.                                                       24· · · ·Q· · Did you speak to anyone about this
        25· · · · · · ///                                              25· ·deposition?

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        ·1· ·BY MS. BODNER:                                            ·1· · · ·A· · No.
        ·2· · · ·Q· · Did you prepare for this deposition?             ·2· · · ·Q· · Did you tell your wife?
        ·3· · · ·A· · I did not.                                       ·3· · · · · · MR. BEDELL:· Well, other than me, which he
        ·4· · · ·Q· · You didn't meet with your attorney at all in     ·4· ·already said.
        ·5· ·advance of this deposition?                               ·5· ·BY MS. BODNER:
        ·6· · · ·A· · Briefly.                                         ·6· · · ·Q· · Did you tell your wife about this
        ·7· · · ·Q· · When did you meet with your attorney?            ·7· ·deposition?
        ·8· · · ·A· · I spoke to him on the phone.                     ·8· · · ·A· · Yes.
        ·9· · · ·Q· · Do you recall when that was?                     ·9· · · ·Q· · What did you tell your wife?
        10· · · ·A· · Well, within -- between getting the subpoena     10· · · ·A· · That I have a deposition.
        11· ·and today.                                                11· · · ·Q· · Did you tell anyone else about this
        12· · · ·Q· · You have no more approximate sense of            12· ·deposition?
        13· ·timing?                                                   13· · · ·A· · No.
        14· · · ·A· · I don't.                                         14· · · ·Q· · Did you talk to Will Camenson about your
        15· · · ·Q· · How long was that conversation?                  15· ·deposition?
        16· · · ·A· · Half an hour.                                    16· · · ·A· · No.
        17· · · ·Q· · Is that the only thing you did to prepare        17· · · ·Q· · Did you talk to Will Camenson about his
        18· ·for this deposition?                                      18· ·deposition?
        19· · · ·A· · It is.                                           19· · · ·A· · No.
        20· · · ·Q· · Did you discuss any documents with your          20· · · ·Q· · Did you know Will Camenson was deposed?
        21· ·counsel during that call?                                 21· · · ·A· · No.
        22· · · ·A· · I did not.                                       22· · · ·Q· · Did you talk to Tim Lorman about you being
        23· · · ·Q· · Did you personally review any documents in       23· ·deposed today?
        24· ·advance of this deposition?                               24· · · ·A· · No.
        25· · · ·A· · I did not.                                       25· · · ·Q· · Did you talk to Tim Lorman about his


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        ·1· ·deposition?                                               ·1· ·director of equity with Northstar?
        ·2· · · ·A· · No.                                              ·2· · · ·A· · I did.
        ·3· · · ·Q· · Have you had any communications with anyone      ·3· · · ·Q· · Who interviewed you?
        ·4· ·from Gibson Dunn about this deposition?                   ·4· · · ·A· · Brian Watson and Peter Auerbach, I think.
        ·5· · · ·A· · I don't believe so.                              ·5· · · ·Q· · What was Peter's job position?
        ·6· · · ·Q· · Have you had any communications with anyone      ·6· · · ·A· · Just a friend, I think, or manager,
        ·7· ·from Amazon about this deposition?                        ·7· ·co-manager.· I don't know what his actual title was.
        ·8· · · ·A· · No.                                              ·8· · · · · · MR. BEDELL:· Spell Auerbach.
        ·9· · · · · · MS. BODNER:· So this would be a natural          ·9· · · · · · THE WITNESS:· I don't how to spell Auerbach.
        10· ·breaking point if anyone wants a real break.              10· ·A-U-E-R-B-A-C-H is what I'd expect.
        11· ·Otherwise, we can proceed.                                11· ·BY MS. BODNER:
        12· · · · · · THE WITNESS:· I'm fine.                          12· · · ·Q· · You said "just a friend."· What did you mean
        13· · · · · · MR. BEDELL:· Since we've had a couple            13· ·by that?
        14· ·breaks, why don't we go a little longer, see where        14· · · ·A· · I know he was an associate of Brian's.
        15· ·we --                                                     15· · · ·Q· · You understood that he worked at Northstar
        16· · · · · · MS. BODNER:· Okay.                               16· ·in some capacity?
        17· ·BY MS. BODNER:                                            17· · · ·A· · Yes.
        18· · · ·Q· · I'm going to turn now to your employment         18· · · ·Q· · Did you communicate with anyone at Northstar
        19· ·with Northstar.· When did you first apply for a           19· ·prior to being interviewed?
        20· ·position with Northstar?                                  20· · · ·A· · Not at Northstar, no.
        21· · · ·A· · Sometime in probably 2017.                       21· · · ·Q· · How many interviews did you complete in
        22· · · ·Q· · Did you submit an actual job application to      22· ·total?
        23· ·Northstar?                                                23· · · ·A· · One or two.
        24· · · ·A· · I don't recall.                                  24· · · ·Q· · Did you know Brian Watson prior to the
        25· · · ·Q· · How did you learn of an open position with       25· ·interview process?

                                                                  51                                                          53
        ·1· ·Northstar?                                                ·1· · · ·A· · No.
        ·2· · · ·A· · LinkedIn.                                        ·2· · · ·Q· · Were those interviews conducted in person?
        ·3· · · ·Q· · Had you heard of Northstar before then?          ·3· · · ·A· · They were.
        ·4· · · ·A· · No.                                              ·4· · · ·Q· · Do you know how long in total those
        ·5· · · ·Q· · Did you submit an application through            ·5· ·interviews were?
        ·6· ·LinkedIn?                                                 ·6· · · ·A· · No.
        ·7· · · ·A· · Don't recall.                                    ·7· · · ·Q· · Were you eventually offered the position as
        ·8· · · ·Q· · Do you know how you applied for the job with     ·8· ·director of equity?
        ·9· ·Northstar?                                                ·9· · · ·A· · I was.
        10· · · ·A· · I don't recall.                                  10· · · ·Q· · You accepted that position, right?
        11· · · ·Q· · What position did you see posted on              11· · · ·A· · I did.
        12· ·LinkedIn?                                                 12· · · ·Q· · Do you recall what your salary was?
        13· · · ·A· · Director of equity.                              13· · · ·A· · I don't.
        14· · · ·Q· · What about that job posting caught your          14· · · ·Q· · Do you have a rough estimate?
        15· ·attention?                                                15· · · ·A· · Below a hundred grand.
        16· · · ·A· · It was in Colorado.· It was in commercial        16· · · · · · MS. BODNER:· I'm going to introduce another
        17· ·real estate.· And it was in raising equity.               17· ·document.· This will be marked as DM-002.
        18· · · ·Q· · Did you live in Colorado at the time?            18· · · · · · (Deposition Exhibit DM-002 was deemed
        19· · · ·A· · No.                                              19· · · · · · ·marked for identification.)
        20· · · ·Q· · What about it being in Colorado interested       20· ·BY MS. BODNER:
        21· ·you?                                                      21· · · ·Q· · Let me know when you are able to see it.· Is
        22· · · ·A· · I like Colorado.                                 22· ·it showing up on the left hand?
        23· · · ·Q· · What about Colorado do you like?                 23· · · · · · MR. BEDELL:· Yeah, we got it.· He's taking a
        24· · · ·A· · The clean air.                                   24· ·moment to review it.
        25· · · ·Q· · Did you interview for the position as            25· · · · · · MS. BODNER:· Of course, absolutely.· Take a


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        ·1· ·moment to review.                                         ·1· · · ·A· · Yes.
        ·2· · · · · · Do you need more time to review?                 ·2· · · ·Q· · While you were at Northstar, did you try to
        ·3· · · · · · THE WITNESS:· No.                                ·3· ·raise equity?
        ·4· ·BY MS. BODNER:                                            ·4· · · ·A· · I did.
        ·5· · · ·Q· · Do you see that this is an e-mail from Brian     ·5· · · ·Q· · What did you do to try to raise equity?
        ·6· ·Watson dated March 3, 2017?                               ·6· · · ·A· · You know, contacted investors with
        ·7· · · ·A· · I do.                                            ·7· ·investment opportunities.
        ·8· · · ·Q· · And you were a recipient of this e-mail,         ·8· · · ·Q· · How did you go about identifying those
        ·9· ·right?                                                    ·9· ·potential investors?
        10· · · ·A· · I believe so.· Let me see.· Am I listed in       10· · · ·A· · I had my own list of e-mail addresses and I
        11· ·there?                                                    11· ·reached out to Brian Watson's list of contacts and
        12· · · · · · MR. BEDELL:· For the record, there's 14          12· ·that's how we did it.
        13· ·lines of e-mail addresses it looks like on this           13· · · ·Q· · Did you successfully raise equity for
        14· ·e-mail.                                                   14· ·Northstar?
        15· ·BY MS. BODNER:                                            15· · · ·A· · Definition of success?
        16· · · ·Q· · Correct.· I believe your Gmail is in there.      16· · · ·Q· · Did you raise any equity for Northstar?
        17· ·And I'm asking you if you see it.· It's at the            17· · · ·A· · Yes.
        18· ·bottom.· It's the last line above "Subject."              18· · · ·Q· · Do you know how much?
        19· · · ·A· · Oh, I see it, yes.                               19· · · ·A· · No.
        20· · · ·Q· · If you look at the second -- at the first        20· · · ·Q· · Do you have a rough estimate?
        21· ·and second paragraph, do you see that Brian Watson        21· · · ·A· · Below 100 million.
        22· ·announced that you were joining Northstar as director     22· · · ·Q· · Was it above 50 million?
        23· ·of equity?                                                23· · · ·A· · Probably.
        24· · · ·A· · I do.                                            24· · · ·Q· · Did you ever treat potential investors to
        25· · · ·Q· · Can you read the second sentence in the          25· ·dinners?

                                                                  55                                                          57
        ·1· ·second paragraph, starting with, "I would like for        ·1· · · ·A· · No.
        ·2· ·you --"                                                   ·2· · · ·Q· · Did you ever take potential investors to
        ·3· · · · · · MR. BEDELL:· Aloud or to himself?                ·3· ·events?
        ·4· · · · · · MS. BODNER:· Aloud.                              ·4· · · ·A· · No.
        ·5· · · · · · THE WITNESS:· The second sentence where?         ·5· · · ·Q· · What did you do to try to convince investors
        ·6· ·Repeat that.                                              ·6· ·to invest?
        ·7· ·BY MS. BODNER:                                            ·7· · · ·A· · I just discussed -- I just discussed the
        ·8· · · ·Q· · It says -- it starts with, "I would like for     ·8· ·merits of each individual investment opportunity.
        ·9· ·you to take this time --"                                 ·9· · · ·Q· · Did you have those discussions in person?
        10· · · ·A· · Oh.· "I would like for you to take this time     10· · · ·A· · Rarely.
        11· ·to get to know him, and he will be starting the           11· · · ·Q· · So you mostly had those discussions over the
        12· ·process of helping to build out our equity raising        12· ·phone?
        13· ·efforts to another level."                                13· · · ·A· · Correct.
        14· · · ·Q· · When you joined, did you understand that you     14· · · ·Q· · Was director of equity your title for the
        15· ·would be starting the process of helping to build out     15· ·duration of your employment with Northstar?
        16· ·Northstar's equity raising efforts?                       16· · · ·A· · It was.
        17· · · ·A· · I did.                                           17· · · ·Q· · Did you have any other responsibilities
        18· · · ·Q· · Can you explain to me what that means?           18· ·other than what we just discussed?
        19· · · ·A· · At the time, it was to help widen and            19· · · ·A· · No.
        20· ·automate the investor reach of WDC Holdings.              20· · · ·Q· · Did you have any compliance-related duties?
        21· · · ·Q· · You said "at the time."· Did that change         21· · · ·A· · No.
        22· ·eventually?                                               22· · · ·Q· · You didn't do any compliance-related work?
        23· · · ·A· · No.                                              23· · · ·A· · There's no compliance-related work, so, no.
        24· · · ·Q· · Was that something you had previous              24· · · ·Q· · Were you involved with Northstar's referral
        25· ·experience in?                                            25· ·program?


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        ·1· · · ·A· · Define "involved."                               ·1· · · ·A· · I do not.
        ·2· · · ·Q· · How do you define "involved"?                    ·2· · · ·Q· · Do you see in the first full paragraph it
        ·3· · · · · · MR. BEDELL:· Objection.· It's your question.     ·3· ·talks about an updated and streamlined referral
        ·4· ·BY MS. BODNER:                                            ·4· ·agreement?
        ·5· · · ·Q· · Did you recruit potential investors to           ·5· · · ·A· · Yes.
        ·6· ·participate in Northstar's referral program?              ·6· · · ·Q· · Can you read the next sentence starting
        ·7· · · ·A· · No.                                              ·7· ·with, "This would allow you --"
        ·8· · · ·Q· · Are you aware that Northstar had a referral      ·8· · · ·A· · "This would you allow you to receive a flat
        ·9· ·program?                                                  ·9· ·fee of $1,000 for introductions, or 10 percent of my
        10· · · ·A· · Yes.                                             10· ·net manager's profits interests in deals, which could
        11· · · ·Q· · What did you know about Northstar's referral     11· ·create long-term, significant additional wealth for
        12· ·program?                                                  12· ·you."
        13· · · ·A· · That Brian would compensate people who made      13· · · ·Q· · Is that your understanding as to how
        14· ·referrals of investors or deals.· He would pay them,      14· ·individuals were compensated for referrals?
        15· ·you know, in some manner arbitrarily.                     15· · · ·A· · At this moment.
        16· · · · · · MS. BODNER:· I'm going to introduce another      16· · · ·Q· · Were you involved with devising this
        17· ·exhibit.· This will be marked as DM-003.                  17· ·compensation structure?
        18· · · · · · (Deposition Exhibit DM-003 was deemed            18· · · ·A· · I was in the conversation of this.
        19· · · · · · ·marked for identification.)                     19· ·Obviously this isn't my, you know, my decision.
        20· ·BY MS. BODNER:                                            20· · · ·Q· · What do you recall about the conversation
        21· · · ·Q· · Let me know when you see it, and you can         21· ·about this compensation structure?
        22· ·take the time to review.                                  22· · · ·A· · I don't recall the conversation at all.
        23· · · ·A· · Okay.                                            23· · · ·Q· · I believe you just testified that you were
        24· · · ·Q· · So if you could scroll -- well, first, do        24· ·in the conversation about it.
        25· ·you recognize this document, this e-mail?                 25· · · ·A· · Yeah, but I don't know anything about the

                                                                  59                                                          61
        ·1· · · ·A· · I do not recognize it.                           ·1· ·conversation.· I just remember the conversation in
        ·2· · · ·Q· · Do you see that it's an e-mail from Brian        ·2· ·general.
        ·3· ·Watson to you and some others dated August 2, 2017?       ·3· · · ·Q· · Do you remember --
        ·4· · · ·A· · I do.                                            ·4· · · ·A· · It wasn't one conversation.· Obviously
        ·5· · · · · · MR. BEDELL:· Scroll down, please.· Scroll a      ·5· ·there's a chain of e-mails here.· There's --
        ·6· ·couple pages.                                             ·6· · · ·Q· · In what way --
        ·7· · · · · · I'm going to object to the characterization.     ·7· · · ·A· · -- lots of conversations about this.
        ·8· ·It's a chain of e-mails.· One of them probably fits       ·8· · · ·Q· · Sorry, we should try not to talk over each
        ·9· ·your description, but there's a couple of e-mails on      ·9· ·other.· I'll try to do a better job, too.
        10· ·this chain.                                               10· · · · · · What do you recall about your involvement
        11· ·BY MS. BODNER:                                            11· ·with respect to this referral agreement structure?
        12· · · ·Q· · I want to focus on an e-mail dated August 2,     12· · · ·A· · I don't recall anything about my involvement
        13· ·2017.· It's on Page 5.                                    13· ·in this structure.
        14· · · ·A· · Okay.                                            14· · · ·Q· · Did you ever suggest any changes to the
        15· · · · · · MR. BEDELL:· Scroll down.· There's a bunch       15· ·referral program?
        16· ·of e-mails on this chain dated August 2, 2017.            16· · · ·A· · Not that I recall.
        17· ·That's the reason --                                      17· · · ·Q· · You don't recall leading compliance with
        18· · · · · · MS. BODNER:· I understand.· That's why I         18· ·respect to this referral program?
        19· ·specified Page 5.                                         19· · · ·A· · No.
        20· · · · · · THE WITNESS:· Okay.                              20· · · ·Q· · If you could scroll up to the first page,
        21· ·BY MS. BODNER:                                            21· ·it's an e-mail you sent on August 2nd, at 1:14 p.m.
        22· · · ·Q· · Do you see that's an e-mail from Brian           22· · · ·A· · What page?
        23· ·Watson to Luke Wyckoff?                                   23· · · ·Q· · It's the first page of the PDF.
        24· · · ·A· · I do.                                            24· · · ·A· · I didn't send that on the --
        25· · · ·Q· · Do you know who Luke Wyckoff is?                 25· · · ·Q· · Do you see the --


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        ·1· · · ·A· · Oh, the second section.· I replied to the        ·1· ·there was some girl.· What was her name?· I think she
        ·2· ·e-mail that Brian sent.                                   ·2· ·lived in Evergreen or something.· Not Evergreen.
        ·3· · · ·Q· · And you sent an e-mail at 1:14 p.m.,             ·3· ·What's that little city?
        ·4· ·correct?                                                  ·4· · · ·Q· · Conifer?
        ·5· · · ·A· · I replied to Brian's e-mail at 1:14, yes.        ·5· · · ·A· · Not Conifer.· It's down from -- it's on the
        ·6· · · ·Q· · Can you please read out loud the first two       ·6· ·other side of the highway there.· Cool little
        ·7· ·sentences starting with, "I think we need --"             ·7· ·mountain community.· I can't remember the name,
        ·8· · · ·A· · "I think we need to be strategic with who we     ·8· ·though.
        ·9· ·send this to.· I do not want to come off as needy."       ·9· · · · · · So there was a couple of people.· I know
        10· · · ·Q· · Can you read the second sentence as well?        10· ·Carl.· I don't remember Carl's last name.· I know he
        11· · · ·A· · "I think we should test this with only a         11· ·had a number of referrals in there.· We're talking
        12· ·portion of the groups below and then evaluate the         12· ·about referring investors.· And then that girl, I
        13· ·response before doing an exhaustive effort."              13· ·can't remember what that's girl's name is, though.
        14· · · ·Q· · Do you recall testing this referral program      14· · · ·Q· · When you say Carl, are you talking about
        15· ·with a group of people?                                   15· ·Carl Nelson?
        16· · · ·A· · I do not.                                        16· · · ·A· · No, not Carl Nelson.· I don't remember his
        17· · · ·Q· · You don't recall ever reaching out to any        17· ·name, but I know it wasn't Carl Nelson.
        18· ·individuals about Northstar's referral program?           18· · · ·Q· · Did you identify potential individuals to be
        19· · · ·A· · Your question is vague.· The -- I do not         19· ·contacted about Northstar's referral program?
        20· ·recall this instant of doing this.                        20· · · ·A· · I did not.· I did not identify individuals.
        21· · · ·Q· · Do you recall any instance of reaching out       21· ·I did these e-mail distributions to a per se list of
        22· ·to any individuals about Northstar's referral             22· ·individuals, but I didn't target individuals per se.
        23· ·program?                                                  23· · · ·Q· · What does it mean to do e-mail
        24· · · ·A· · I recall distributing an e-mail out to these     24· ·distributions?
        25· ·people and evaluating their response to the e-mail.       25· · · ·A· · A mass e-mail.· Here's a letter, send it out

                                                                  63                                                          65
        ·1· · · ·Q· · Do you recall sending one e-mail to a bunch      ·1· ·to a list of -- I don't know -- 30,000 investors or
        ·2· ·of people at the same time or are you talking about       ·2· ·whatever, 30,000 e-mail addresses.
        ·3· ·separate e-mails?                                         ·3· · · ·Q· · Did you have your own e-mail distribution
        ·4· · · · · · MR. HEYBURN:· Objection.· Compound.              ·4· ·list that you would reach out to?
        ·5· · · · · · THE WITNESS:· I don't recall how it was          ·5· · · ·A· · I did.
        ·6· ·distributed.                                              ·6· · · ·Q· · And you came to Northstar with that e-mail
        ·7· ·BY MS. BODNER:                                            ·7· ·distribution list?
        ·8· · · ·Q· · Do you recall distributing it yourself?          ·8· · · ·A· · I did.
        ·9· · · ·A· · No.                                              ·9· · · ·Q· · Do you recall reaching out to your e-mail
        10· · · ·Q· · Were you copied on the e-mail?                   10· ·distribution list about Northstar's referral program?
        11· · · ·A· · I have no idea.· This is 2017.· It's 2022.       11· · · ·A· · Not my list, no.
        12· ·It's five years ago.                                      12· · · ·Q· · Do you recall reaching out to any other
        13· · · ·Q· · Understood.· I'm entitled to your best           13· ·distribution list about Northstar's referral program?
        14· ·recollection, though, which is what I'm asking you        14· · · · · · MR. BEDELL:· "Any other," other than?
        15· ·about.                                                    15· ·BY MS. BODNER:
        16· · · ·A· · Yes, I know.                                     16· · · ·Q· · Any other distribution list other than your
        17· · · ·Q· · What do you remember about Northstar's           17· ·own distribution list that we just --
        18· ·referral program?                                         18· · · ·A· · Only Brian's current list of contacts and
        19· · · ·A· · I remember that Brian Watson wanted to build     19· ·investors.
        20· ·his referral network out.· That's what I recall.· And     20· · · ·Q· · What was the purpose of the referral
        21· ·he had a couple of people that he used as referral        21· ·program?
        22· ·partners quite often.                                     22· · · ·A· · To generate more investors.
        23· · · ·Q· · Do you recall who those people were?             23· · · ·Q· · Did it generate more investors?
        24· · · ·A· · I think a guy named -- I don't remember his      24· · · ·A· · I don't know.
        25· ·last name.· I think there was a guy named Carl.· And      25· · · ·Q· · Do you recall participating in any


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        ·1· ·discussions with Northstar employees about the            ·1· · · ·A· · No.· I don't recall.
        ·2· ·referral program?                                         ·2· · · ·Q· · Do you know someone named Christian
        ·3· · · ·A· · I don't -- I recall Brian talking about the      ·3· ·Kirschner?
        ·4· ·referral program at the weekly meetings to the whole      ·4· · · ·A· · I do.
        ·5· ·staff.                                                    ·5· · · ·Q· · How do you know Christian Kirschner?
        ·6· · · ·Q· · Do you recall anything else about what he        ·6· · · ·A· · He was a referral partner of Brian's.
        ·7· ·would say during those weekly meetings about the          ·7· · · ·Q· · Do you know how he knows Brian?
        ·8· ·referral program?                                         ·8· · · ·A· · They've known each other for years.
        ·9· · · ·A· · That was essentially the same thing.             ·9· · · ·Q· · When did you first learn of Christian
        10· · · ·Q· · Same thing as what?                              10· ·Kirschner?
        11· · · ·A· · Every week, you know, "Hey, we have a            11· · · ·A· · Somewhere in 2017.
        12· ·referral program, you'll get paid, refer us               12· · · ·Q· · How did you learn of Christian Kirschner?
        13· ·investors."                                               13· · · ·A· · Brian introduced me.
        14· · · ·Q· · So the referral program wasn't a secret?         14· · · ·Q· · What do you recall about that introduction?
        15· · · ·A· · No.                                              15· · · ·A· · That he has known Brian for -- you know, he
        16· · · ·Q· · Did you ever make money via the referral         16· ·knew Brian -- that Brian knew him for years and that
        17· ·program?                                                  17· ·he, you know, still did referral work for Brian.
        18· · · ·A· · No.                                              18· · · ·Q· · Why did Brian introduce you to Christian
        19· · · ·Q· · At the time you worked at Northstar, did you     19· ·Kirschner?
        20· ·have any concerns about the referral program?             20· · · ·A· · Brian introduced me to everybody.
        21· · · ·A· · I don't recall.                                  21· · · ·Q· · Did you ever meet Christian Kirschner in
        22· · · ·Q· · Do you recall raising concerns to anyone         22· ·person?
        23· ·while you worked at Northstar about the referral          23· · · ·A· · I did.
        24· ·program?                                                  24· · · ·Q· · On how many occasions?
        25· · · ·A· · I don't recall.                                  25· · · ·A· · At least once.

                                                                  67                                                          69
        ·1· · · ·Q· · Do you recall thinking that there was            ·1· · · ·Q· · Did you meet with him in the beginning when
        ·2· ·anything improper about the referral program?             ·2· ·you joined Northstar?
        ·3· · · ·A· · I don't recall.                                  ·3· · · ·A· · I don't recall.
        ·4· · · ·Q· · Did the referral program target just             ·4· · · · · · MS. BODNER:· I am going to introduce another
        ·5· ·investors or was it also corporations?                    ·5· ·document.· This will be marked as DM-004.
        ·6· · · ·A· · I don't know.                                    ·6· · · · · · (Deposition Exhibit DM-004 was marked
        ·7· · · ·Q· · Do you know who was targeted by the referral     ·7· · · · · · ·for identification.)
        ·8· ·program?                                                  ·8· · · · · · THE WITNESS:· Okay.
        ·9· · · ·A· · I think I answered that.                         ·9· ·BY MS. BODNER:
        10· · · ·Q· · I apologize.· I don't remember your              10· · · ·Q· · Does this document refresh your recollection
        11· ·testimony.                                                11· ·as to whether you met Christian Kirschner when you
        12· · · ·A· · Brian's list.· Brian's list of -- contact        12· ·joined Northstar?
        13· ·list.· Current investors and contact list of Brian        13· · · ·A· · It doesn't.
        14· ·Watson was who was contacted as it relates to the         14· · · ·Q· · You don't remember anything about a meeting
        15· ·referral program.                                         15· ·with Christian Kirschner in Chicago in March 2017?
        16· · · ·Q· · Do you recall if his referral list included      16· · · ·A· · No, I completely do not remember that.
        17· ·just individual investors or was it also                  17· · · ·Q· · Did you know Christian Kirschner before
        18· ·corporations?                                             18· ·Brian Watson introduced you to him?
        19· · · ·A· · I don't recall the intricacies of the list.      19· · · ·A· · No.
        20· · · ·Q· · Did you have the opportunity to review the       20· · · ·Q· · You testified that Christian Kirschner was
        21· ·list?                                                     21· ·involved in Northstar's referral program, right?
        22· · · ·A· · I had access to the list.                        22· · · ·A· · Yes.
        23· · · ·Q· · Did you have any concerns about reaching out     23· · · ·Q· · Can you explain how he was involved?
        24· ·to the individuals or entities on the list about the      24· · · ·A· · Not other than what I told you, which is
        25· ·referral program?                                         25· ·Brian Watson told me he is part of the referral


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        ·1· ·program.                                                  ·1· ·wanted me to work with Christian.
        ·2· · · ·Q· · Do you know what Christian Kirschner did to      ·2· · · ·Q· · Did you have an understanding as to why
        ·3· ·participate in the referral program?                      ·3· ·Brian Watson wanted you to work with Christian
        ·4· · · ·A· · He -- I don't have any tangible thing other      ·4· ·Kirschner?
        ·5· ·than he referred -- you know, it was expressed to me      ·5· · · ·A· · Well, in my role as director of equity, to
        ·6· ·that he referred investors and deals to Brian.            ·6· ·do things to raise equity.
        ·7· · · ·Q· · Who expressed that to you?                       ·7· · · ·Q· · Did you work with Christian Kirschner at all
        ·8· · · ·A· · Brian.                                           ·8· ·to raise equity?
        ·9· · · ·Q· · Did Christian Kirschner ever tell you            ·9· · · ·A· · We never raised any money together, no.
        10· ·himself which investors he referred to Northstar?         10· · · ·Q· · Did you attempt to raise money together?
        11· · · ·A· · I don't recall.                                  11· · · ·A· · No.
        12· · · ·Q· · Other than from Brian, are you aware of any      12· · · ·Q· · What was your impression of Christian
        13· ·investors that Christian Kirschner referred to            13· ·Kirschner from your five -- strike that.
        14· ·Northstar?                                                14· · · · · · Did you have an impression of Christian
        15· · · ·A· · Say that again.                                  15· ·Kirschner based on your five interactions with him?
        16· · · ·Q· · Other than what Brian Watson told you about      16· · · ·A· · I don't recall.
        17· ·Christian Kirschner's work, did anyone else tell you      17· · · ·Q· · You don't recall him making any impression
        18· ·the work that Christian Kirschner did to refer            18· ·on you?
        19· ·investors to Northstar?                                   19· · · ·A· · Not really.
        20· · · ·A· · I don't believe so.                              20· · · ·Q· · What do you recall about him?
        21· · · ·Q· · Did you and Christian Kirschner work             21· · · ·A· · I don't recall anything about him.· I mean,
        22· ·together at Northstar?                                    22· ·honestly, I can't -- I can't tell you what he looks
        23· · · ·A· · Define that.· He didn't live in Denver.          23· ·like.· I can't remember to tell you what his voice
        24· · · ·Q· · Thank you.· Did you at some point move to        24· ·sounds like.· I don't remember anything.
        25· ·Denver from Chicago?                                      25· · · ·Q· · You don't remember his hair color?

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        ·1· · · ·A· · I did.                                           ·1· · · ·A· · No.
        ·2· · · ·Q· · When did that occur?                             ·2· · · ·Q· · Were you copied on e-mail correspondence
        ·3· · · ·A· · June of 2017 -- May.· Actually maybe it was      ·3· ·between Brian and Christian while you worked at
        ·4· ·May of 2017.                                              ·4· ·Northstar?
        ·5· · · ·Q· · Did you live in Denver throughout the            ·5· · · ·A· · I don't recall.
        ·6· ·duration of your employment with Northstar?               ·6· · · ·Q· · While you worked at Northstar, did you know
        ·7· · · ·A· · I did except for maybe the last month.           ·7· ·what Christian Kirschner was doing on a daily basis?
        ·8· · · ·Q· · Where did you move that last month?              ·8· · · ·A· · No.
        ·9· · · ·A· · Back here to Las Vegas.                          ·9· · · ·Q· · Did you have a general understanding as to
        10· · · ·Q· · Did you interact with Christian Kirschner on     10· ·what Christian Kirschner was doing on behalf of
        11· ·a daily basis?                                            11· ·Northstar?
        12· · · ·A· · No.                                              12· · · ·A· · Other than the referral partner that we just
        13· · · ·Q· · How often would you interact with him?           13· ·discussed, that's it.
        14· · · ·A· · Rarely.                                          14· · · ·Q· · Did anyone keep you up to date on Christian
        15· · · ·Q· · On those rare occasions, was it in person or     15· ·Kirschner's role with respect to the referral
        16· ·via e-mail?                                               16· ·program?
        17· · · ·A· · E-mail or phone and there probably wasn't        17· · · ·A· · Say that again.
        18· ·more than, I don't know -- I'd be surprised if there      18· · · ·Q· · Did anyone keep you up to date on Christian
        19· ·was even five communications between me and               19· ·Kirschner's work on behalf of the referral program?
        20· ·Christian.                                                20· · · ·A· · I don't recall.
        21· · · ·Q· · In total throughout your employment?             21· · · ·Q· · Are you aware that Christian Kirschner had
        22· · · ·A· · Yeah.                                            22· ·an agreement with Northstar regarding his services?
        23· · · ·Q· · What led you to interact with Christian          23· · · ·A· · Yes.
        24· ·Kirschner on those five occasions?                        24· · · ·Q· · Were you involved in putting together that
        25· · · ·A· · Brian's -- you know, at Brian's behest, he       25· ·agreement?


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        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
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        ·1· · · ·A· · Not the final agreement.                         ·1· ·BY MS. BODNER:
        ·2· · · ·Q· · Were you involved in early iterations of         ·2· · · ·Q· · Do you have a general recollection as to
        ·3· ·that agreement?                                           ·3· ·what revisions you made to the referral agreement?
        ·4· · · ·A· · I believe so.                                    ·4· · · ·A· · No, I do not.
        ·5· · · ·Q· · Do you recall what your involvement was?         ·5· · · · · · MS. BODNER:· I'm going to introduce another
        ·6· · · ·A· · Just, you know, doing the edit -- you know,      ·6· ·exhibit.· This will be marked as DM-005.
        ·7· ·just doing -- preparing --· doing the editing of an       ·7· · · · · · (Deposition Exhibit DM-005 was deemed
        ·8· ·existing document at Brian's direction.                   ·8· · · · · · ·marked for identification.)
        ·9· · · ·Q· · Why would you have been involved in the          ·9· ·BY MS. BODNER:
        10· ·editing of that existing document?                        10· · · ·Q· · Take a second to look through it and let me
        11· · · ·A· · Anybody could have done it, but, you know, I     11· ·know when you're ready.
        12· ·was the director of equity, so, you know, he just         12· · · ·A· · Okay.
        13· ·asked me to do it.                                        13· · · ·Q· · Do you recall this chain of e-mails with
        14· · · ·Q· · Did the referral program fall under the          14· ·Brian Watson from December 2017?
        15· ·umbrella of the director of equity responsibilities?      15· · · ·A· · I do not.
        16· · · ·A· · I didn't have any referral people, myself,       16· · · ·Q· · Do you see -- this is on the bottom of the
        17· ·so I'd say Brian was really -- you know, managed his      17· ·first page -- that Brian Watson sent you an e-mail on
        18· ·referral partners.                                        18· ·December 28, 2017, at 1:53 p.m.?
        19· · · ·Q· · And the purpose of the referral program was      19· · · ·A· · I do.
        20· ·to raise equity for Northstar, correct?                   20· · · ·Q· · And he says, "Please revise Christian
        21· · · ·A· · Yes.                                             21· ·Kirschner's agreement to the following and send to me
        22· · · ·Q· · And you were in charge of raising equity for     22· ·ASAP for Sterling."
        23· ·Northstar?                                                23· · · ·A· · I do.
        24· · · ·A· · My job title was director of equity.             24· · · ·Q· · And then on the second page, does he send
        25· ·Ultimately raising the equity fell on to both Brian       25· ·you some changes he wants made?

                                                                  75                                                          77
        ·1· ·Watson's shoulders and my shoulders.· Brian Watson        ·1· · · ·A· · He did.
        ·2· ·raised more equity during my time at Northstar than I     ·2· · · ·Q· · Do you know why he sent those changes to
        ·3· ·raised at Northstar.                                      ·3· ·you?
        ·4· · · ·Q· · Why is that?                                     ·4· · · ·A· · Obviously that's what he negotiated with
        ·5· · · ·A· · Because he knows more people and he has more     ·5· ·Christian.
        ·6· ·relationships.· And bigger relationships.                 ·6· · · ·Q· · Were you involved in those negotiations with
        ·7· · · ·Q· · Did Brian Watson ever ask you to revise the      ·7· ·Christian?
        ·8· ·referral agreement because you had an SEC compliance      ·8· · · ·A· · I was not.
        ·9· ·background?                                               ·9· · · ·Q· · Was this the extent of your knowledge as to
        10· · · ·A· · Why he asked me to do it, I've -- not the        10· ·the negotiations with Christian?
        11· ·reasoning behind it, no.                                  11· · · ·A· · I assume so.
        12· · · ·Q· · Did Brian Watson ever ask you to revise the      12· · · ·Q· · Do you have any reason to believe that you
        13· ·referral agreement?                                       13· ·at any time knew any more about Christian Kirschner's
        14· · · ·A· · He did.                                          14· ·negotiations with Brian Watson?
        15· · · ·Q· · Did you, in fact, revise the referral            15· · · ·A· · I did not.
        16· ·agreement?                                                16· · · ·Q· · You did not know any more?
        17· · · ·A· · I did.                                           17· · · ·A· · No.
        18· · · ·Q· · In what ways did you revise the referral         18· · · ·Q· · Why did Brian Watson ask you to make these
        19· ·agreement, if any?                                        19· ·changes to Christian Kirschner's agreement?
        20· · · ·A· · I don't recall.                                  20· · · ·A· · I think I just answered that, but he says
        21· · · ·Q· · You don't recall revising it?                    21· ·right here, "Please revise Christian Kirschner's
        22· · · ·A· · I said I revised it.                             22· ·agreement to the following and send to me ASAP," so
        23· · · · · · MR. BEDELL:· Objection.· That's not what he      23· ·that's what I did.
        24· ·said.                                                     24· · · ·Q· · I'm asking why he asked you to please
        25· · · · · · ///                                              25· ·revise?


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        ·1· · · · · · MR. BEDELL:· Objection to the extent --          ·1· ·Christian Kirschner would be compensated for his
        ·2· ·objection.· You're calling for him to speculate as to     ·2· ·services?
        ·3· ·what someone else was thinking.                           ·3· · · ·A· · I do not recall.
        ·4· · · · · · MR. HEYBURN:· Also object.· Asked and            ·4· · · ·Q· · Do you recall if the agreement with
        ·5· ·answered.                                                 ·5· ·Christian Kirschner was to be kept a secret at
        ·6· · · · · · THE WITNESS:· So I have no idea why.             ·6· ·Northstar?
        ·7· ·BY MS. BODNER:                                            ·7· · · ·A· · I do not recall.
        ·8· · · ·Q· · You have no understanding?                       ·8· · · ·Q· · Do you recall if the agreement with
        ·9· · · ·A· · I just mentioned -- I just told you it's         ·9· ·Christian Kirschner was to be kept a secret from
        10· ·obvious right here, "Please revise Christian              10· ·anyone?
        11· ·Kirschner's agreement to the following and send to me     11· · · ·A· · I don't recall.
        12· ·ASAP."                                                    12· · · ·Q· · Do you recall ever having any conversations
        13· · · · · · He is asking me to do it.· Plain and simple,     13· ·with anyone at Northstar about Mr. Kirschner's
        14· ·that's why I did it.                                      14· ·agreement?
        15· · · ·Q· · And I'm asking you if you have an                15· · · ·A· · I don't recall.
        16· ·understanding as to why Brian Watson asked you to         16· · · ·Q· · Looking at this draft agreement now, do you
        17· ·plain and simple revise this agreement?                   17· ·have concerns about it?
        18· · · · · · MR. BEDELL:· Same objection.                     18· · · ·A· · No.
        19· · · · · · MR. HEYBURN:· Objection.· Asked and              19· · · ·Q· · Were you involved in any of Northstar's
        20· ·answered.                                                 20· ·lease transactions with Amazon?
        21· · · · · · THE WITNESS:· I do not.· I also do not know      21· · · ·A· · Define "involved."
        22· ·if this was the final negotiation.                        22· · · ·Q· · Did you do any work on behalf of Northstar
        23· ·BY MS. BODNER:                                            23· ·to raise money for Northstar's lease transactions
        24· · · ·Q· · And just to confirm, you testified that you      24· ·with Amazon?
        25· ·weren't involved in any of the negotiations with          25· · · ·A· · I raised money for the Sterling Investments,

                                                                  79                                                          81
        ·1· ·Christian Kirschner?                                      ·1· ·LLC, yes.
        ·2· · · ·A· · Correct.                                         ·2· · · ·Q· · When did you raise that money?
        ·3· · · ·Q· · Do you recall thinking that there was            ·3· · · ·A· · I don't recall the exact date.· Obviously
        ·4· ·anything improper about Christian's agreement when        ·4· ·right before, prior to the close of the transaction.
        ·5· ·Brian asked you to make these revisions?                  ·5· · · ·Q· · Do you know if that was 2017 or 2018?
        ·6· · · ·A· · No.                                              ·6· · · ·A· · It was probably -- it probably straddled
        ·7· · · ·Q· · Do you know if the agreement with Christian      ·7· ·both.· I don't remember when it actually all came to
        ·8· ·was eventually finalized and signed?                      ·8· ·fruition.
        ·9· · · ·A· · I have no tangible -- I never saw a final        ·9· · · ·Q· · Do you recall how much money you raised from
        10· ·agreement.                                                10· ·investors for the Sterling transactions?
        11· · · ·Q· · You never saw a final or you don't recall        11· · · ·A· · I think 5 million.· I could be mistaken.
        12· ·seeing a final?                                           12· · · ·Q· · What was that equity fundraising process
        13· · · ·A· · I don't recall seeing a final one.               13· ·like?
        14· · · ·Q· · Did you have an understanding as to how          14· · · ·A· · Prepare an e-mail, send it out, talk to
        15· ·Christian Kirschner would be paid for his services to     15· ·investors about it.
        16· ·Northstar?                                                16· · · ·Q· · Did you ever speak with anyone at Amazon
        17· · · ·A· · Yeah, it says it right here.· That's what I      17· ·about the Sterling deal?
        18· ·assumed.                                                  18· · · ·A· · No.
        19· · · ·Q· · So your understanding of what Christian --       19· · · ·Q· · Were you ever on any correspondence with
        20· ·strike that.                                              20· ·anyone at Amazon about the Sterling deal?
        21· · · · · · Your understanding of how Christian              21· · · ·A· · At what -- at what time frame are you
        22· ·Kirschner would be paid was based solely on the           22· ·talking about?· Prior to raising money for --
        23· ·agreement that you saw in draft form?                     23· · · ·Q· · While you were raising money.
        24· · · ·A· · Correct.                                         24· · · ·A· · No, I did not.
        25· · · ·Q· · Do you recall having any concerns about how      25· · · ·Q· · While you raised equity from investors for


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        ·1· ·the Sterling deal, did you think that Northstar was       ·1· · · ·Q· · Why did you resign?
        ·2· ·engaged in improper conduct?                              ·2· · · ·A· · Didn't want to work there anymore.
        ·3· · · ·A· · No.                                              ·3· · · ·Q· · Why did you not want to work there anymore?
        ·4· · · ·Q· · Did you ever let any investors in the            ·4· · · ·A· · Chose to do my own thing.
        ·5· ·Sterling deals know that you had concerns about           ·5· · · ·Q· · Was there something about Northstar in
        ·6· ·Northstar's conduct?                                      ·6· ·particular that made you want to do your own thing?
        ·7· · · ·A· · No.                                              ·7· · · ·A· · Not in particular.
        ·8· · · ·Q· · Other than raising equity for the Sterling       ·8· · · ·Q· · Were there a couple of things that made you
        ·9· ·deals, did you have any -- did you do any work on         ·9· ·want to do your own thing?
        10· ·behalf of Northstar's lease transactions with Amazon?     10· · · ·A· · I'm a Capricorn, I always want to do my own
        11· · · ·A· · No.                                              11· ·thing.
        12· · · ·Q· · Did you ever review the budgets associated       12· · · ·Q· · I don't know much about the signs,
        13· ·with these lease transactions?                            13· ·unfortunately.
        14· · · ·A· · Budgets is probably not the right word.          14· · · · · · When you resigned, did you know what you
        15· · · ·Q· · What did you review -- strike that.              15· ·wanted to do job-wise?
        16· · · · · · What sort of documents did you review in         16· · · ·A· · Not really.· I still don't know what I want
        17· ·connection with Northstar's lease transactions with       17· ·to do when I grow up.
        18· ·Amazon?                                                   18· · · ·Q· · Me, too.
        19· · · ·A· · Pro forma.                                       19· · · · · · So you didn't have another job lined up at
        20· · · ·Q· · What is a pro forma?                             20· ·the time?
        21· · · ·A· · It's a financial picture of an investment.       21· · · ·A· · No.
        22· · · ·Q· · Who prepared that pro forma?                     22· · · ·Q· · But you had incorporated Dacia Resort Group?
        23· · · ·A· · One of the analysts.                             23· · · ·A· · Correct.
        24· · · ·Q· · Analysts at Northstar?                           24· · · ·Q· · And did you intend to make Dacia Resort
        25· · · ·A· · Correct.                                         25· ·Group a functional entity when you resigned?

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        ·1· · · ·Q· · Do you recall who?                               ·1· · · ·A· · I did.
        ·2· · · ·A· · It was probably a group.· It probably wasn't     ·2· · · ·Q· · So you did have a general plan in mind when
        ·3· ·just one.· It was probably a group, but, no, I do not     ·3· ·you resigned?
        ·4· ·recall exactly who did.                                   ·4· · · ·A· · A plan, yes.
        ·5· · · ·Q· · Why did you review the pro formas prepared       ·5· · · ·Q· · Did anything happen at Northstar that led
        ·6· ·by the Northstar analysts about the Sterling deal?        ·6· ·you to want to resign?
        ·7· · · ·A· · So that I understood what the assumptions        ·7· · · ·A· · I think I answered that, but I'll just leave
        ·8· ·were.                                                     ·8· ·it as no.
        ·9· · · ·Q· · Do you recall what those assumptions were?       ·9· · · ·Q· · At the time you resigned, did you have any
        10· · · ·A· · No.                                              10· ·concerns that Northstar was engaged in improper
        11· · · ·Q· · Do you recall having any concerns about          11· ·conduct?
        12· ·those assumptions?                                        12· · · ·A· · Yes.
        13· · · ·A· · No.                                              13· · · ·Q· · What were those concerns?
        14· · · ·Q· · Do you recall if anyone else at Northstar        14· · · ·A· · Unequal treatment of investors, poor
        15· ·had concerns about what was contained in the pro          15· ·management of investments, side deals that I hadn't
        16· ·forma?                                                    16· ·been aware of.· That's sort of it in a nutshell.
        17· · · ·A· · No.                                              17· · · ·Q· · So let's start with unequal treatment of
        18· · · ·Q· · Did your employment with Northstar               18· ·investors.· What were your concerns related to
        19· ·eventually come to an end?                                19· ·unequal treatment of investors?
        20· · · ·A· · It did.                                          20· · · ·A· · Some investors got paid differently than
        21· · · ·Q· · When was that?                                   21· ·other investors.
        22· · · ·A· · I think it was -- I think it was April           22· · · ·Q· · Do you know why they got paid differently?
        23· ·of 2019.                                                  23· · · ·A· · No.
        24· · · ·Q· · Did you resign?                                  24· · · ·Q· · How did you know that certain investors were
        25· · · ·A· · I did.                                           25· ·paid differently than other investors?


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        ·1· · · ·A· · Because I was a part of a conversation that      ·1· · · ·Q· · After you resigned, do you recall talking
        ·2· ·I was aware of one such instance.                         ·2· ·with anyone, either affiliated with Northstar or not,
        ·3· · · ·Q· · Who was involved in that conversation?           ·3· ·about the unequal treatment of investors?
        ·4· · · ·A· · Brian Watson and myself and Brian Cleveland.     ·4· · · ·A· · I don't recall.
        ·5· · · ·Q· · What else do you recall about that               ·5· · · ·Q· · And apologies, I just can't remember, is
        ·6· ·conversation?                                             ·6· ·Brian Cleveland one of the investors who invested in
        ·7· · · ·A· · That Brian Cleveland thought he had a            ·7· ·an RV park?
        ·8· ·different return, should have gotten paid differently     ·8· · · ·A· · He is.
        ·9· ·than he had been, and ultimately it was my                ·9· · · ·Q· · Have you had any discussions with Brian
        10· ·understanding that he was paid how he believed he         10· ·Cleveland about Brian Watson or Northstar at any
        11· ·should have been paid, but the other investors of         11· ·point since you resigned from Northstar?
        12· ·that same deal were not paid that same way.               12· · · ·A· · Yes.
        13· · · ·Q· · How did you know that the other investors        13· · · ·Q· · What do you recall about those
        14· ·involved in that deal were not paid the same way?         14· ·conversations?
        15· · · ·A· · Actually, I guess I don't have any tangible      15· · · ·A· · Nothing in particular.
        16· ·proof that they weren't paid that way; but it was my      16· · · ·Q· · Do you recall if you discussed any of the
        17· ·understanding that they all hadn't been treated the       17· ·allegations related to this lawsuit with
        18· ·same way.                                                 18· ·Mr. Cleveland?
        19· · · ·Q· · Why was that your understanding?                 19· · · ·A· · No.
        20· · · ·A· · That's the information I had at the time.        20· · · ·Q· · Do you recall discussing any concerns you
        21· · · ·Q· · How did you have that information at the         21· ·had about Brian Watson or Northstar with
        22· ·time?                                                     22· ·Mr. Cleveland?
        23· · · ·A· · Inference.                                       23· · · ·A· · I don't recall.
        24· · · ·Q· · So your understanding that investors were        24· · · ·Q· · You also mentioned poor management of
        25· ·treated differently was based on an inference from a      25· ·investments.· Why were you concerned about that?

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        ·1· ·conversation between Brian Cleveland and Brian            ·1· · · ·A· · I felt they could all be managed better.
        ·2· ·Watson?                                                   ·2· · · ·Q· · Why did you feel that they could all be
        ·3· · · ·A· · Correct.                                         ·3· ·managed better?
        ·4· · · ·Q· · Did you have any other reason to believe         ·4· · · ·A· · Experience.
        ·5· ·that there was unequal treatment of investors?            ·5· · · ·Q· · As someone without investor experience, can
        ·6· · · ·A· · I don't recall any specific examples. I          ·6· ·you please be more specific?
        ·7· ·believe there were, but I can't recall a specific         ·7· · · ·A· · Pending capital calls, extended and poor
        ·8· ·example.                                                  ·8· ·performance of investments.
        ·9· · · ·Q· · Why do you believe that there were other         ·9· · · · · · MR. BEDELL:· To be clear, in your last
        10· ·instances?                                                10· ·question, you said "as someone without experience."
        11· · · ·A· · I don't know.                                    11· ·You were referring to yourself, not him?
        12· · · ·Q· · Did you testify about this unequal treatment     12· · · · · · MS. BODNER:· That is correct.
        13· ·of investors to the SEC?                                  13· ·BY MS. BODNER:
        14· · · ·A· · I don't know.                                    14· · · ·Q· · Can you be more specific as to why your
        15· · · ·Q· · You don't recall if you testified about          15· ·experience led you to believe that there was poor
        16· ·that?                                                     16· ·management of investments at Northstar?
        17· · · ·A· · I don't recall.                                  17· · · ·A· · Repeat the question.
        18· · · ·Q· · Do you believe that this unequal treatment       18· · · ·Q· · Can you be more specific as to why your
        19· ·of investors was reflected in any Northstar               19· ·prior experience led you to believe there was poor
        20· ·documents?                                                20· ·management of investments at Northstar?
        21· · · ·A· · No.                                              21· · · ·A· · I don't know how to answer that question.
        22· · · ·Q· · Did you raise your concern about unequal         22· · · ·Q· · Was your concern about poor management of
        23· ·treatment of investors to anyone at Northstar before      23· ·investments -- strike that.
        24· ·resigning?                                                24· · · · · · Did you think that Northstar was making bad
        25· · · ·A· · I don't recall.                                  25· ·business decisions with respect to its investments?


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        ·1· · · ·A· · Yes.                                             ·1· ·was Chris Ball.· B-A-L-L.
        ·2· · · ·Q· · Did you think that Northstar was doing           ·2· · · ·Q· · Thank you.· What was your concern about
        ·3· ·anything illegal with respect to its investments?         ·3· ·Northstar's activity with Chris Ball?
        ·4· · · ·A· · Yes.                                             ·4· · · ·A· · Brian Watson awarded Chris Ball's firm a
        ·5· · · ·Q· · What did you think Northstar was doing that      ·5· ·leasing contract -- a leasing opportunity -- a
        ·6· ·was in violation of the law?                              ·6· ·listing agreement, but then had Chris Ball agree to
        ·7· · · ·A· · Unequal treatment of investors and side          ·7· ·pay Brian 20 percent of the leasing commissions back
        ·8· ·deals.                                                    ·8· ·to, you know, back to him.
        ·9· · · ·Q· · So poor management of investments is sort of     ·9· · · ·Q· · What company was Chris Ball affiliated with?
        10· ·an umbrella with the unequal treatment and the side       10· · · ·A· · Don't know.
        11· ·deals as being --                                         11· · · ·Q· · How did you learn about this?· Strike that.
        12· · · ·A· · There's all types of execution issues.           12· · · · · · How did you know that Brian awarded Chris
        13· · · ·Q· · Who did you think was responsible for the        13· ·Ball a leasing agreement?
        14· ·execution issues?                                         14· · · ·A· · Somebody in the firm told me.· I don't
        15· · · ·A· · Brian Watson.                                    15· ·recall who.
        16· · · ·Q· · Did you ever raise concerns with Brian           16· · · ·Q· · When you say someone at the firm, are you
        17· ·Watson about his execution of investments?                17· ·referring to Northstar?
        18· · · ·A· · In a manner.                                     18· · · ·A· · Yeah, I am.
        19· · · ·Q· · And what manner did you raise those concerns     19· · · ·Q· · How did you know about the leasing
        20· ·with Mr. Watson?                                          20· ·commission that you just testified about?
        21· · · ·A· · Just generally in different meetings.            21· · · ·A· · Someone at the firm told me.
        22· · · ·Q· · Do you recall what concerns you conveyed to      22· · · ·Q· · The same person who told you about that --
        23· ·him during those meetings?                                23· · · ·A· · No idea who.
        24· · · ·A· · No.· I don't recall the specifics, no.           24· · · ·Q· · Did you ever see any financial documents
        25· · · ·Q· · Do you recall generally what you conveyed to     25· ·with respect to this leasing commission?

                                                                  91                                                          93
        ·1· ·him?                                                      ·1· · · ·A· · No.
        ·2· · · ·A· · That I think things should be done               ·2· · · ·Q· · Why were you concerned about Brian Watson
        ·3· ·differently.                                              ·3· ·being paid the leasing commission?
        ·4· · · ·Q· · Do you recall how Mr. Watson responded, if       ·4· · · ·A· · Because it wasn't disclosed to the
        ·5· ·at all?                                                   ·5· ·investors.
        ·6· · · ·A· · I don't recall.                                  ·6· · · ·Q· · How do you know it wasn't disclosed to the
        ·7· · · ·Q· · Do you recall if he made any changes based       ·7· ·investors?
        ·8· ·on your concerns?                                         ·8· · · ·A· · Because it's not disclosed in any of the
        ·9· · · ·A· · No.                                              ·9· ·investment documents.
        10· · · ·Q· · No, you don't recall or, no, he didn't make      10· · · ·Q· · How do you know it's not disclosed in any of
        11· ·any changes?                                              11· ·the --
        12· · · ·A· · I don't recall.                                  12· · · ·A· · Because I reviewed all the investment
        13· · · ·Q· · So you testified that you had concerns about     13· ·documents.
        14· ·side deals that you hadn't been made aware of,            14· · · ·Q· · Did you review those recently or at the
        15· ·correct?                                                  15· ·time?
        16· · · ·A· · Correct.                                         16· · · ·A· · At the time.
        17· · · ·Q· · What do you recall about the side deals that     17· · · ·Q· · Did you review those investor documents
        18· ·you hadn't been made aware of?                            18· ·after you learned from the individual at Northstar
        19· · · ·A· · Asking brokers to give him a referral for        19· ·about the Chris Ball listing agreement?
        20· ·deals that he gave them without disclosing them to --     20· · · ·A· · No, I had already reviewed the documents
        21· ·those side deals to investors.· They -- I don't           21· ·prior to that point.
        22· ·remember the specifics of the other ones.                 22· · · ·Q· · Other than the fact you recall that it
        23· · · ·Q· · Do you recall which brokers you are              23· ·wasn't disclosed in the investor documents, did you
        24· ·referring to?                                             24· ·have any other concerns about the arrangement with
        25· · · ·A· · At least on one occasion I think his name        25· ·Chris Ball?


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        ·1· · · ·A· · Not worth noting.                                ·1· · · ·Q· · While you worked with Mr. Watson, did you
        ·2· · · ·Q· · I'm sorry, what did you say?                     ·2· ·ever have any concerns about his ability to manage
        ·3· · · ·A· · Not worth noting.                                ·3· ·Northstar?
        ·4· · · ·Q· · I'm interested in anything you recall.           ·4· · · ·A· · I did.
        ·5· · · ·A· · I don't recall it.                               ·5· · · ·Q· · What were those concerns?
        ·6· · · ·Q· · Do you recall if the Chris Ball commission       ·6· · · ·A· · I didn't think he executed on his deals very
        ·7· ·was above market rate from what a broker would            ·7· ·well.
        ·8· ·charge?                                                   ·8· · · ·Q· · Did you have any other concerns about his
        ·9· · · ·A· · I don't recall.                                  ·9· ·leadership of Northstar?
        10· · · ·Q· · Other than Chris Ball, do you recall any         10· · · ·A· · Generally, I didn't -- I'll just say no.
        11· ·other side deals?                                         11· · · ·Q· · At the time you left Northstar, were you
        12· · · ·A· · I don't recall.                                  12· ·considering doing work with Mr. Watson in the future?
        13· · · ·Q· · Do you recall any other broker referrals         13· · · ·A· · No.
        14· ·that you had concerns about?                              14· · · ·Q· · Why no?
        15· · · ·A· · I don't recall the specific instances. I         15· · · ·A· · Did not want to work with Watson anymore.
        16· ·just recall vaguely and I don't know who, but that        16· · · ·Q· · Why did you not want to work with Mr. Watson
        17· ·that wasn't -- that one deal with Chris Ball wasn't       17· ·anymore?
        18· ·the only instance of that arrangement is what I was       18· · · ·A· · I wanted to do my own thing.
        19· ·led to believe.                                           19· · · ·Q· · Since resigning from Northstar, have you
        20· · · ·Q· · And who led you to believe that?                 20· ·ever done any business with Brian Watson or his
        21· · · ·A· · Don't remember.                                  21· ·companies?
        22· · · ·Q· · Was it Will Camenson?                            22· · · ·A· · No.
        23· · · ·A· · I doubt it, but I don't remember.                23· · · · · · MS. BODNER:· Okay.· I think we can take a
        24· · · ·Q· · Why do you doubt it?                             24· ·break now, a longer break.
        25· · · ·A· · I don't think he would have been involved in     25· · · · · · THE VIDEOGRAPHER:· We are going off record

                                                                  95                                                          97
        ·1· ·those type of discussions.· He is a financial             ·1· ·at 11:22 a.m.
        ·2· ·analyst.                                                  ·2· · · · · · (Thereupon, a recess was taken.)
        ·3· · · ·Q· · Do you recall hearing any concerns about         ·3· · · · · · THE VIDEOGRAPHER:· We are back on record at
        ·4· ·Brian Watson's arrangements with anyone at Amazon?        ·4· ·11:39 a.m.
        ·5· · · ·A· · Say that again.                                  ·5· ·BY MS. BODNER:
        ·6· · · ·Q· · Do you recall hearing any concerns with          ·6· · · ·Q· · Mr. Mulcahy, I just want to ask you some
        ·7· ·anyone at Northstar about Brian Watson's arrangements     ·7· ·follow-up questions based on your testimony before
        ·8· ·with Amazon?                                              ·8· ·the break.
        ·9· · · ·A· · That's a yes and a no.· I remember generally     ·9· · · · · · Did you share your concerns about the poor
        10· ·hearing concerns, but I can't -- I can't recall           10· ·management of investments with the SEC during your
        11· ·specific examples.                                        11· ·deposition?
        12· · · ·Q· · Do you recall generally what those concerns      12· · · ·A· · I don't recall.
        13· ·were?                                                     13· · · ·Q· · Do you recall giving any testimony about the
        14· · · ·A· · Generally that the arrangements, the             14· ·poor management of investments to the SEC?
        15· ·awarding of the contracts wasn't above board.             15· · · ·A· · I assume so, but I don't recall.
        16· · · ·Q· · And is the awarding of the Amazon contracts      16· · · ·Q· · Was it Brian Watson's management of the
        17· ·part of the side deals that you were concerned about      17· ·investments that you were concerned about?
        18· ·or is this something --                                   18· · · ·A· · Yes.
        19· · · ·A· · Yes.                                             19· · · ·Q· · Did you have any concerns about the
        20· · · ·Q· · -- separate?                                     20· ·investment management by Don Marcotte?
        21· · · · · · What was your relationship with Mr. Watson       21· · · ·A· · Yes.
        22· ·like while you worked at Northstar?                       22· · · ·Q· · What were your concerns about Don Marcotte?
        23· · · ·A· · Amicable.                                        23· · · ·A· · Good guy but in over his head.
        24· · · ·Q· · Did you leave on amicable terms?                 24· · · ·Q· · What do you mean by "in over his head"?
        25· · · ·A· · I did.                                           25· · · ·A· · Doesn't know how to handle direct reports,


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        ·1· ·can't hold people accountable, places too much            ·1· ·were capable of performing their jobs at Northstar?
        ·2· ·reliance on third-party vendors.· There's other           ·2· · · ·A· · Performing their jobs, meaning performing
        ·3· ·nuances, but ultimately, yeah.                            ·3· ·per se Don Marcotte's job or people in their
        ·4· · · ·Q· · So were you concerned by multiple people's       ·4· ·individual roles?· A lot of the people at Northstar
        ·5· ·management of Northstar's investments?                    ·5· ·were very competent professionals and then there's a
        ·6· · · ·A· · Other than Brian Watson and Don Marcotte?        ·6· ·number of them that were not in the correct position
        ·7· · · ·Q· · Strike that.                                     ·7· ·for themselves.
        ·8· · · · · · Did you have concerns about anyone else's        ·8· · · ·Q· · Do you recall testifying to the SEC about
        ·9· ·management of Northstar's investments other than          ·9· ·the side deals that you hadn't been made aware of?
        10· ·Brian Watson and Don Marcotte?                            10· · · ·A· · I don't recall.
        11· · · ·A· · Well, Brian Watson and Don Marcotte were the     11· · · ·Q· · Did you help create Northstar's RIA,
        12· ·only two managing the investments.                        12· ·registered investment advisor?
        13· · · ·Q· · Did you have any concerns about anyone that      13· · · ·A· · I did.
        14· ·worked for Don Marcotte or Brian Watson with respect      14· · · ·Q· · What did you do with respect to Northstar's
        15· ·to managing the investments?                              15· ·registered investment advisor?
        16· · · ·A· · Again, managing the investments was only         16· · · ·A· · I chaperoned the creation of the ADV form,
        17· ·technically Brian Watson and Don Marcotte.· They were     17· ·Parts 1 and 2.
        18· ·the only managers of any of the investments.              18· · · ·Q· · I'm sorry, what is an ADV form?
        19· · · ·Q· · Did you have concerns about the execution by     19· · · ·A· · Those are the forms you need to prepare to
        20· ·the rest of the Northstar team with respect to            20· ·establish yourself as an RIA.
        21· ·Northstar investments?                                    21· · · ·Q· · Is that an SEC obligation?
        22· · · ·A· · Yes.                                             22· · · ·A· · It is.
        23· · · ·Q· · What were those concerns?                        23· · · ·Q· · Did you have a title affiliated with the
        24· · · ·A· · In a lot of occasions they didn't know what      24· ·RIA?
        25· ·they were doing.                                          25· · · ·A· · No.

                                                                  99                                                         101
        ·1· · · ·Q· · Do you recall who did not know what they         ·1· · · ·Q· · Were you an officer?
        ·2· ·were doing?                                               ·2· · · ·A· · No.
        ·3· · · ·A· · Jason Marcotte, I don't remember some of --      ·3· · · ·Q· · Did you work with attorneys to create the
        ·4· ·Randy Keogh, K-E-O-G-H.· I can't remember that guy we     ·4· ·RIA for Northstar?
        ·5· ·fired finally.· He did Citadel.· Yeah.· And there         ·5· · · ·A· · I did.
        ·6· ·were other instances, but the development team was        ·6· · · ·Q· · Was the RIA created for the Sterling deals?
        ·7· ·certainly the weak link at Northstar.                     ·7· · · ·A· · No, it was not created for any particular
        ·8· · · ·Q· · Did you raise your concerns about the            ·8· ·deal.· It was created because Brian Watson -- you
        ·9· ·development team to Mr. Watson?                           ·9· ·know, two of Brian Watson's attorneys strongly
        10· · · ·A· · I don't recall.                                  10· ·recommended creating an RIA because of the amount of
        11· · · ·Q· · Do you recall if Mr. Watson fired the            11· ·assets under management.· He passed a threshold of
        12· ·employee you mentioned because of your concerns?          12· ·assets under management that sort of makes them
        13· · · ·A· · Not because of my concerns, no.                  13· ·required to register as an RIA.
        14· · · ·Q· · Do you recall why he fired that employee?        14· · · ·Q· · So do you have some background in SEC
        15· · · ·A· · For the same reasons I thought he shouldn't      15· ·regulations?
        16· ·have been there also.                                     16· · · ·A· · You know, just what I've researched.· You
        17· · · · · · MR. BEDELL:· Spell Marcotte, and is it the       17· ·know, obviously I've never created a brokerage before
        18· ·same for both Don and Jason?                              18· ·nor an RIA before.· I just have my own securities
        19· · · · · · THE WITNESS:· Yes, it is.· M-A-R-C-O-T-T-E.      19· ·licensing.
        20· · · · · · MS. BODNER:· Thank you.                          20· · · ·Q· · Do you recall making any change to the
        21· ·BY MS. BODNER:                                            21· ·Northstar website to be in compliance with SEC
        22· · · ·Q· · Were you the only person at Northstar that       22· ·regulations?
        23· ·knew what they were doing?                                23· · · ·A· · Not in particular, to be a part of it.· You
        24· · · ·A· · No.                                              24· ·know, I didn't -- I didn't notice something and said,
        25· · · ·Q· · There were other individuals who you thought     25· ·oh, I've got to change this to be in compliance.· No,



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        ·1· ·I never did anything like that.                         ·1· ·whistleblower in the private sector.· I could be
        ·2· · · ·Q· · Do you recall reviewing the website with an    ·2· ·mistaken, I'm not a lawyer.
        ·3· ·eye towards SEC compliance?                             ·3· · · · · · MR. BEDELL:· I'll also object.· I think
        ·4· · · ·A· · Not as it relates to SEC compliance.· As       ·4· ·you've misstated his testimony from earlier, but it
        ·5· ·being a prudent investment manager and making sure      ·5· ·is what it is.
        ·6· ·that your statements and claims aren't false or         ·6· ·BY MS. BODNER:
        ·7· ·misleading, yes.· I did my best to make sure that the   ·7· · · ·Q· · Under your definition of a whistleblower
        ·8· ·contents on the Northstar website was not false or      ·8· ·complaint, have you ever made a whistleblower
        ·9· ·misleading.                                             ·9· ·complaint?
        10· · · ·Q· · Did you also ever review investor              10· · · ·A· · Again, I would say I've never called the SEC
        11· ·communications for -- to confirm that they were not     11· ·and said that there was something wrong, no.
        12· ·misleading?                                             12· · · ·Q· · Have you ever called any federal agency and
        13· · · ·A· · My investor communications.· Now, "investor    13· ·said there was something wrong?
        14· ·communications" is a defined term by the SEC, by the    14· · · ·A· · No.
        15· ·Securities Act.· So I'll assume for this conversation   15· · · ·Q· · Have you ever gone to any private
        16· ·that you're talking about it in general, not through    16· ·corporation and said there was something wrong?
        17· ·the definition of what a communications is defined by   17· · · ·A· · Yes.
        18· ·the SEC.                                                18· · · ·Q· · When did you do that?
        19· · · · · · So I reviewed my communications with an eye    19· · · ·A· · Couple years ago.
        20· ·to, again, not including any false or misleading        20· · · ·Q· · What entity did you report a wrongdoing to?
        21· ·information.                                            21· · · ·A· · To Amazon.
        22· · · ·Q· · Did you have any concerns while you worked     22· · · · · · MS. BODNER:· I am going to introduce another
        23· ·at Northstar that it was violating any SEC              23· ·document.· This is Exhibit 6.
        24· ·regulations?                                            24· · · · · · (Deposition Exhibit DM-006 was deemed
        25· · · ·A· · Be more specific, please.                      25· · · · · · ·marked for identification.)

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        ·1· · · ·Q· · You seem to have a solid understanding of      ·1· ·BY MS. BODNER:
        ·2· ·SEC rules and regulations?                              ·2· · · ·Q· · This is the complaint in the case if you
        ·3· · · ·A· · Correct.                                       ·3· ·want to flip through.· It's very long.
        ·4· · · ·Q· · While you were at Northstar, did you have      ·4· · · ·A· · Okay.· I'll take your word for it.
        ·5· ·any concerns that any Northstar conduct was violating   ·5· · · ·Q· · Have you seen this complaint before?
        ·6· ·any SEC rules or regulations?                           ·6· · · ·A· · Actually, I don't know if I have.· I may
        ·7· · · ·A· · I did have concerns of that, yes.              ·7· ·have, but I don't believe I have.
        ·8· · · ·Q· · What were your concerns?                       ·8· · · ·Q· · If you could go to Page 22, you can just
        ·9· · · ·A· · The same concerns I expressed before, side     ·9· ·type in the number at the bottom.
        10· ·deals, lack of transparency, treating investors         10· · · · · · MR. BEDELL:· This is 6?
        11· ·different from one another.                             11· · · · · · MS. BODNER:· This is Exhibit 6.
        12· · · ·Q· · But you don't recall if you testified about    12· · · · · · Oh, I'm sorry, it's Page 25 of the PDF,
        13· ·those concerns to the SEC during your deposition?       13· ·Page 22 of the complaint.
        14· · · ·A· · I spoke to the SEC for eight hours.· I don't   14· · · · · · Oh, I'm sorry, this is the wrong version.
        15· ·recall the specifics of that conversation.              15· ·Can I remove this?
        16· · · ·Q· · You testified earlier that you've never made   16· · · · · · MR. BEDELL:· It's not my deposition, but I
        17· ·a whistleblower complaint, correct?                     17· ·don't think you can remove an exhibit that you've
        18· · · ·A· · Pardon me?                                     18· ·already marked.· You can mark another one.
        19· · · ·Q· · You testified before that you've never made    19· · · · · · MS. BODNER:· Yes.· Let's see.
        20· ·a whistleblower complaint?                              20· · · · · · MR. SMART:· Yeah, just mark another one.
        21· · · ·A· · Define whistleblower complaint.                21· ·Just add it as the next one.· You can tell the
        22· · · ·Q· · How do you define whistleblower?               22· ·reporter -- you can tell the court reporter.
        23· · · ·A· · I think of a whistleblower complaint           23· ·Everybody has this one so you can ask the court
        24· ·specifically as it relates to federal contracts and     24· ·reporter to not actually attach it.· It's up to you.
        25· ·SEC issues.· I don't think there's such a thing as a    25· · · · · · MS. BODNER:· Okay.· I think --


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        ·1· · · · · · MR. SMART:· Just describe what it was for     ·1· · · ·A· · He was.
        ·2· ·the record and then do another one.                    ·2· · · ·Q· · Why did you send this e-mail to Mr. Bezos?
        ·3· · · · · · MS. BODNER:· Okay.· I don't think -- Adam,    ·3· · · ·A· · I felt like it was the right thing to do.
        ·4· ·is there a way to upload documents once a deposition   ·4· · · ·Q· · Why did you feel like it was the right thing
        ·5· ·has started?                                           ·5· ·to do?
        ·6· · · · · · MR. SMART:· Yeah, there should be an upload   ·6· · · ·A· · Intrinsically, it felt like the right thing
        ·7· ·button in the top left corner.· Do you see it?         ·7· ·to do.
        ·8· · · · · · MS. BODNER:· Yeah.· So for the record I've    ·8· · · ·Q· · What do you mean by "intrinsically"?
        ·9· ·introduced as Exhibit 6 an older version of the        ·9· · · ·A· · That's what I felt was -- it's a feeling.
        10· ·complaint, which is the first amended version of the   10· ·It doesn't need any other basis.
        11· ·complaint.· And I will not be asking questions about   11· · · ·Q· · Did you know Mr. Bezos personally?
        12· ·this document because I would like to show a           12· · · ·A· · No.
        13· ·different version of the complaint.                    13· · · ·Q· · Did you know any Amazon employees personally
        14· · · · · · MR. BEDELL:· For the record, what we have,    14· ·at the time you sent this e-mail?
        15· ·it doesn't say "First Amended."· It says "Second       15· · · ·A· · I've met a few people from Amazon in the
        16· ·Amended Complaint."                                    16· ·past, yes.· Well, Amazon, AWS, where that dividing
        17· · · · · · MS. BODNER:· Really?· Okay.· Hold on.         17· ·line is is a different -- is open to debate.
        18· · · · · · MR. BEDELL:· When I say we have, I mean the   18· · · ·Q· · Do you understand that when I use the term
        19· ·document on the screen that the witness and I are      19· ·"Amazon," I'm referring to either Amazon as a whole
        20· ·viewing that is labeled DM-006 bears the title,        20· ·or AWS?· Are you fine if I use it interchangeably?
        21· ·"Plaintiffs' Verified Second Amended Complaint."       21· · · ·A· · Yeah.
        22· · · · · · MS. BODNER:· You are correct.· Is that what   22· · · ·Q· · Did you discuss this e-mail with anyone
        23· ·yours shows as well?· But the footer isn't correct,    23· ·before you sent it?
        24· ·correct?                                               24· · · ·A· · No.
        25· · · · · · Can we go off the record.                     25· · · ·Q· · Was there a reason you sent this e-mail on

                                                             107                                                          109
        ·1· · · · · · THE VIDEOGRAPHER:· We are going off record    ·1· ·December 2, 2019?
        ·2· ·at 11:52 a.m.                                          ·2· · · ·A· · Just finally decided to do it.
        ·3· · · · · · (Off-the-record discussion.)                  ·3· · · ·Q· · You didn't have any other basis other than
        ·4· · · · · · THE VIDEOGRAPHER:· We are back on record at   ·4· ·you intrinsically felt it was the right thing?
        ·5· ·11:53 a.m.                                             ·5· · · ·A· · Correct.
        ·6· · · · · · MS. BODNER:· Okay.· I am going to introduce   ·6· · · ·Q· · You didn't think you needed any other basis
        ·7· ·another document.· This will be Exhibit 7.             ·7· ·to send this e-mail?
        ·8· · · · · · (Deposition Exhibit DM-007 was deemed         ·8· · · ·A· · (Witness shakes head.)
        ·9· · · · · · ·marked for identification.)                  ·9· · · ·Q· · Do you try to do the right thing in your
        10· ·BY MS. BODNER:                                         10· ·daily life?
        11· · · ·Q· · Let me know when you're able to see that.     11· · · ·A· · I do.
        12· · · ·A· · I see it.                                     12· · · ·Q· · What did you hope to happen after you sent
        13· · · ·Q· · Mr. Mulcahy, is this the complaint that you   13· ·this e-mail?
        14· ·made to Amazon that you testified about?               14· · · ·A· · What did I think -- repeat the question.
        15· · · ·A· · It appears to be.                             15· · · ·Q· · What did you hope to happen after you sent
        16· · · ·Q· · Do you have any reason to believe that it's   16· ·this e-mail?
        17· ·not?                                                   17· · · ·A· · Just that it was acknowledged and rectified.
        18· · · ·A· · No.                                           18· · · ·Q· · That what was acknowledged?
        19· · · ·Q· · This is an e-mail from you to Jeff Bezos      19· · · ·A· · That there was likely unscrupulous behavior
        20· ·dated December 2, 2019, correct?                       20· ·happening at the Amazon level.
        21· · · ·A· · Yes.                                          21· · · ·Q· · And what did you hope to be rectified?
        22· · · ·Q· · Did you send this e-mail?                     22· · · ·A· · That the -- that this -- that Amazon
        23· · · ·A· · I did.                                        23· ·employees weren't awarding contracts and making --
        24· · · ·Q· · Jeff Bezos was previously the president and   24· ·you know, outside the free market.
        25· ·CEO of Amazon, correct?                                25· · · ·Q· · You were not working for Northstar at the


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        ·1· ·time you sent this e-mail, correct?                     ·1· · · ·Q· · Which Amazon data center?
        ·2· · · ·A· · No, I was not.                                 ·2· · · ·A· · I don't know.· It was just one in Virginia.
        ·3· · · ·Q· · This was a few months after you resigned       ·3· · · ·Q· · Was it a data center that Northstar was
        ·4· ·from Northstar?                                         ·4· ·affiliated with?
        ·5· · · ·A· · Several, actually.· Nearly a year.             ·5· · · ·A· · No.
        ·6· · · ·Q· · And nothing happened that led you to send      ·6· · · ·Q· · Do you recall when that meeting with Casey
        ·7· ·this e-mail at this time, nearly a year after you       ·7· ·Kirschner was?
        ·8· ·left Northstar?                                         ·8· · · ·A· · No.
        ·9· · · ·A· · Not any particular event, no.                  ·9· · · ·Q· · Why were you in Amazon -- strike that.
        10· · · ·Q· · Did anything generally happen that led you     10· · · · · · Why were you in Virginia seeing an Amazon
        11· ·to send the e-mail?                                     11· ·data center?
        12· · · · · · MR. HEYBURN:· Objection.· Asked and            12· · · ·A· · Brian Watson took us there to look at what a
        13· ·answered.                                               13· ·data center looked like.
        14· · · · · · THE WITNESS:· No.                              14· · · ·Q· · Do you recall anything else about that
        15· ·BY MS. BODNER:                                          15· ·visit?
        16· · · ·Q· · Did anyone else -- strike that.                16· · · ·A· · No.
        17· · · · · · Did anyone encourage you to send this          17· · · ·Q· · Did you have any conversations with Casey
        18· ·e-mail?                                                 18· ·Kirschner?
        19· · · ·A· · No.                                            19· · · ·A· · No, nothing in particular.· Not certainly
        20· · · ·Q· · I want to walk through the contents of this,   20· ·one-on-one, no.
        21· ·of this e-mail.                                         21· · · ·Q· · Have you ever met Carl Nelson?
        22· · · · · · Can you please read the first sentence         22· · · ·A· · I don't believe so.
        23· ·starting with, "Would you care --" out loud.            23· · · ·Q· · Did you meet Carl Nelson on that same trip?
        24· · · ·A· · "Would you care to hear about a couple of      24· · · ·A· · I don't believe so.
        25· ·your employees who have taken kickbacks in excess of    25· · · ·Q· · You say, "your employees who have taken

                                                              111                                                          113
        ·1· ·$8 million, maybe as high as 50 million, and in my      ·1· ·kickbacks"?
        ·2· ·opinion represent a threat to the security of AWS?"     ·2· · · ·A· · Yes.
        ·3· · · ·Q· · Who were you referring to when you said        ·3· · · ·Q· · What was the basis for your statement that
        ·4· ·"employees"?                                            ·4· ·Carl Nelson and Casey Kirschner took kickbacks?
        ·5· · · ·A· · Casey Kirschner and I didn't know what         ·5· · · ·A· · The basis?
        ·6· ·Carl's last name was at the time.                       ·6· · · ·Q· · Uh-huh.
        ·7· · · ·Q· · Had you ever met Casey Kirschner at the        ·7· · · ·A· · It was my understanding that Christian
        ·8· ·time?                                                   ·8· ·Kirschner had acted as a conduit to pay, you know,
        ·9· · · ·A· · I have.                                        ·9· ·the referral fees that were paid to Casey -- to
        10· · · ·Q· · You have?                                      10· ·Christian Kirschner, were then a large portion,
        11· · · ·A· · Uh-huh.                                        11· ·majority of the portion, was paid to Carl and Casey.
        12· · · ·Q· · On how many occasions have you met Casey?      12· · · ·Q· · What was that understanding based on?
        13· · · ·A· · Just once.· I believe it was just once.        13· · · ·A· · Different conversations in the office, an
        14· · · · · · MR. BEDELL:· Objection.· Asked and answered.   14· ·e-mail exchange.· Well, that was just conversations
        15· ·We already went through this at length this morning.    15· ·in the office.
        16· · · · · · THE WITNESS:· No, that was Christian.          16· · · ·Q· · Conversations in the office with who?
        17· · · · · · MR. BEDELL:· Sorry, my bad.                    17· · · ·A· · I don't remember.
        18· · · · · · THE WITNESS:· This is Casey.                   18· · · ·Q· · And when you say "office," are you talking
        19· · · · · · MR. BEDELL:· Yep.                              19· ·about the Northstar office?
        20· ·BY MS. BODNER:                                          20· · · ·A· · I am.
        21· · · ·Q· · So you just testified that you met Casey       21· · · ·Q· · Do you recall if those conversations were
        22· ·Kirschner on one occasion, correct?                     22· ·with Tim Lorman?
        23· · · ·A· · I believe it was only one occasion.            23· · · ·A· · I do not recall.
        24· · · ·Q· · Do you remember anything about that meeting?   24· · · ·Q· · Do you recall if those conversations were
        25· · · ·A· · I got to see an Amazon data center.            25· ·with Kyle Ramstetter?


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        ·1· · · ·A· · Likely.                                        ·1· ·what you were going to say or do you want me to pose
        ·2· · · ·Q· · Why likely?                                    ·2· ·a new question?
        ·3· · · ·A· · Because there's, you know, several people      ·3· · · ·A· · I do.
        ·4· ·that were involved in those:· Brian Watson, Don         ·4· · · ·Q· · Would you mind continuing?
        ·5· ·Marcotte, and Kyle Ramstetter, Brent Gray, and Kristi   ·5· · · ·A· · It's my understanding that after WDC was
        ·6· ·Fisher.                                                 ·6· ·awarded the contract, that with Christian as a
        ·7· · · ·Q· · Was Will Camenson also involved in these       ·7· ·conduit, Casey and Carl received a bulk of the
        ·8· ·discussions?                                            ·8· ·referral fees that were originally considered for
        ·9· · · ·A· · No.                                            ·9· ·Christian Kirschner.
        10· · · ·Q· · What do you recall about your conversations    10· · · ·Q· · And what was your understanding based on?
        11· ·with the Northstar employees you just listed about      11· · · ·A· · Conversation in office.
        12· ·Amazon employees taking kickbacks?                      12· · · ·Q· · Conversations in the office with who?
        13· · · ·A· · Say your question again.                       13· · · ·A· · With the group of people I mentioned
        14· · · ·Q· · What do you recall about your conversations    14· ·earlier.
        15· ·with the Northstar employees you just listed about      15· · · ·Q· · Do you recall any specific conversations?
        16· ·Amazon employees having taken kickbacks?                16· · · ·A· · No.
        17· · · ·A· · That it was not -- it was not cool and I       17· · · ·Q· · Do you recall ever seeing any documents
        18· ·didn't want anything to do with it.                     18· ·about these payments to Carl Nelson and Casey
        19· · · ·Q· · Who told you that it was occurring?            19· ·Kirschner?
        20· · · ·A· · I don't remember the specifics.· I just know   20· · · ·A· · No.
        21· ·it was occurring.· Or I never saw the specifics, so a   21· · · ·Q· · Did you tell Mr. Bezos in this e-mail that
        22· ·lot of it is assumption and hearsay.· But that was my   22· ·your claims were based on hearsay and assumptions?
        23· ·understanding.                                          23· · · ·A· · No.
        24· · · ·Q· · So you sent this e-mail to Mr. Bezos based     24· · · ·Q· · Did you think that was important for him to
        25· ·on assumptions and hearsay?                             25· ·know?

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        ·1· · · ·A· · Yes.                                           ·1· · · ·A· · No.
        ·2· · · ·Q· · Why did you use the term "kickbacks" in this   ·2· · · ·Q· · Why not?
        ·3· ·e-mail?                                                 ·3· · · ·A· · You know, he can do his own investigation.
        ·4· · · ·A· · Because that's what I understood it to be.     ·4· · · ·Q· · You had no concerns about him carrying on an
        ·5· · · ·Q· · And why did you understand it to be            ·5· ·investigation based on hearsay and assumptions?
        ·6· ·kickbacks?                                              ·6· · · · · · MR. HEYBURN:· Objection.· Asked and
        ·7· · · ·A· · Because they awarded a contract and then       ·7· ·answered.
        ·8· ·they got paid a lot of money.· That's a kickback.· If   ·8· · · · · · THE WITNESS:· Not at all.
        ·9· ·you have a different definition, I'm open to hearing    ·9· ·BY MS. BODNER:
        10· ·it.                                                     10· · · ·Q· · Do you see that you said, "and in my opinion
        11· · · ·Q· · And who was awarded a lot of money?            11· ·represent a threat to the security of AWS"?
        12· · · ·A· · Nobody was awarded a lot of money.· WDC was    12· · · ·A· · Yes.
        13· ·awarded a contract and Casey --                         13· · · ·Q· · What did you mean by that?
        14· · · · · · MS. BODNER:· I think we all just lost -- can   14· · · ·A· · The integrity of the AWS or -- yeah, the
        15· ·we go off the record.                                   15· ·integrity of AWS is put in jeopardy with behavior
        16· · · · · · MR. BEDELL:· I was going to say we've lost     16· ·like that.
        17· ·connection.                                             17· · · ·Q· · And other than your conversations with the
        18· · · · · · THE VIDEOGRAPHER:· We are going off record     18· ·Northstar employees, did you have any evidence that
        19· ·at 12:03 p.m.                                           19· ·the integrity of AWS was being put at risk?
        20· · · · · · (Pause in proceedings.)                        20· · · ·A· · No.
        21· · · · · · THE VIDEOGRAPHER:· We are back on record at    21· · · ·Q· · And other than your conversations with the
        22· ·12:12 p.m.                                              22· ·Northstar employees you listed, did you have any
        23· ·BY MS. BODNER:                                          23· ·evidence that Amazon employees were taking kickbacks?
        24· · · ·Q· · We just lost internet and you were in the      24· · · ·A· · No.
        25· ·middle of responding to a question.· Do you remember    25· · · ·Q· · So looking at the second paragraph, would



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        ·1· ·you mind reading that aloud starting with, "I never    ·1· · · · · · ·to --")
        ·2· ·considered --"                                         ·2· ·BY MS. BODNER:
        ·3· · · ·A· · "I never considered myself a rat, and I am    ·3· · · ·Q· · -- Carl Nelson and Casey Kirschner?
        ·4· ·actually on good terms with everyone involved, but I   ·4· · · ·A· · I don't have any tangible evidence.· It's my
        ·5· ·guess I am just upset that I have always acted with    ·5· ·understanding that that's the behavior that was
        ·6· ·integrity and it is disheartening when people are      ·6· ·happening.
        ·7· ·rewarded so grossly for unscrupulous behavior."        ·7· · · ·Q· · When you say you don't have any tangible
        ·8· · · ·Q· · Why were you disheartened?                    ·8· ·evidence, what do you mean by "tangible evidence"?
        ·9· · · ·A· · It states it right there.                     ·9· · · ·A· · I don't have any evidence.
        10· · · ·Q· · What people were being rewarded so grossly    10· · · ·Q· · Did you think at any time that you had any
        11· ·for unscrupulous behavior?                             11· ·evidence of this conduct by Brian Watson?
        12· · · ·A· · Brian Watson, Casey, and Carl.                12· · · ·A· · No.
        13· · · ·Q· · Was your understanding that Brian Watson,     13· · · ·Q· · At any time did you think you had tangible
        14· ·Casey Kirschner, and Carl Nelson were being rewarded   14· ·evidence of Carl Nelson or Casey Kirschner accepting
        15· ·for unscrupulous behavior based on these               15· ·kickbacks?
        16· ·conversations you had with Northstar employees?        16· · · ·A· · No.
        17· · · ·A· · Yes.                                          17· · · ·Q· · Can you look at the third paragraph and read
        18· · · ·Q· · Is it based on anything else?                 18· ·that first sentence starting with, "My knowledge --"
        19· · · ·A· · No.                                           19· · · ·A· · "My knowledge and evidence will lead you to
        20· · · ·Q· · You also said, "I am actually on good terms   20· ·the others that have empirical evidence."
        21· ·with everyone involved," correct?                      21· · · ·Q· · Who were the others you were referring to?
        22· · · ·A· · Correct.                                      22· · · ·A· · It was misstated, but it was Kyle
        23· · · ·Q· · When you said "everyone involved," who are    23· ·Ramstetter.· It should have been "other."
        24· ·you referring to?                                      24· · · ·Q· · Why didn't you identify Mr. Ramstetter by
        25· · · ·A· · Brian Watson and Don Marcotte.                25· ·name?

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        ·1· · · ·Q· · What was Don Marcotte's title at Northstar?   ·1· · · ·A· · It wasn't pertinent at this point of the
        ·2· · · ·A· · Director of development.· And manager of      ·2· ·communication.· I didn't mention anybody's names in
        ·3· ·various investments.                                   ·3· ·this.
        ·4· · · ·Q· · Did you believe that he was engaged in        ·4· · · ·Q· · Did you think anyone else other than
        ·5· ·unscrupulous behavior with respect to Amazon?          ·5· ·Mr. Ramstetter had empirical evidence?
        ·6· · · ·A· · Yes.                                          ·6· · · ·A· · No.· Well, in this context, no.
        ·7· · · ·Q· · What was his involvement?                     ·7· · · ·Q· · What do you mean "in this context"?
        ·8· · · ·A· · The same involvement that Brian Watson had.   ·8· · · ·A· · Well, Brent Gray, Kristi Fisher, Don
        ·9· · · ·Q· · And what was the involvement that Brian       ·9· ·Marcotte also, I'm sure, have tangible evidence, but
        10· ·Watson had?                                            10· ·in this regard, I was just talking about Kyle.
        11· · · ·A· · Being aware of -- helping facilitate the      11· · · ·Q· · Did you talk to Kyle about this e-mail
        12· ·kickbacks to Carl and Casey.                           12· ·before you sent it to Mr. Bezos?
        13· · · ·Q· · And how did you know that Brian Watson was    13· · · ·A· · No, I did not.
        14· ·facilitating kickbacks to --                           14· · · ·Q· · Why did you believe that Mr. Ramstetter had
        15· · · ·A· · I don't have any tangible evidence.· That     15· ·empirical evidence that would be of interest to
        16· ·was the understanding that the office was under,       16· ·Mr. Bezos?
        17· ·multiple people in the office were under.              17· · · ·A· · That's because it's my understanding that
        18· · · ·Q· · And I just need to repeat my question         18· ·Kyle had done something similar as Brian did.
        19· ·because you interrupted me.· So I apologize.           19· · · ·Q· · What do you mean that Mr. Ramstetter had
        20· · · · · · MS. BODNER:· Would you mind reading back my   20· ·done something similar?
        21· ·original question?                                     21· · · ·A· · He had bought a piece of land or somehow
        22· · · · · · (Thereupon, from the record above,            22· ·sold a piece of land -- I don't know the details to
        23· · · · · · ·the reporter read, to wit:                   23· ·it -- but had sold some land to Amazon for -- in
        24· · · · · · "Q· And how did you know that Brian           24· ·exchange for some sort of, you know, kickback
        25· · · · · · ·Watson was facilitating kickbacks            25· ·structure.· I never had the details to that.· I just


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        ·1· ·knew that Kyle would have it.                           ·1· · · · · · THE WITNESS:· Because I surmised that he did
        ·2· · · ·Q· · And why did you know that Kyle would have      ·2· ·it because he is -- outside of Northstar he
        ·3· ·those details?                                          ·3· ·facilitated some sort of real estate transaction with
        ·4· · · ·A· · Just I suspected that he did.                  ·4· ·the same parties at Amazon as Brian Watson had, so I
        ·5· · · ·Q· · What made you suspect Mr. Ramstetter would     ·5· ·figured it was under the similar terms.
        ·6· ·have those details?                                     ·6· ·BY MS. BODNER:
        ·7· · · ·A· · Because I was aware of the deal that he had    ·7· · · ·Q· · Thank you.
        ·8· ·done with -- you know, I wasn't aware of the            ·8· · · · · · How did you know that Mr. Ramstetter had
        ·9· ·specifics, but I was aware of the deal that he had      ·9· ·engaged in this transaction?
        10· ·the land that he had sold to AWS.                       10· · · ·A· · It was --
        11· · · ·Q· · When did you become aware of the land that     11· · · · · · MR. BEDELL:· Objection.· Go ahead.
        12· ·Mr. Ramstetter had sold to AWS?                         12· · · · · · THE WITNESS:· It was in the
        13· · · ·A· · When it was in the Virginia Business Journal   13· ·Virginia Business -- I think it's called -- I might
        14· ·or something like that.                                 14· ·have the title wrong, but I believe it's called the
        15· · · ·Q· · After you sent this e-mail, did you tell       15· ·Virginia Business Journal.· Could be something else.
        16· ·Mr. Ramstetter that you had sent it?                    16· ·BY MS. BODNER:
        17· · · ·A· · No.                                            17· · · ·Q· · So it was an article published in some sort
        18· · · ·Q· · When is the last time you've communicated      18· ·of publication?
        19· ·with Mr. Ramstetter?                                    19· · · ·A· · Correct.
        20· · · ·A· · No idea, but probably 2000- -- probably like   20· · · ·Q· · Was Mr. Ramstetter identified by name in
        21· ·April 2019.· I can't remember exactly, but it was a     21· ·that article?
        22· ·long time ago.· I don't think I spoke to him after I    22· · · ·A· · He was.
        23· ·left Northstar.                                         23· · · ·Q· · Was anyone else at Northstar involved in
        24· · · ·Q· · Did you think that Mr. Ramstetter would want   24· ·that transaction?
        25· ·to share empirical evidence with Amazon?                25· · · ·A· · I don't know the specifics.· I have no idea

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        ·1· · · · · · MR. HEYBURN:· Objection.· Calls for            ·1· ·who at Northstar did it or was or wasn't a part of
        ·2· ·speculation.                                            ·2· ·it.
        ·3· · · · · · THE WITNESS:· Yeah.                            ·3· · · ·Q· · Do you know if Mr. Watson was a part of it?
        ·4· ·BY MS. BODNER:                                          ·4· · · ·A· · I doubt that he was a part of it.
        ·5· · · ·Q· · You can answer.                                ·5· · · ·Q· · Why do you doubt that he was a part of it?
        ·6· · · ·A· · I have no idea.· I have no opinion either      ·6· · · ·A· · Because Brian Watson fired Kyle after he
        ·7· ·way.· I have no idea how he would feel about it.        ·7· ·found out about it.
        ·8· · · ·Q· · Was Mr. Ramstetter involved in the             ·8· · · ·Q· · Do you recall how you came across that
        ·9· ·unscrupulous behavior that you identified above?        ·9· ·article about the transaction?
        10· · · ·A· · I suspected that he was.                       10· · · ·A· · Kyle Ramstetter called me about it.
        11· · · ·Q· · And other than what you learned in the         11· · · ·Q· · What did he say when he called you?
        12· ·Business Journal, did you have any reason to suspect    12· · · ·A· · "They just published a deal that Northstar
        13· ·that Mr. Ramstetter was involved in unscrupulous        13· ·did it -- bought a piece of land and they didn't, I
        14· ·behavior?                                               14· ·did it."· That is what he told me.
        15· · · ·A· · Say that again.                                15· · · ·Q· · Why did he call you?
        16· · · ·Q· · What was the basis for your belief that        16· · · ·A· · Because he wanted to talk to somebody.
        17· ·Mr. Ramstetter was engaged in unscrupulous behavior?    17· · · ·Q· · Was he looking for advice?
        18· · · ·A· · Because he did -- he did a side deal outside   18· · · · · · MR. HEYBURN:· Objection to form.
        19· ·of Northstar with the same parties that were at         19· · · · · · THE WITNESS:· I have no idea.
        20· ·Amazon.· So I just surmised that he did the same        20· ·BY MS. BODNER:
        21· ·thing.                                                  21· · · ·Q· · What did you tell him in response to his
        22· · · ·Q· · What led you to surmise that he did the same   22· ·call to you?
        23· ·thing?                                                  23· · · ·A· · I told him, "Well, call the Business Journal
        24· · · ·A· · Didn't I just answer that?                     24· ·and correct it, take Northstar out of it, it wasn't
        25· · · · · · MR. BEDELL:· You did.                          25· ·Northstar."


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        ·1· · · ·Q· · Were you working at Northstar when he called   ·1· · · ·Q· · After that call, did Kyle Ramstetter follow
        ·2· ·you?                                                    ·2· ·up with you in any way about this transaction?
        ·3· · · ·A· · I don't believe I was.· I could have been.     ·3· · · ·A· · No, not that I'm aware of.
        ·4· ·I have no idea when -- I don't know when that was       ·4· · · ·Q· · Did you discuss Mr. Ramstetter's call with
        ·5· ·published and I have no idea -- I don't recall          ·5· ·you with Mr. Camenson?
        ·6· ·whether I was still at -- I doubt it, but I couldn't    ·6· · · ·A· · No.
        ·7· ·tell you.                                               ·7· · · ·Q· · Did Mr. Camenson call you about the article
        ·8· · · ·Q· · Did you and Mr. Ramstetter have a close        ·8· ·in the Business Journal?
        ·9· ·relationship while you worked at Northstar?             ·9· · · ·A· · No.
        10· · · ·A· · We had a working relationship.· I wouldn't     10· · · ·Q· · Did you have any discussions with
        11· ·call it close.                                          11· ·Mr. Camenson about the article in the Business
        12· · · ·Q· · Did you stay in touch after you left           12· ·Journal?
        13· ·Northstar?                                              13· · · ·A· · No.
        14· · · ·A· · No.                                            14· · · · · · MR. HEYBURN:· Objection to form.
        15· · · ·Q· · What else do you recall about the              15· ·BY MS. BODNER:
        16· ·conversation with Mr. Ramstetter?                       16· · · ·Q· · And you testified that no one encouraged you
        17· · · ·A· · That was it.· It was literally a               17· ·to send this e-mail, correct?
        18· ·three-minute conversation.                              18· · · ·A· · Correct.
        19· · · ·Q· · And you understood from Mr. Ramstetter that    19· · · ·Q· · You said, "I thought about doing an SEC
        20· ·he had engaged in a side deal while working at          20· ·whistleblower or just calling a newspaper," right?
        21· ·Northstar?                                              21· · · ·A· · Yeah.
        22· · · ·A· · The terminology is of your choosing.· What     22· · · ·Q· · Why did you not file an SEC whistleblower
        23· ·he did do was he sold a piece of land to Amazon.        23· ·complaint?
        24· ·Whether you want to consider it a side deal or not is   24· · · ·A· · No particular reason.· It was easier just to
        25· ·at your discretion.· All I'm aware of is that           25· ·write an e-mail to Jeff Bezos and see if anybody

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        ·1· ·Brian -- or that Kyle sold a piece of land to Amazon.   ·1· ·responded.
        ·2· ·The characterization of "side deal," I don't know if    ·2· · · ·Q· · Did you think you would get a response?
        ·3· ·that's the correct characterization.                    ·3· · · ·A· · No.
        ·4· · · ·Q· · Understood.· Did Mr. Ramstetter sell the       ·4· · · ·Q· · Did you call any newspapers?
        ·5· ·land to Amazon while he was at Northstar?               ·5· · · ·A· · Uhm-um.· No, I did not.· Sorry.
        ·6· · · ·A· · I assume so because he got fired for it.       ·6· · · ·Q· · Why did you choose not to call a newspaper
        ·7· · · ·Q· · And you have no idea why Mr. Ramstetter        ·7· ·about your concerns?
        ·8· ·would have called you about this?                       ·8· · · ·A· · I believe I just answered that, that it was
        ·9· · · · · · MR. HEYBURN:· Objection.· Asked and            ·9· ·easiest to just to send a quick e-mail.
        10· ·answered.                                               10· · · ·Q· · And you said, "Honestly, I have so much
        11· · · · · · MR. BEDELL:· Objection.· Calls for             11· ·respect for what you have accomplished."
        12· ·speculation.                                            12· · · · · · What did you mean by that?
        13· · · · · · THE WITNESS:· I mean, he could have called a   13· · · ·A· · That Jeff Bezos had accomplished a lot.
        14· ·dozen people.· Why he called me, I don't know.          14· · · ·Q· · And you had a lot of respect for what Jeff
        15· ·BY MS. BODNER:                                          15· ·Bezos had accomplished?
        16· · · ·Q· · Had Mr. Ramstetter confided in you before?     16· · · ·A· · Correct.
        17· · · ·A· · No.                                            17· · · ·Q· · Can you read the rest of that sentence
        18· · · ·Q· · And you don't recall anything about your       18· ·starting with, "-- not to mention --"
        19· ·response to Mr. Ramstetter?                             19· · · ·A· · "-- not to mention I wouldn't turn away any
        20· · · ·A· · I told you what my response was:· "Well,       20· ·compensation or some sort of professional engagement
        21· ·call the Business Journal and tell them that it         21· ·but we can see how this all plays out."
        22· ·wasn't Northstar, that it was whatever -- it was you    22· · · ·Q· · Were you hoping to get compensation for your
        23· ·and whatever entity."                                   23· ·e-mail?
        24· · · ·Q· · Do you know if he did that?                    24· · · ·A· · I wouldn't say "hoping" is the right word,
        25· · · ·A· · I have no idea.                                25· ·but it was certainly prudent to, you know, mention it


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        ·1· ·just in case.                                           ·1· · · ·A· · No.
        ·2· · · ·Q· · Did you expect to receive compensation for     ·2· · · ·Q· · Did you discuss this e-mail with the SEC?
        ·3· ·your e-mail?                                            ·3· · · ·A· · I don't recall.
        ·4· · · ·A· · No, I did not.                                 ·4· · · ·Q· · Do you recall discussing any of the contents
        ·5· · · ·Q· · Were you hoping to get some sort of            ·5· ·of this e-mail with SEC?
        ·6· ·professional engagement with Amazon?                    ·6· · · ·A· · I don't recall.
        ·7· · · ·A· · Well, I'm always hoping to get professional    ·7· · · ·Q· · Did Mr. Bezos respond?
        ·8· ·engagement from any big company, but, yes.              ·8· · · ·A· · Not personally.
        ·9· · · ·Q· · Did you send this e-mail hoping that it        ·9· · · ·Q· · Did someone else at Amazon respond?
        10· ·would lead to some sort of professional engagement      10· · · ·A· · Yes.· Legal counsel.
        11· ·with Amazon?                                            11· · · ·Q· · Do you remember who?
        12· · · ·A· · No.                                            12· · · ·A· · No.
        13· · · ·Q· · Did you have any motives for sending this      13· · · ·Q· · So in sending this e-mail, were you trying
        14· ·e-mail other than to feel good?                         14· ·to report Mr. Watson to Amazon?
        15· · · ·A· · No.                                            15· · · ·A· · Not as an individual, but the act itself is
        16· · · ·Q· · Were you looking for employment at the time    16· ·what I was trying to report to Amazon.
        17· ·you sent this e-mail?                                   17· · · ·Q· · And what do you mean by "the act itself"?
        18· · · ·A· · No.                                            18· · · ·A· · The kickback scheme that jeopardized the
        19· · · ·Q· · So the second-to-last paragraph, you say,      19· ·security of AWS.
        20· ·"This letter is being shared in confidence and I do     20· · · ·Q· · Were you trying to report the kickback
        21· ·not want my name, company, or contact information       21· ·scheme -- strike that.
        22· ·disclosed --"                                           22· · · · · · Were you trying to report the land sale
        23· · · · · · Do you see that?                               23· ·involving Mr. Ramstetter to Amazon as well?
        24· · · ·A· · Yes.                                           24· · · ·A· · Yeah, all, everything that was -- that I
        25· · · ·Q· · Why did you not want your name or company      25· ·understood was happening.· I wasn't aware of the full

                                                              131                                                          133
        ·1· ·disclosed to anyone outside of Amazon's legal           ·1· ·scope of any of it, whether -- or whether it was just
        ·2· ·department?                                             ·2· ·WDC.· You know, it could have been other companies,
        ·3· · · ·A· · It's nobody else's business.                   ·3· ·you know, that were building data centers.· I didn't
        ·4· · · ·Q· · Did you expect that Amazon would be able to    ·4· ·know.· And I thought it was important for Amazon to
        ·5· ·honor your request for confidence?                      ·5· ·know that.
        ·6· · · ·A· · I did.                                         ·6· · · ·Q· · You thought it was important for Amazon to
        ·7· · · ·Q· · Why did you expect that?                       ·7· ·know about -- strike that.
        ·8· · · ·A· · No reason they couldn't.                       ·8· · · · · · Did you have any reason to believe that any
        ·9· · · ·Q· · Did you hope that Amazon would carry out an    ·9· ·other data centers involving Amazon involved improper
        10· ·investigation based on this e-mail?                     10· ·conduct?
        11· · · ·A· · I did.                                         11· · · ·A· · I had no tangible evidence or reason to
        12· · · ·Q· · Did you think that they'd have to contact      12· ·suspect other than, you know, when there's smoke,
        13· ·any current or former Northstar employees?              13· ·there's fire.
        14· · · ·A· · Probably.                                      14· · · ·Q· · What do you mean by that?
        15· · · ·Q· · But you thought they could keep your name in   15· · · ·A· · That if it's happening in one instance,
        16· ·confidence while they did that?                         16· ·there's no reason it's not happening in multiple
        17· · · · · · MR. HEYBURN:· Object to form.                  17· ·instances.
        18· · · · · · THE WITNESS:· Yes.                             18· · · ·Q· · And your understanding that it was happening
        19· ·BY MS. BODNER:                                          19· ·in this instance is based on hearsay and assumptions?
        20· · · ·Q· · Did you discuss this e-mail with anyone        20· · · ·A· · It is.
        21· ·after you sent it?                                      21· · · · · · MR. HEYBURN:· Objection.· Leading.
        22· · · ·A· · No.                                            22· ·BY MS. BODNER:
        23· · · ·Q· · And you had never raised any of the concerns   23· · · ·Q· · And what smoke did you see involving
        24· ·contained in this e-mail with anyone while you worked   24· ·Northstar?
        25· ·at Northstar, right?                                    25· · · · · · MR. BEDELL:· Objection.· Asked and answered


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        ·1· ·repeatedly.                                             ·1· ·name?
        ·2· ·BY MS. BODNER:                                          ·2· · · ·A· · I do not.
        ·3· · · ·Q· · I have not asked that question, so you can     ·3· · · ·Q· · Do you see that second paragraph, where you
        ·4· ·answer.                                                 ·4· ·say, "Before I share these --"?
        ·5· · · ·A· · The smoke is my understanding that Christian   ·5· · · ·A· · Yes.
        ·6· ·Kirschner was acting as a conduit of the referral       ·6· · · ·Q· · Can you read that sentence for the record.
        ·7· ·fees back to Casey and Carl at Amazon.· That was the    ·7· · · ·A· · "Before I share these, I'd like to get an
        ·8· ·smoke.                                                  ·8· ·agreement for immunity (not that I need one but can't
        ·9· · · · · · The fact that there was a second event         ·9· ·be too careful), I'd expect you may want me to sign a
        10· ·wherein Kyle had sold land to the same company and      10· ·nondisclosure agreement also and I'd like to know
        11· ·the same principals -- at least is my                   11· ·whether I might be due some remuneration."
        12· ·understanding -- not principals, I guess, but, you      12· · · ·Q· · Do you recall asking Amazon for an agreement
        13· ·know, control persons per se, that was two instances.   13· ·for immunity?
        14· ·So, yes, that was smoke in my mind.                     14· · · ·A· · I do.
        15· · · ·Q· · Did you negotiate a release with Amazon?       15· · · ·Q· · Why did you request an agreement for
        16· · · ·A· · What type of release?                          16· ·immunity?
        17· · · ·Q· · I'll show you.                                 17· · · ·A· · As a CYA.
        18· · · · · · MS. BODNER:· I'm going to introduce another    18· · · ·Q· · What does "CYA" stand for?
        19· ·document.· This is being introduced as Exhibit 8.       19· · · ·A· · Cover your ass.
        20· · · · · · (Deposition Exhibit DM-008 was deemed          20· · · ·Q· · Why did you want a CYA agreement?
        21· · · · · · ·marked for identification.)                   21· · · ·A· · Because I was -- whether it's knowingly or
        22· ·BY MS. BODNER:                                          22· ·not, I was still a party to the transaction. I
        23· · · ·Q· · Let me know when you're able to see it.        23· ·didn't want to be drug into it.· I had no
        24· · · ·A· · Yes.                                           24· ·decision-making, I had no control, etcetera,
        25· · · ·Q· · Do you recognize this as an e-mail chain       25· ·etcetera.· But none of that matters.· So I just

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        ·1· ·with you and Matt Doden at Amazon?                      ·1· ·figured, hey, it doesn't hurt to ask.
        ·2· · · ·A· · Which one?· Which page are you referring to?   ·2· · · ·Q· · So you were concerned that you would be
        ·3· · · ·Q· · Right now, I'm looking at the top e-mail.      ·3· ·implicated in any conduct that Amazon was interested
        ·4· · · ·A· · Okay.· Yes.                                    ·4· ·in?
        ·5· · · ·Q· · And do you know if that's how to pronounce     ·5· · · ·A· · I shouldn't be implicated, no, but --
        ·6· ·his name?                                               ·6· · · · · · MR. HEYBURN:· Objection.· Leading.
        ·7· · · ·A· · No idea.                                       ·7· · · · · · THE WITNESS:· Yeah, I shouldn't be
        ·8· · · ·Q· · Is he who reached out to you after you sent    ·8· ·implicated, but, you know, I'm not a lawyer, so I
        ·9· ·your e-mail?                                            ·9· ·thought it would be a prudent thing to ask.
        10· · · ·A· · I don't remember which person reached out to   10· ·BY MS. BODNER:
        11· ·me.                                                     11· · · ·Q· · Did you have any concerns that you've done
        12· · · ·Q· · Did multiple people reach out to you?          12· ·anything improper with respect to Amazon while you
        13· · · ·A· · There was a couple of people at Amazon. I      13· ·worked at Northstar?
        14· ·don't know who was first and who was second and who     14· · · ·A· · No, I never did anything improper.
        15· ·was all at the same time.                               15· · · ·Q· · And you asked again "whether I might be due
        16· · · ·Q· · So if you could go to the third page of this   16· ·some remuneration," right?
        17· ·PDF, please.                                            17· · · ·A· · I did.
        18· · · ·A· · Okay.                                          18· · · ·Q· · Why did you ask that?
        19· · · ·Q· · Do you see that you sent an e-mail at          19· · · ·A· · Don't ask, don't get.
        20· ·6:30 p.m. to someone named Yousri Omar?                 20· · · ·Q· · Were you hoping to get some remuneration?
        21· · · ·A· · I do.                                          21· · · ·A· · It wasn't the basis of the e-mails, but
        22· · · ·Q· · Was that someone else at Amazon who you        22· ·certainly why wouldn't I hope for it.
        23· ·communicated with?                                      23· · · ·Q· · Did you think you deserved remuneration?
        24· · · ·A· · Yes, it appears to be.                         24· · · ·A· · No.
        25· · · ·Q· · Do you know how to pronounce Mr. Omar's        25· · · ·Q· · Did you know any instances prior to this


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        ·1· ·conversation in which Amazon paid someone for          ·1· · · ·Q· · Did you ever ask for a fully executed copy?
        ·2· ·providing information?                                 ·2· · · ·A· · I assume that I did, but I do not recall
        ·3· · · ·A· · No, I did not.                                ·3· ·whether I did.
        ·4· · · ·Q· · Do you recall anything about the process of   ·4· · · ·Q· · Do you understand that this Confidential
        ·5· ·negotiating an immunity agreement with Amazon?         ·5· ·Release Agreement was ever fully executed?
        ·6· · · ·A· · Yeah, I believe I -- I don't know how         ·6· · · · · · MR. BEDELL:· Objection.· Read that one back
        ·7· ·long -- I don't remember the specifics, no, I don't.   ·7· ·for me, please.· I think you lost a word in the
        ·8· ·It took some time.· All I remember is it took some     ·8· ·middle of it.
        ·9· ·time and it wasn't as cut and dry as I had hoped.      ·9· · · · · · (Thereupon, from the record above,
        10· · · ·Q· · What do you recall about the back and forth   10· · · · · · ·the reporter read, to wit:
        11· ·that took time?                                        11· · · · · · "Q· Do you understand that this
        12· · · ·A· · It just took time.                            12· · · · · · ·Confidential Release Agreement was
        13· · · ·Q· · Do you know why it wasn't as cut and dry as   13· · · · · · ·ever fully executed?")
        14· ·you hoped?                                             14· · · · · · THE WITNESS:· I do not believe that this was
        15· · · ·A· · No, just figured it would all be done with    15· ·ever fully executed.
        16· ·with just a couple e-mails and I'd be done with it,    16· ·BY MS. BODNER:
        17· ·but it didn't work out that way.· It took more time    17· · · ·Q· · Do you think that you ever entered a binding
        18· ·and more e-mails and more conversations.               18· ·Confidential Release Agreement with Amazon?
        19· · · ·Q· · Do you know why it took more time and         19· · · ·A· · No.
        20· ·conversations?                                         20· · · ·Q· · Did that concern you at any time?
        21· · · ·A· · No.                                           21· · · ·A· · It disappointed me.· Didn't concern me.
        22· · · ·Q· · Was that on your end or Amazon's end?         22· · · ·Q· · Do you know why Amazon never sent you a
        23· · · ·A· · Amazon.                                       23· ·signed version?
        24· · · ·Q· · Did you eventually enter an agreement with    24· · · ·A· · Because they didn't have to.
        25· ·Amazon?                                                25· · · ·Q· · Why did they not have to?

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        ·1· · · ·A· · I think I ended up finally with sort of a     ·1· · · ·A· · Because they had everything that I told them
        ·2· ·soft confidentiality agreement, but that was about     ·2· ·already.
        ·3· ·it.· And I don't even know if I got the actual         ·3· · · ·Q· · And you didn't follow up with them to
        ·4· ·executed confidentiality agreement, quite honestly.    ·4· ·request a signed version?
        ·5· · · · · · MS. BODNER:· I'm going to introduce another   ·5· · · ·A· · I assume that I did, but I do not recall.
        ·6· ·exhibit.· It's Exhibit 9.                              ·6· · · ·Q· · Did you expect, based on this Confidential
        ·7· · · · · · (Deposition Exhibit DM-009 was deemed         ·7· ·Release Agreement that only you signed, that Amazon
        ·8· · · · · · ·marked for identification.)                  ·8· ·would keep your confidence?
        ·9· ·BY MS. BODNER:                                         ·9· · · ·A· · I hoped that they would.
        10· · · ·Q· · Let me know when you are able to see it.      10· · · ·Q· · But you understood that they were not
        11· · · ·A· · Yeah, I see it.                               11· ·obligated to?
        12· · · ·Q· · Do you recognize this e-mail with the         12· · · ·A· · I did.
        13· ·attachment?                                            13· · · ·Q· · Can you go back up to the first page, to the
        14· · · ·A· · There's no reason for me to believe this      14· ·4:11 p.m. e-mail from Mr. Omar.
        15· ·isn't the e-mail exchange that I did, so it was a      15· · · ·A· · Yeah.
        16· ·long time ago -- so, yes, I'll say I recognize it.     16· · · ·Q· · Do you see that he says, "We got some
        17· · · ·Q· · Can you turn to the second page, which is     17· ·updates this week that are requiring us to move
        18· ·the Confidential Release Agreement.                    18· ·quickly"?
        19· · · ·A· · I can.                                        19· · · ·A· · I do.
        20· · · ·Q· · Do you see your signature at the bottom?      20· · · ·Q· · Do you know what updates he was referring
        21· · · ·A· · I do.                                         21· ·to?
        22· · · ·Q· · Do you recall if anyone at Amazon ever        22· · · ·A· · No idea.
        23· ·signed this?                                           23· · · · · · MR. HEYBURN:· Objection.· Calls for
        24· · · ·A· · As I just mentioned, I don't believe I got    24· ·speculation.
        25· ·the fully executed copy.                               25· · · · · · ///


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        ·1· ·BY MS. BODNER:                                          ·1· ·this case.
        ·2· · · ·Q· · Did you have any conversations with Mr. Omar   ·2· · · · · · MR. BEDELL:· I understand that.· I'm not
        ·3· ·about these updates?                                    ·3· ·sure he is governed by it.· It's not my issue, but
        ·4· · · ·A· · I don't recall.                                ·4· ·I'm just --
        ·5· · · · · · MS. BODNER:· Now would be a good time for a    ·5· · · · · · MS. BODNER:· I believe the protective order
        ·6· ·short break if folks want.                              ·6· ·governs deponents in this case.
        ·7· · · · · · THE WITNESS:· Is this the lunch break?         ·7· · · · · · Adam, do you think there are any concerns
        ·8· · · · · · MS. BODNER:· I don't know if -- can we go      ·8· ·with showing this to the witness?
        ·9· ·off the record.                                         ·9· · · · · · MR. SMART:· The seal's been lifted, if
        10· · · · · · THE VIDEOGRAPHER:· We are going off record     10· ·that's what he's asking about.· But it's been refiled
        11· ·at 12:43 p.m.                                           11· ·as of -- this was refiled, wasn't it, on a recent
        12· · · · · · (Thereupon, a lunch recess was taken.)         12· ·motion?· The seal got lifted in this.
        13· · · · · · THE VIDEOGRAPHER:· We are back on record at    13· · · · · · MS. BODNER:· Okay.
        14· ·1:11 p.m.                                               14· · · · · · MR. SMART:· I assume that's what you're
        15· ·BY MS. BODNER:                                          15· ·asking about.
        16· · · ·Q· · Mr. Mulcahy, I have some additional            16· · · · · · MR. BEDELL:· It's not my issue.· I just see
        17· ·questions to ask you.                                   17· ·it -- I'm not the one that declared this
        18· · · · · · Did you do anything to confirm the             18· ·confidential.· I don't really care.· I'm just sort of
        19· ·statements in your e-mail to Mr. Bezos before you       19· ·curious because you've got a document under seal that
        20· ·sent it?                                                20· ·we're showing -- a document that says it's under seal
        21· · · ·A· · No.                                            21· ·that's being shown to a third party who I'm not
        22· · · ·Q· · Were you concerned that you'd face any         22· ·entirely -- I'm not going to opine on the protective
        23· ·liability for accusing Mr. Watson, Mr. Nelson, or       23· ·order, but ask away.
        24· ·Mr. Kirschner of taking kickbacks or paying             24· ·BY MS. BODNER:
        25· ·kickbacks?                                              25· · · ·Q· · Do you see in the last page that it's signed

                                                              143                                                          145
        ·1· · · ·A· · No.                                            ·1· ·by Mr. Doden?
        ·2· · · · · · MS. BODNER:· I'm going to introduce another    ·2· · · ·A· · I do.
        ·3· ·document.· This will be marked as Exhibit 10.           ·3· · · ·Q· · And do you see that it was executed on
        ·4· · · · · · (Deposition Exhibit DM-010 was deemed          ·4· ·May 18, 2020?
        ·5· · · · · · ·marked for identification.)                   ·5· · · ·A· · I do.
        ·6· ·BY MS. BODNER:                                          ·6· · · ·Q· · Have you ever seen this document --
        ·7· · · ·Q· · Please let me know when you see it.            ·7· · · ·A· · No.
        ·8· · · · · · Do you see it?                                 ·8· · · ·Q· · -- before?
        ·9· · · ·A· · Yeah.                                          ·9· · · ·A· · No, I have not.
        10· · · · · · MR. HEYBURN:· I'd just like to object. I       10· · · ·Q· · You know who Mr. Doden is, correct?
        11· ·don't see any docket information on this document, so   11· · · ·A· · From earlier today, you showed me an e-mail
        12· ·I'm just noting that for the record.                    12· ·exchange with him, but I wouldn't know him from Adam.
        13· · · · · · MS. BODNER:· Okay.                             13· · · ·Q· · Sorry, you wouldn't know him from Adam?
        14· ·BY MS. BODNER:                                          14· · · ·A· · I wouldn't know him from anybody else.
        15· · · ·Q· · Do you see that this is titled, "Declaration   15· · · ·Q· · Okay.· Do you recall if he is one of the
        16· ·of D. Matthew Doden in Support of Plaintiffs'           16· ·individuals at Amazon you communicated with?
        17· ·Supplemental Memorandum in Support of Show Cause        17· · · ·A· · I do not recall, but I assume from that
        18· ·Order and Plaintiffs' Application for Preliminary       18· ·e-mail communication that you shared with me earlier
        19· ·Injunction"?                                            19· ·that he's one and the same.
        20· · · ·A· · I see it.                                      20· · · ·Q· · Do you know the last time you spoke with
        21· · · ·Q· · And then do you see, if we go over to Page     21· ·Mr. --
        22· ·8 --                                                    22· · · ·A· · No idea.
        23· · · · · · MR. BEDELL:· So I've got a question.· Can      23· · · ·Q· · -- Doden?· And you don't know how to
        24· ·you show this to him?                                   24· ·pronounce his last name, correct?
        25· · · · · · MS. BODNER:· We have a protective order in     25· · · ·A· · No.


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        ·1· · · ·Q· · Okay.· Let's see.· Can you go to               ·1· · · ·A· · It's cherry-picked.
        ·2· ·paragraph --                                            ·2· · · ·Q· · What was cherry-picked?
        ·3· · · · · · THE WITNESS:· Sorry, this was supposed to be   ·3· · · ·A· · These -- this statement, these quotes.· It's
        ·4· ·on Do Not Disturb.                                      ·4· ·not a summary of it, so, no.
        ·5· · · · · · MS. BODNER:· That's okay.                      ·5· · · ·Q· · Were these quotes cherry-picked from the
        ·6· · · · · · THE WITNESS:· It is on Do Not Disturb, but     ·6· ·e-mail you sent to Mr. Bezos?
        ·7· ·it's still ringing, so I don't know.                    ·7· · · ·A· · Apparently.
        ·8· · · · · · MR. BEDELL:· I didn't hear it.                 ·8· · · · · · MR. BEDELL:· Let her ask another question.
        ·9· · · · · · THE WITNESS:· Okay.· Go ahead.                 ·9· ·BY MS. BODNER:
        10· ·BY MS. BODNER:                                          10· · · ·Q· · Do you see Paragraph 5?· Can you read that
        11· · · ·Q· · Do you see Paragraph 3?                        11· ·to yourself?
        12· · · · · · MR. BEDELL:· I'm sorry, page?                  12· · · ·A· · I do.
        13· ·BY MS. BODNER:                                          13· · · ·Q· · Do you recall having a preliminary call with
        14· · · ·Q· · Page 2, Paragraph 3.                           14· ·Mr. Omar on December 12, 2019?
        15· · · ·A· · Okay.                                          15· · · ·A· · I don't know what day it was.
        16· · · ·Q· · Do you see that it says, "On December 2,       16· · · ·Q· · Do you recall having a call with Mr. Omar in
        17· ·2019, a former employee and director of Northstar       17· ·December 2019?
        18· ·Commercial Partners (Informant 1) sent an e-mail to     18· · · ·A· · I don't know what month it was.
        19· ·Amazon CEO and president Jeff Bezos --"                 19· · · ·Q· · Do you recall having any calls whatsoever
        20· · · · · · MR. BEDELL:· The question is:· Does he see     20· ·with Mr. Omar?
        21· ·that?                                                   21· · · ·A· · I do.
        22· · · · · · MS. BODNER:· Yes.                              22· · · ·Q· · What do you recall about those calls?
        23· · · · · · THE WITNESS:· I do see it.                     23· · · ·A· · Just, you know, sort of the initial phone
        24· ·BY MS. BODNER:                                          24· ·calls discussing my e-mail and my thoughts on it all.
        25· · · ·Q· · Do you understand the reference to Informant   25· · · ·Q· · Do you remember anything else about those

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        ·1· ·1 to be referring to you?                               ·1· ·conversations?
        ·2· · · · · · MR. BEDELL:· Objection to the extent --        ·2· · · ·A· · No, I do not.
        ·3· ·objection.· You're asking him to speculate on a         ·3· · · ·Q· · Do you recall having four telephone
        ·4· ·document that somebody else wrote that he just          ·4· ·conversations with Mr. Doden in 2019 and 2020?
        ·5· ·testified he's never seen before.                       ·5· · · ·A· · I do not.
        ·6· ·BY MS. BODNER:                                          ·6· · · ·Q· · Do you recall having any conversations at
        ·7· · · ·Q· · Do you have any reason to believe that         ·7· ·all with him?
        ·8· ·Informant 1 does not refer to you?                      ·8· · · ·A· · I don't remember the individuals.· My
        ·9· · · · · · MR. BEDELL:· Same objection.                   ·9· ·recollection is just I was having calls with Amazon.
        10· ·BY MS. BODNER:                                          10· ·The individuals, I didn't note.
        11· · · ·Q· · You can answer.                                11· · · ·Q· · Do you recall anything else about those
        12· · · ·A· · I guess the answer is no.· What was the        12· ·conversations?
        13· ·question?                                               13· · · ·A· · No.
        14· · · ·Q· · Do you have any reason to believe that the     14· · · ·Q· · Can you go to the next paragraph, which is
        15· ·phrase "Informant 1" does not refer to you?             15· ·Paragraph 6.
        16· · · ·A· · No.                                            16· · · ·A· · Okay.
        17· · · ·Q· · Do you understand this paragraph to be         17· · · ·Q· · Can you read that to yourself, please.
        18· ·describing the e-mail you sent to Mr. Bezos?            18· · · ·A· · Okay.
        19· · · · · · MR. BEDELL:· Same objection.                   19· · · ·Q· · Generally speaking, is Paragraph 6
        20· · · · · · THE WITNESS:· Well, it's actually not a        20· ·consistent with your recollection of what you told
        21· ·description.· It's -- it's a couple of -- you know,     21· ·Mr. Doden?
        22· ·not even full sentences from it, so it's not a          22· · · ·A· · No.
        23· ·summary of it at all, no.                               23· · · ·Q· · Why is it not consistent?
        24· ·BY MS. BODNER:                                          24· · · ·A· · The references to -- it's making affirmative
        25· · · ·Q· · Do you understand that --                      25· ·statements that I said exactly -- you know, I said


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        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
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        ·1· ·this is my understanding, I have no proof.· You know,   ·1· ·yourself as well.
        ·2· ·this is how I believe things had happened.· I didn't    ·2· · · ·A· · Okay.
        ·3· ·say with sort of empirical authority that these --      ·3· · · ·Q· · Do you believe that Paragraph 7 accurately
        ·4· ·all these things did happen.· I explained that this     ·4· ·describes the information that you provided to
        ·5· ·was my understanding of how things happened.            ·5· ·Mr. Doden?
        ·6· · · ·Q· · In your e-mail to Mr. Bezos, did you           ·6· · · ·A· · Yes.· Again, and the key terminology in this
        ·7· ·represent that these things had happened?               ·7· ·paragraph is "alleged."· I didn't say that I had any
        ·8· · · ·A· · What exhibit is that?                          ·8· ·empirical proof of such, but that this is how I
        ·9· · · ·Q· · That would be Exhibit -- I think it's 7, but   ·9· ·understood things.
        10· ·I'm double-checking.· Yes, Exhibit 7.                   10· · · ·Q· · And you understood the information you
        11· · · · · · MR. BEDELL:· What was the question again?      11· ·alleged to Mr. Doden reflected in Paragraph 7 based
        12· ·BY MS. BODNER:                                          12· ·on the conversations you had with Northstar
        13· · · ·Q· · In your e-mail to Mr. Bezos, did you           13· ·employees?
        14· ·represent this kickback scheme had, in fact,            14· · · ·A· · Yes.
        15· ·occurred?                                               15· · · ·Q· · Do you recall if you described the payments
        16· · · ·A· · I did.                                         16· ·to Mr. Doden as "kickbacks" or is that his
        17· · · ·Q· · Was it your testimony that in your             17· ·terminology?
        18· ·conversations with Mr. Doden, you clarified that you    18· · · ·A· · I don't recall.· I think my original e-mail
        19· ·did not have any personal knowledge?                    19· ·said the word "kickback," though, didn't it?
        20· · · ·A· · Well, I told him I didn't have any empirical   20· · · ·Q· · Do you see that the middle of the paragraph,
        21· ·evidence.                                               21· ·it says, "Informant 1 alleged that Kyle Ramstetter
        22· · · ·Q· · Did you tell him that your understanding of    22· ·worked with another former Northstar employee, Will
        23· ·the scheme was based on conversations involving -- or   23· ·Camenson, to purchase the subject property and then
        24· ·strike that.                                            24· ·resell it to Amazon at a price apparently inflated by
        25· · · · · · Did you tell Mr. Doden that your               25· ·at least $17 million"?

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        ·1· ·understanding of the kickback scheme was based on       ·1· · · ·A· · I see it.
        ·2· ·what you'd heard from other Northstar employees?        ·2· · · ·Q· · Did you tell Mr. Doden that Mr. Camenson was
        ·3· · · ·A· · I did.                                         ·3· ·involved in the purchase of property in Virginia
        ·4· · · ·Q· · Do you recall if you told Mr. Doden the        ·4· ·along with Mr. Ramstetter?
        ·5· ·names of those Northstar employees?                     ·5· · · ·A· · I did not.· I said that Will Camenson worked
        ·6· · · ·A· · I don't recall.                                ·6· ·closely with Kyle Ramstetter.· I was not aware of any
        ·7· · · ·Q· · Okay.· Looking back at -- this is              ·7· ·involvement of Will Camenson, other than he worked
        ·8· ·Exhibit 10.· We were looking at Paragraph 6.· While     ·8· ·closely with him in the Amazon projects.· And that's
        ·9· ·you were at Northstar, did you know about a trust       ·9· ·all I said.· I didn't lend anything to Will Camenson
        10· ·called Villanova Trust?                                 10· ·participating in, you know, an individual
        11· · · ·A· · I had heard about a trust called Vill- --      11· ·transaction.· I just said that they worked together,
        12· · · ·Q· · What did you hear?                             12· ·because they worked together at Northstar.
        13· · · ·A· · That was -- however I heard it, I heard that   13· · · ·Q· · Do you have any reason to believe that
        14· ·was how monies were being exchanged.· I don't           14· ·Mr. Camenson worked with Mr. Ramstetter to sell a
        15· ·remember how I've heard that.                           15· ·piece of land in Virginia to Amazon?
        16· · · ·Q· · Was it your understanding that money was       16· · · ·A· · I wouldn't have a -- I have no basis to make
        17· ·provided to Casey Kirschner and Carl Nelson after       17· ·a claim one way or the other on that.
        18· ·Northstar signed contracts with Amazon?                 18· · · ·Q· · Do you think that that sentence suggests
        19· · · ·A· · Correct.                                       19· ·that Mr. Camenson was involved in a purchase of a
        20· · · ·Q· · Do you know if there was any agreement or      20· ·subject property?
        21· ·understanding between Northstar and Mr. Kirschner and   21· · · ·A· · I believe the way it's summarized in this
        22· ·Mr. Nelson before any Amazon lease documents were       22· ·thing here, it does sort of show -- it does represent
        23· ·signed?                                                 23· ·that Will was a part of it, even though I would not
        24· · · ·A· · I don't recall.                                24· ·have said that -- I wouldn't have said it explicitly
        25· · · ·Q· · Can you look at Paragraph 7 and read that to   25· ·like that.


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        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
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        ·1· · · ·Q· · But do you have any recollection as to how     ·1· · · ·Q· · Did you receive any fees or compensation
        ·2· ·you did, in fact, say it?                               ·2· ·from White Peaks' sale of the land to Amazon?
        ·3· · · ·A· · No, I don't.                                   ·3· · · ·A· · No, no.
        ·4· · · ·Q· · Would it surprise you to learn that            ·4· · · ·Q· · Did you provide Mr. Camenson with any advice
        ·5· ·Mr. Camenson signed the Purchase and Sale Agreement     ·5· ·regarding the sale of the land to Amazon?
        ·6· ·involved with this transaction?                         ·6· · · ·A· · No.
        ·7· · · ·A· · It's a complete shock, yes.                    ·7· · · ·Q· · Do you provide Mr. Ramstetter with any
        ·8· · · ·Q· · It's your testimony that you don't know        ·8· ·advice regarding the sale of the land to Amazon?
        ·9· ·anything about Mr. Camenson's involvement in this       ·9· · · ·A· · No.
        10· ·transaction?                                            10· · · ·Q· · Do you know why White Peaks Capital is
        11· · · ·A· · It is.                                         11· ·domiciled in Nevada?
        12· · · ·Q· · Have you heard the phrase "White Peaks"        12· · · ·A· · No idea.
        13· ·before?                                                 13· · · ·Q· · Do you know why Nova WPC, LLC is domiciled
        14· · · ·A· · Just as it relates to the Business Journal.    14· ·in Nevada?
        15· ·When the article was changed to reflect White           15· · · ·A· · No idea.
        16· ·Peaks -- I think that's what it was called -- bought    16· · · ·Q· · You had no involvement in either of those
        17· ·that piece of land from Amazon -- or for Amazon or      17· ·entities choosing to move their domicile location to
        18· ·something like that, that's the only time I ever        18· ·Nevada?
        19· ·heard of it.                                            19· · · ·A· · None.
        20· · · ·Q· · If I use the term "White Peaks purchase,"      20· · · ·Q· · Okay.· If you could turn back to
        21· ·will you understand it to be the sale of the land by    21· ·Paragraph 7.· Sorry for jumping between documents.
        22· ·Mr. Ramstetter in Virginia to Amazon that was           22· · · ·A· · Paragraph 7?
        23· ·discussed in the Journal?                               23· · · ·Q· · Yes.· Do you see that it says, "Informant 1
        24· · · ·A· · I will.                                        24· ·claimed in his conversations with me that Kyle
        25· · · ·Q· · Are you affiliated with a company called       25· ·Ramstetter had recorded conversations related to this

                                                              155                                                          157
        ·1· ·White Peaks Capital at all?                             ·1· ·transaction --"?
        ·2· · · ·A· · No.                                            ·2· · · ·A· · I do.
        ·3· · · ·Q· · Are you affiliated with an entity called       ·3· · · ·Q· · Have you ever heard those recorded
        ·4· ·Nova WPC, LLC?                                          ·4· ·conversations?
        ·5· · · ·A· · No.                                            ·5· · · ·A· · No.
        ·6· · · ·Q· · Do you know anything about any of those        ·6· · · ·Q· · How did you know that Mr. Ramstetter had
        ·7· ·entities?                                               ·7· ·recorded conversations?
        ·8· · · ·A· · I do not.                                      ·8· · · ·A· · I don't remember.
        ·9· · · ·Q· · Do you know if Mr. Ramstetter is affiliated    ·9· · · ·Q· · You have no understanding as to how you
        10· ·with any of those entities?                             10· ·developed that knowledge?
        11· · · ·A· · I do not.                                      11· · · ·A· · No, I don't.
        12· · · ·Q· · Do you know if -- strike that.                 12· · · ·Q· · Do you recall if you remembered when you
        13· · · · · · Do you know if Mr. Camenson is affiliated      13· ·told Amazon about these claims?
        14· ·with any of those entities?                             14· · · ·A· · Pardon me?
        15· · · ·A· · I have no empirical knowledge of it, no.       15· · · ·Q· · Do you recall knowing at one point how you
        16· · · ·Q· · Do you have any understanding as to whether    16· ·learned about the recorded conversations?
        17· ·those entities were involved in the sale of the land    17· · · ·A· · No.
        18· ·in Virginia, other than the article in the Business     18· · · ·Q· · Do you see the last sentence talks about
        19· ·Journal?                                                19· ·some form of dispute resolution with Mr. Ramstetter
        20· · · ·A· · That's the only reference I have.              20· ·and Mr. Camenson?
        21· · · ·Q· · So you do have some understanding that White   21· · · ·A· · I do.
        22· ·Peaks Capital was involved in this?                     22· · · ·Q· · What do you know about that dispute
        23· · · ·A· · White Peaks Capital is the entity that sold    23· ·resolution?
        24· ·the piece of land to Amazon.· That's what I'm aware     24· · · ·A· · Nothing.· I don't know anything about it.
        25· ·of.                                                     25· · · ·Q· · Do you recall telling Mr. Doden that there


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        ·1· ·was some form of dispute resolution?                    ·1· ·violation of any Northstar agreements?
        ·2· · · ·A· · Yeah, I heard that there had been at the       ·2· · · ·A· · No.
        ·3· ·time, but I have no idea how I heard that or why I      ·3· · · · · · MR. HEYBURN:· Objection.· Calls for a legal
        ·4· ·knew it.                                                ·4· ·conclusion.
        ·5· · · ·Q· · You don't recall anything at all other than    ·5· ·BY MS. BODNER:
        ·6· ·there was some form of dispute resolution?              ·6· · · ·Q· · Do you recall if you thought that these
        ·7· · · ·A· · Correct.                                       ·7· ·documents reflected any improper conduct?
        ·8· · · ·Q· · Do you recall if anything about that dispute   ·8· · · ·A· · Say the question again.
        ·9· ·resolution concerned you?                               ·9· · · ·Q· · Do you recall believing that any of these
        10· · · ·A· · No.                                            10· ·five documents reflected improper conduct?
        11· · · · · · MR. BEDELL:· Can you hold on a sec?· Can you   11· · · ·A· · Reflected, that's a -- I'll say yes.
        12· ·do something about the flashing light right above       12· · · ·Q· · Why?· Why did you think these documents
        13· ·your head that's sort of --                             13· ·reflected improper conduct?
        14· · · · · · MS. BODNER:· Can we go off the record. I       14· · · ·A· · Nothing particular other than I felt like
        15· ·don't know how to solve it immediately.                 15· ·they represented -- yeah, they just represented that,
        16· · · · · · THE VIDEOGRAPHER:· We are going off the        16· ·you know -- I don't know what the answer is, they
        17· ·record at 1:31 p.m.                                     17· ·just didn't feel -- these documents did represent to
        18· · · · · · (Pause in proceedings.)                        18· ·me that, you know, something else was going on bigger
        19· · · · · · THE VIDEOGRAPHER:· We are back on record at    19· ·than what I was aware of initially.
        20· ·1:33 p.m.                                               20· · · ·Q· · At the time you sent these documents to
        21· ·BY MS. BODNER:                                          21· ·Amazon, did you have any other Northstar documents in
        22· · · ·Q· · Continuing to look at that declaration, can    22· ·your possession?
        23· ·you look at Paragraph 8.                                23· · · ·A· · No idea.
        24· · · ·A· · Okay.                                          24· · · ·Q· · Do you recall if you discussed these
        25· · · ·Q· · Do you recall providing Mr. Doden or anyone    25· ·documents with Amazon?

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        ·1· ·at Amazon with documents?                               ·1· · · ·A· · I don't recall.· I mean, if I submitted them
        ·2· · · ·A· · Yes.                                           ·2· ·to them, then I probably discussed them; but I don't
        ·3· · · ·Q· · What do you recall about providing documents   ·3· ·recall the conversation, no.
        ·4· ·to them?                                                ·4· · · · · · MS. BODNER:· I'm going to introduce another
        ·5· · · ·A· · Nothing in particular, other than that I       ·5· ·document.· This will be marked as Exhibit 11.
        ·6· ·sent them some documents.· I don't remember which       ·6· · · · · · (Deposition Exhibit DM-011 was deemed
        ·7· ·documents until I just read that.                       ·7· · · · · · ·marked for identification.)
        ·8· · · ·Q· · Do you know if they asked you for certain      ·8· ·BY MS. BODNER:
        ·9· ·documents?                                              ·9· · · ·Q· · Do you see it?
        10· · · ·A· · I don't recall.                                10· · · ·A· · I do.
        11· · · ·Q· · Do you recall how you identified certain       11· · · ·Q· · Is this an e-mail you sent to Mr. Omar on
        12· ·documents to provide to them?                           12· ·January 27, 2020, with a separate client org chart?
        13· · · ·A· · I don't know.· I do not recall how I did       13· · · ·A· · It appears to be.
        14· ·that.                                                   14· · · ·Q· · And then is the attachment an organization
        15· · · ·Q· · Do you recall why you provided these five      15· ·chart for NSIPI Data Center Venture?
        16· ·documents identified here?                              16· · · ·A· · That's what it's titled.
        17· · · ·A· · That's all I had.                              17· · · ·Q· · Do you recall why you sent this org chart to
        18· · · ·Q· · What do you mean by that?                      18· ·Mr. Omar?
        19· · · ·A· · That's all the documents I had in relation     19· · · ·A· · No, I do not recall.
        20· ·to the conversation at hand.                            20· · · ·Q· · Looking at this organization chart, does
        21· · · ·Q· · How did you have those documents in your       21· ·anything in it concern you?
        22· ·possession?                                             22· · · ·A· · No.
        23· · · ·A· · Apparently I saved them in my personal         23· · · ·Q· · And this was not one of the documents that
        24· ·folder.                                                 24· ·was described in the declaration, correct?
        25· · · ·Q· · Did you think possessing them was in           25· · · ·A· · I don't believe so.


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        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
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        ·1· · · ·Q· · Other than the five documents described in     ·1· ·reasons?
        ·2· ·the declaration and this organization chart, do you     ·2· · · ·A· · As discussed earlier, you know, it's my --
        ·3· ·recall sending anything else to Mr. Doden or anyone     ·3· ·my -- it was my understanding that Villanova was
        ·4· ·at Amazon?                                              ·4· ·actually shared by, you know, three people, two of
        ·5· · · ·A· · I do not.                                      ·5· ·which were Amazon employees.
        ·6· · · ·Q· · I'm going to show you another document.        ·6· · · ·Q· · Was it your understanding that Mr. Watson
        ·7· · · · · · MS. BODNER:· I'm introducing what has been     ·7· ·was affiliated with Villanova Trust at all?
        ·8· ·marked as Exhibit 12.                                   ·8· · · ·A· · No.
        ·9· · · · · · (Deposition Exhibit DM-012 was deemed          ·9· · · ·Q· · Was it your understanding that Mr. Watson
        10· · · · · · ·marked for identification.)                   10· ·knew about payments to Mr. Nelson and Mr. Casey
        11· ·BY MS. BODNER:                                          11· ·Kirschner through Villanova Trust?
        12· · · ·Q· · Do you see this document?                      12· · · ·A· · It was.
        13· · · ·A· · I do.                                          13· · · ·Q· · Would it surprise you to learn that he
        14· · · ·Q· · Did you forward an e-mail from your            14· ·didn't know anything about those payments, if there
        15· ·Northstar account on December 14, 2018, to your         15· ·were any?
        16· ·Gmail?                                                  16· · · ·A· · It would.
        17· · · ·A· · I don't recall, but that's what this appears   17· · · ·Q· · Why would that surprise you?
        18· ·to represent.                                           18· · · ·A· · Because it was represented to me otherwise.
        19· · · ·Q· · Do you recall why you forwarded this e-mail    19· · · ·Q· · And who represented that specific fact to
        20· ·chain?                                                  20· ·you?
        21· · · ·A· · No, I do not.                                  21· · · ·A· · No idea.
        22· · · ·Q· · Was it your practice to forward business       22· · · ·Q· · Did there come a time that you became aware
        23· ·e-mails to your personal Gmail while working at         23· ·that Amazon was pursuing legal actions related to the
        24· ·Northstar?                                              24· ·claims in your e-mail to Mr. Bezos?
        25· · · ·A· · No.                                            25· · · ·A· · Say that again.

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        ·1· · · ·Q· · Did you do that often?                         ·1· · · ·Q· · Did there come a time when you became aware
        ·2· · · ·A· · No.                                            ·2· ·that Amazon was pursuing legal action related to the
        ·3· · · ·Q· · So this would have been a rare occasion?       ·3· ·claims in your e-mail to Mr. Bezos?
        ·4· · · ·A· · Yes.                                           ·4· · · ·A· · I became aware sometime after these
        ·5· · · ·Q· · You don't have any recollection as to why?     ·5· ·conversations I had had.· I couldn't point to when.
        ·6· · · ·A· · No.                                            ·6· · · · · · MS. BODNER:· I'm going to introduce another
        ·7· · · ·Q· · Do you recall if you shared this e-mail        ·7· ·document.· This will be marked as Exhibit 13.
        ·8· ·exchange with Amazon?                                   ·8· · · · · · (Deposition Exhibit DM-013 was deemed
        ·9· · · ·A· · I think that's -- yeah, that was actually      ·9· · · · · · ·marked for identification.)
        10· ·listed in -- I don't recall it until looking at         10· ·BY MS. BODNER:
        11· ·Exhibit 11, which says this is what I included.         11· · · ·Q· · Let me know when you're ready to discuss it.
        12· · · ·Q· · Looking at this document now, can you          12· · · ·A· · Okay.
        13· ·identify what you think is improper in it?              13· · · ·Q· · Do you recall this e-mail chain with Patrick
        14· · · ·A· · What I think is improper with it?              14· ·Stokes at Gibson Dunn as well as some internal Amazon
        15· · · ·Q· · If anything.                                   15· ·employees?
        16· · · ·A· · I'm not saying that anything is improper       16· · · ·A· · I do.
        17· ·with it.· I haven't made that representation at all.    17· · · ·Q· · Amazon produced this document to us.· Do you
        18· · · ·Q· · Why did you share this document with Amazon?   18· ·know if you still have it in your possession?
        19· · · ·A· · Because it demonstrated how much had been      19· · · ·A· · I have no idea.
        20· ·paid to Villanova Trust.                                20· · · ·Q· · Do you recall seeing it when you were
        21· · · ·Q· · And why did you think that information would   21· ·looking for documents responsive to the subpoena?
        22· ·be of interest to Amazon?                               22· · · ·A· · No.
        23· · · ·A· · Seemed like a lot of money.                    23· · · ·Q· · Is there a reason you would no longer have
        24· · · ·Q· · Did you have any reason to believe that        24· ·this document?
        25· ·Villanova was being paid that money for improper        25· · · ·A· · Not really.



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        ·1· · · ·Q· · So if you look on Page 3 of the PDF, do you    ·1· ·primary players are hunters and gun owners.· Not to
        ·2· ·see that Mr. Omar says he is asking -- or Mr. Omar      ·2· ·mention the other employees that may have lost their
        ·3· ·asked you if you would be amenable to a quick call      ·3· ·jobs."
        ·4· ·with outside legal team?                                ·4· · · ·Q· · Who were the six primary players you were
        ·5· · · ·A· · Yeah.                                          ·5· ·referring to?
        ·6· · · ·Q· · And then do you later see -- I want to focus   ·6· · · ·A· · I'm going to have to suppose at this point,
        ·7· ·on the e-mail exchange on Page 1 where you sent an      ·7· ·but I'll say Watson, Marcotte, Casey, Carl, Kyle, and
        ·8· ·e-mail to Mr. Stokes at 3:30 p.m.                       ·8· ·I guess Will.
        ·9· · · ·A· · Yes.                                           ·9· · · ·Q· · Had any of those six players ever threatened
        10· · · ·Q· · So you say in the first sentence, "I am        10· ·you?
        11· ·available but I have an agreement that Amazon will      11· · · ·A· · Not directly, no.
        12· ·use all reasonable efforts to keep me out of it."       12· · · ·Q· · Had they threatened you indirectly?
        13· · · · · · Did you understand that you had a fully        13· · · ·A· · No.
        14· ·executed agreement with Amazon to keep you out of       14· · · ·Q· · Did you have any reason to believe that they
        15· ·this?                                                   15· ·posed a danger to you or your family?
        16· · · ·A· · No.· I would have said they would use all      16· · · ·A· · Yes.
        17· ·reasonable efforts.                                     17· · · ·Q· · What was your understanding?
        18· · · ·Q· · Can you read the next sentence?                18· · · ·A· · That there's 400 mass shootings every day
        19· · · ·A· · "You shouldn't need the evidence I provided    19· ·and crazy things happening in the world.· Mr. Watson
        20· ·you anymore, you should have a strong enough case       20· ·had just had a gun incident before this e-mail.· So,
        21· ·without me."                                            21· ·yes.
        22· · · ·Q· · Why did you think that they should have a      22· · · ·Q· · What sort of gun incident are you referring
        23· ·strong enough case without you?                         23· ·to?
        24· · · ·A· · Because all I -- I didn't have any true        24· · · ·A· · Again, it's -- I wasn't there.· My
        25· ·evidence.· I just gave them an idea and they were to    25· ·understanding is that he had a rifle and was

                                                              167                                                          169
        ·1· ·do their own investigation thereafter.· I shouldn't     ·1· ·contemplating doing harm to himself or others.
        ·2· ·have had anything to do with it.                        ·2· · · ·Q· · Why did you have that understanding?
        ·3· · · ·Q· · Would it surprise you if they don't have a     ·3· · · ·A· · I think it was in the newspaper.
        ·4· ·strong enough case without you?                         ·4· · · ·Q· · So your understanding as to this gun
        ·5· · · ·A· · I would be surprised.                          ·5· ·incident involving Mr. Watson was based on something
        ·6· · · ·Q· · Can you look at the last sentence and read     ·6· ·you read in the newspaper?
        ·7· ·that, "Use the real evidence --"                        ·7· · · ·A· · I believe so.
        ·8· · · ·A· · Now, apparently, I -- which sentence?          ·8· · · ·Q· · You said, "Brian is unstable and a
        ·9· · · ·Q· · The last sentence of the first paragraph.      ·9· ·sociopath."
        10· · · ·A· · Oh.· "Use the real evidence you have, not      10· · · · · · Why did you think that Mr. Watson was
        11· ·the circumstantial evidence I provided."                11· ·unstable?
        12· · · · · · Yes.                                           12· · · ·A· · Because he just tried to kill himself.
        13· · · ·Q· · So you believe you had only provided Amazon    13· · · ·Q· · So it was based on your -- strike that.
        14· ·circumstantial evidence?                                14· · · · · · Your belief that Mr. Watson was unstable was
        15· · · ·A· · Correct.                                       15· ·based on the article you read in a newspaper?
        16· · · ·Q· · You can read that second paragraph to          16· · · ·A· · Correct.
        17· ·yourself.                                               17· · · ·Q· · Is that the same reason that you thought
        18· · · ·A· · Yeah.                                          18· ·Mr. Watson was a sociopath?
        19· · · ·Q· · Do you think that Amazon was putting your      19· · · ·A· · No.
        20· ·family in harm's way?                                   20· · · ·Q· · Why did you think Mr. Watson was a
        21· · · ·A· · Only if my name was going to start getting     21· ·sociopath?
        22· ·public, yes.                                            22· · · ·A· · I just do.
        23· · · ·Q· · Why did you think that your family would be    23· · · ·Q· · How do you define sociopath?
        24· ·put in harm's way for --                                24· · · ·A· · Narcissistic tendencies, lack of empathy,
        25· · · ·A· · As it explains right here, "Three of the six   25· ·there's some other things, but in general, that's it.


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        ·1· · · ·Q· · And you don't have any training in --          ·1· · · ·Q· · Did you do Amazon any other favors?
        ·2· · · ·A· · I have a degree in psychology.                 ·2· · · ·A· · No.
        ·3· · · ·Q· · You do have a degree in psychology?            ·3· · · ·Q· · What did you mean by "-- now my investors
        ·4· · · ·A· · (Witness nods head.)                           ·4· ·are being screwed by IPI"?
        ·5· · · ·Q· · So is that your best clinical diagnosis?       ·5· · · ·A· · IPI had sort of tried to do some sort of a,
        ·6· · · ·A· · I'm not a clinician.· I just have a            ·6· ·you know, forced buyout of the Sterling and CP
        ·7· ·bachelor's in psychology.                               ·7· ·investors that I thought was inappropriate.
        ·8· · · ·Q· · Did you think Mr. Watson was a sociopath       ·8· · · ·Q· · Were you still affiliated with the Sterling
        ·9· ·throughout your entire employment at Northstar?         ·9· ·deal at the time the buyout was happening?
        10· · · ·A· · A narcissist, not a sociopath.                 10· · · ·A· · No.
        11· · · ·Q· · So you think that Mr. Watson was a             11· · · ·Q· · Had investors complained to you about
        12· ·narcissist and not a sociopath?                         12· ·actions IPI was taking?
        13· · · ·A· · Correct, at that time.                         13· · · ·A· · Yes.
        14· · · ·Q· · Did there come a time in which you thought     14· · · ·Q· · Which investors?
        15· ·Mr. Watson was a sociopath?                             15· · · ·A· · I can't recall specifics.
        16· · · ·A· · Over time, I felt that way, yes.               16· · · ·Q· · Do you recall anything about --
        17· · · ·Q· · What led you over time to believe that he      17· · · ·A· · Lots of them.
        18· ·was a sociopath?                                        18· · · ·Q· · Do you recall anything at all about the
        19· · · ·A· · Just my own thoughts.                          19· ·investors you reached out to?
        20· · · ·Q· · What about your own thoughts led you to        20· · · ·A· · No, just a lot of the investors reached out
        21· ·develop that?                                           21· ·to me.
        22· · · ·A· · Nothing in particular.                         22· · · ·Q· · When they reached out to you, did they know
        23· · · ·Q· · Have you discussed your belief that            23· ·that you were no longer affiliated with Northstar?
        24· ·Mr. Watson is a sociopath with anyone?                  24· · · ·A· · They did.
        25· · · ·A· · No, I don't recall.                            25· · · ·Q· · How did you respond to those investors'

                                                              171                                                          173
        ·1· · · ·Q· · You also said, "Not to mention other           ·1· ·concerns?
        ·2· ·employees that may have lost their jobs."               ·2· · · ·A· · I don't recall the specifics.
        ·3· · · · · · Do you see that?                               ·3· · · ·Q· · What is IPI?
        ·4· · · ·A· · I do.                                          ·4· · · ·A· · It's just an acronym, I think, for -- I
        ·5· · · ·Q· · What was that a reference to?                  ·5· ·don't even know what it is.· Maybe Iron Point Iron, I
        ·6· · · ·A· · That when all this was happening, Northstar    ·6· ·don't know, Iron Point, Iron Partners, I don't know
        ·7· ·was ceasing to exist and people were losing their       ·7· ·what IPI stands for.· It was the equity partner,
        ·8· ·jobs.                                                   ·8· ·though, in the deal.
        ·9· · · ·Q· · Did any employees who lost their job reach     ·9· · · ·Q· · In the Sterling deal?
        10· ·out to you at any time?                                 10· · · ·A· · Uh-huh.
        11· · · ·A· · No.                                            11· · · ·Q· · Did you work with IPI while you were
        12· · · ·Q· · Did any employees who lost their jobs          12· ·employed by Northstar?
        13· ·threaten you or your family at any time?                13· · · ·A· · No.
        14· · · ·A· · No.                                            14· · · ·Q· · Did you ever communicate with anyone at IPI
        15· · · ·Q· · If you could take a look at the next           15· ·while you were employed by Northstar?
        16· ·paragraph, can you read just that first sentence, "I    16· · · ·A· · No.
        17· ·did you all --"                                         17· · · ·Q· · Do you know someone named Luke Gilpin?
        18· · · ·A· · Yeah, I -- myself or out loud?                 18· · · ·A· · No.
        19· · · ·Q· · Out loud.                                      19· · · ·Q· · Do you know someone named Matt A'Hearn?
        20· · · ·A· · "I did you all a favor, and now my investors   20· · · ·A· · No.
        21· ·are being screwed by IPI and you refused to help when   21· · · ·Q· · After you left Northstar, did you ever
        22· ·I called a few months ago."                             22· ·communicate with any current or former employees of
        23· · · ·Q· · Was the favor you're referring to the e-mail   23· ·IPI?
        24· ·to Mr. Bezos?                                           24· · · ·A· · Of IPI, no.
        25· · · ·A· · Correct.                                       25· · · ·Q· · Did you reach out to IPI after your


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        ·1· ·investors raised concerns with you?                     ·1· · · ·Q· · Did you work closely with Mr. Camenson while
        ·2· · · ·A· · No.                                            ·2· ·you were both at Northstar?
        ·3· · · ·Q· · Do you think the investors would be            ·3· · · ·A· · Not really.
        ·4· ·surprised that you wrote this e-mail to Mr. Bezos       ·4· · · ·Q· · Did you develop a relationship outside of
        ·5· ·about Northstar's actions?                              ·5· ·work?
        ·6· · · ·A· · Likely.                                        ·6· · · ·A· · We had a work relationship, but he was on
        ·7· · · ·Q· · Why do you think they'd be surprised?          ·7· ·Amazon and that was his job.· Once I raised money for
        ·8· · · ·A· · Why wouldn't they be surprised?                ·8· ·Amazon or the Sterling deal, I really had very little
        ·9· · · ·Q· · Did you ever make any of the investors aware   ·9· ·working interaction with William other than just, you
        10· ·that you had concerns about Northstar's conduct with    10· ·know, talking around the office.
        11· ·respect to the Amazon transactions?                     11· · · ·Q· · So you had -- you didn't have much -- strike
        12· · · ·A· · No, I did not.                                 12· ·that.
        13· · · ·Q· · Did you ever tell any of the investors who     13· · · · · · You didn't have much of relationship with
        14· ·were being screwed by IPI that you had sent an e-mail   14· ·Mr. Camenson when you asked that Amazon take it easy
        15· ·to Mr. Bezos?                                           15· ·on him?
        16· · · ·A· · No, I did not.                                 16· · · ·A· · Correct.
        17· · · ·Q· · Can you read that next sentence out loud       17· · · ·Q· · Do you typically do that for people that
        18· ·that starts with, "I only --"                           18· ·you're not close to?
        19· · · ·A· · "I only had three demands:· Protect my         19· · · ·A· · I do.
        20· ·identity, protect my investors, and take it easy on     20· · · ·Q· · Can you please explain why you do that?
        21· ·Will Camenson.· As far as I could tell, you haven't     21· · · ·A· · I take care of a lot of people.
        22· ·done any of this."                                      22· · · ·Q· · How did you think you were taking care of
        23· · · ·Q· · Your reference to protecting your identity,    23· ·Mr. Camenson in this situation?
        24· ·does that go back to your concern that harm could be    24· · · ·A· · I just relayed that I didn't think he was in
        25· ·inflicted on you or your family?                        25· ·the decision tree of all of this.· So I figured that

                                                              175                                                          177
        ·1· · · ·A· · It is.                                         ·1· ·was it.
        ·2· · · ·Q· · And the protecting your investors, is that     ·2· · · ·Q· · Did you let Mr. Camenson know that you would
        ·3· ·with respect the buyout involving IPI?                  ·3· ·be relaying that to Amazon?
        ·4· · · ·A· · Correct.                                       ·4· · · ·A· · No.
        ·5· · · ·Q· · Were there any other investors being           ·5· · · ·Q· · Did you know if Mr. Camenson was involved in
        ·6· ·impacted by the concerns you shared with Amazon?        ·6· ·the land transaction involving Mr. Ramstetter?
        ·7· · · ·A· · No, it would only be Amazon investors or       ·7· · · ·A· · No, I didn't know -- I mean, other than
        ·8· ·Sterling investors.                                     ·8· ·working closely with Kyle, I had no idea about the
        ·9· · · ·Q· · And then you say, "-- and take it easy on      ·9· ·specifics of any of this stuff.· I just knew that he
        10· ·Will Camenson."                                         10· ·was an employee who worked closely with Kyle at
        11· · · · · · What did you mean?                             11· ·Northstar and I assumed that when all this would come
        12· · · ·A· · From what I -- you know, I didn't have any     12· ·through he would be in the fray, but certainly not a
        13· ·specifics, but I assumed that Will was, you know, not   13· ·decision-maker.
        14· ·in the decision-making capacity when any of this was    14· · · ·Q· · What's your impression of Mr. Ramstetter?
        15· ·happening and so that I didn't think he was really,     15· · · ·A· · Good guy.
        16· ·you know, per se at fault.                              16· · · ·Q· · Good guy.· What was your understanding of
        17· · · ·Q· · What do you mean that he wasn't really in a    17· ·Mr. Ramstetter's relationship with Mr. Camenson?
        18· ·decision-making capacity?                               18· · · ·A· · They had a good relationship.
        19· · · ·A· · Again, I don't have the details, just from     19· · · ·Q· · Was it your understanding in the
        20· ·what I knew of Will Camenson at the time, I just        20· ·relationship that Mr. Ramstetter was the
        21· ·didn't think that he would have been in any of the      21· ·decision-maker?
        22· ·decision-making roles.                                  22· · · ·A· · Yes.
        23· · · ·Q· · Who would have been in the decision-making     23· · · ·Q· · Why was that your understanding?
        24· ·roles?                                                  24· · · ·A· · Kyle is a strong personality and a strong
        25· · · ·A· · Kyle Ramstetter.                               25· ·developer and with, you know, 10 years or more


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        ·1· ·experience and, you know, it was his show to run.       ·1· · · ·Q· · Why did you hire him?
        ·2· · · ·Q· · Did you ever have any concerns about           ·2· · · ·A· · Because he is good at his job.
        ·3· ·Mr. Ramstetter's conduct while you worked at            ·3· · · ·Q· · Did you have any concerns based on what you
        ·4· ·Northstar?                                              ·4· ·heard about his potential involvement with the White
        ·5· · · ·A· · No, I did not.                                 ·5· ·Peaks purchase?
        ·6· · · ·Q· · Since you left Northstar, have you developed   ·6· · · ·A· · No, no, I did not.
        ·7· ·any concerns about Mr. Ramstetter's conduct?            ·7· · · ·Q· · Why did you not have any concerns?
        ·8· · · ·A· · No.                                            ·8· · · ·A· · I don't.
        ·9· · · ·Q· · You don't have any concerns about              ·9· · · ·Q· · Since he joined Dacia Resort Group, have you
        10· ·Mr. Ramstetter and Mr. Camenson's relationship?         10· ·had any concerns about his conduct?
        11· · · ·A· · It has nothing to do with me.· I wouldn't      11· · · ·A· · Not at all.
        12· ·have any thoughts on their relationship.                12· · · ·Q· · So it doesn't concern you at all that
        13· · · ·Q· · Did Mr. Ramstetter run the Amazon deals at     13· ·Mr. Camenson was potentially involved in this deal in
        14· ·Northstar?                                              14· ·Virginia while working at Northstar?
        15· · · ·A· · He ran the development, yes.                   15· · · ·A· · No.
        16· · · ·Q· · He ran the development.· Do you know what      16· · · ·Q· · Okay.· If you could go to the next page on
        17· ·Mr. Ramstetter's and Mr. Watson's relationship was?     17· ·that e-mail -- so it's Page 2 of this PDF -- if you
        18· · · ·A· · Outside of --                                  18· ·could read the paragraph starting with, "I know you
        19· · · ·Q· · With respect to the Amazon transactions.       19· ·think --"
        20· · · ·A· · Well, you've got the CEO and you have the      20· · · ·A· · "I know you think it would be better to use
        21· ·project manager.· That's what their relationship was.   21· ·the information I provided but you also know it is
        22· · · ·Q· · And when is the last time you communicated     22· ·not necessary, as none of it was the smoking gun."
        23· ·with Mr. Ramstetter?                                    23· · · ·Q· · Do you still believe that none of the
        24· · · ·A· · No idea, but I don't know if I've ever -- I    24· ·information you provided to Amazon was a smoking gun?
        25· ·don't know if I've talked to him even after I left      25· · · ·A· · Correct.

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        ·1· ·Northstar.                                              ·1· · · ·Q· · Do you recall ever connecting with any
        ·2· · · ·Q· · Are you trying to protect Mr. Camenson for     ·2· ·lawyers from Gibson Dunn?
        ·3· ·any reason?                                             ·3· · · ·A· · No.
        ·4· · · ·A· · Mr. Camenson?                                  ·4· · · ·Q· · Do you recall if you had any phone
        ·5· · · ·Q· · Uh-huh.                                        ·5· ·conversations with anyone from Gibson Dunn?
        ·6· · · · · · MR. HEYBURN:· Objection.· Asked and            ·6· · · ·A· · No.
        ·7· ·answered.                                               ·7· · · ·Q· · You don't recall having any or you don't
        ·8· · · · · · THE WITNESS:· Yeah, I don't understand         ·8· ·think you had any?
        ·9· ·your -- I don't have any cause to protect him per se.   ·9· · · ·A· · I don't think I had any.
        10· ·I'm not aware that he has done anything wrong. I        10· · · ·Q· · So in this e-mail chain --
        11· ·just know that he was going to get mixed up into the    11· · · ·A· · I mean, I've only spoken to Amazon and
        12· ·fray.                                                   12· ·Amazon's attorneys.· So whoever that happens to be, I
        13· ·BY MS. BODNER:                                          13· ·don't even know who that is.· So I don't even know
        14· · · ·Q· · Are you aware if Mr. Camenson has a plea       14· ·who these guys are.
        15· ·agreement with the government?                          15· · · ·Q· · They'll introduce themselves, don't worry.
        16· · · ·A· · I'm not aware of that.                         16· · · · · · Do you understand that Amazon is represented
        17· · · ·Q· · Are you aware if Mr. Ramstetter has a plea     17· ·by the law firm Gibson Dunn in this litigation?
        18· ·agreement with the government?                          18· · · ·A· · Okay, so take a step back then.· Yes, I was
        19· · · ·A· · I'm not aware of that.                         19· ·a party of at least one phone call that some outside
        20· · · ·Q· · Do you know if either of them have been the    20· ·attorneys, third-party attorneys on Amazon's
        21· ·subject of a grand jury investigation?                  21· ·behalf -- I did speak to them, yes.
        22· · · ·A· · I have no idea.                                22· · · ·Q· · Do you recall any of the names of the
        23· · · ·Q· · And you testified that Mr. Camenson works      23· ·outside attorneys?
        24· ·for you now?                                            24· · · ·A· · Not a clue.
        25· · · ·A· · He does.                                       25· · · ·Q· · Does Patrick Stokes ring a bell?


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        ·1· · · ·A· · Sounds familiar, but I couldn't --             ·1· ·BY MS. BODNER:
        ·2· · · ·Q· · Do you think you'd be able to remember any     ·2· · · ·Q· · Do you recognize this document?
        ·3· ·names at all?                                           ·3· · · ·A· · No.
        ·4· · · · · · MR. BEDELL:· Hold on.· You were complaining    ·4· · · ·Q· · You didn't review any versions of this
        ·5· ·about him jumping on your questions.· You just jumped   ·5· ·document before it was filed, to the best of your
        ·6· ·all over his answer.                                    ·6· ·knowledge?
        ·7· · · · · · THE WITNESS:· I don't know who Patrick         ·7· · · ·A· · No.
        ·8· ·Stokes is.· I might have heard the name before.· You    ·8· · · ·Q· · Have you read this document since it was
        ·9· ·know, I'm sure it's not the -- there's probably more    ·9· ·filed?
        10· ·than one Patrick Stokes, but nonetheless I did speak    10· · · ·A· · I don't believe so.
        11· ·to some attorneys that represented Amazon.              11· · · ·Q· · Have you stayed aware of the events in this
        12· ·BY MS. BODNER:                                          12· ·litigation?
        13· · · ·Q· · If I listed off some names, would you be       13· · · ·A· · I have not.
        14· ·able to remember if you spoke with any of them or do    14· · · ·Q· · If you could go to Page 25, please, of the
        15· ·you not have any idea?                                  15· ·PDF.
        16· · · ·A· · You can try.                                   16· · · · · · MR. BEDELL:· Paragraph?
        17· · · ·Q· · Lora MacDonald?                                17· ·BY MS. BODNER:
        18· · · ·A· · I don't recognize it.                          18· · · ·Q· · Paragraph 110.
        19· · · ·Q· · Claudia Barrett?                               19· · · ·A· · Okay.
        20· · · ·A· · Don't recognize it.                            20· · · ·Q· · Can you please read that paragraph out loud?
        21· · · ·Q· · Elizabeth Papez?                               21· · · ·A· · "During a series of phone calls with members
        22· · · ·A· · Don't recognize it.                            22· ·of Amazon's legal compliance team in late 2019 and
        23· · · ·Q· · That's all I'm going to ask about for now.     23· ·early 2020, Informant 1 claimed to have personal
        24· · · ·A· · Okay.                                          24· ·knowledge of Northstar's payment of millions of
        25· · · ·Q· · Do you recall how many phone conversations     25· ·dollars in kickbacks on Defendants' real estate

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        ·1· ·you had with Gibson Dunn present on the phone?          ·1· ·transactions with Amazon, and stated his belief that
        ·2· · · ·A· · I think only one.· Could have been two, but    ·2· ·the scheme had been ongoing since January 2018."
        ·3· ·I think only one.                                       ·3· · · ·Q· · Have you at any time claimed to have
        ·4· · · ·Q· · Do you recall anything about that              ·4· ·personal knowledge of Northstar's payment of millions
        ·5· ·conversation?                                           ·5· ·of dollars in kickbacks?
        ·6· · · ·A· · None.                                          ·6· · · ·A· · Not in this -- what I would say is in its
        ·7· · · ·Q· · Did you review any drafts of the complaint     ·7· ·empirical form.· No, I was aware -- I was aware
        ·8· ·before it was filed?                                    ·8· ·that -- I was led to believe where that might have
        ·9· · · ·A· · No.                                            ·9· ·been happening, but I had no personal, you know --
        10· · · · · · MS. BODNER:· Okay.· I'm going to introduce     10· ·and I clarified that I have never seen a check stub
        11· ·the correct version of the complaint as Exhibit 6A      11· ·or a wire and I clarified that, that I don't have any
        12· ·and it will replace what was previously introduced as   12· ·empirical evidence of such.· I was just aware of it.
        13· ·Exhibit 6.                                              13· · · ·Q· · So this statement is incorrect as to what
        14· · · · · · (Deposition Exhibit DM-006A was                14· ·you told Amazon?
        15· · · · · · ·deemed marked for identification.)            15· · · ·A· · Well, it's all a matter of how you guys want
        16· ·BY MS. BODNER:                                          16· ·to define that.
        17· · · ·Q· · So this will be -- please let me know when     17· · · · · · MR. BEDELL:· Objection to the form of that.
        18· ·you see that document.                                  18· · · · · · THE WITNESS:· Yeah, that's not for me to say
        19· · · · · · MR. BEDELL:· Scroll down on the left.          19· ·here or there.· I've consistently stated that I did
        20· · · · · · THE WITNESS:· I got it.· The problem is it's   20· ·not have any empirical evidence of any of this.
        21· ·down here, somewhere later.                             21· ·BY MS. BODNER:
        22· · · · · · MR. BEDELL:· Yeah, yeah, yeah.· No, I'm just   22· · · ·Q· · As you just defined personal knowledge to
        23· ·looking.· All I want to see is the front page.          23· ·me, do you believe that this statement is correct?
        24· · · · · · I'm good.                                      24· · · · · · MR. HEYBURN:· Objection to form.
        25· · · · · · THE WITNESS:· Okay.                            25· · · · · · MR. BEDELL:· Yeah, I'm going to object to


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        ·1· ·form on that as well.· And to clarify, you're asking    ·1· · · ·Q· · Did you think that Mr. Doden and Mr. Omar
        ·2· ·him to opine about somebody else's statement when the   ·2· ·could get you in the door?
        ·3· ·document was never seen.                                ·3· · · ·A· · Well, I hoped that they could, yes.
        ·4· · · · · · MS. BODNER:· That is correct.                  ·4· · · ·Q· · Did they ever represent to you that they
        ·5· · · · · · MR. BEDELL:· That's objectionable.             ·5· ·could help you get a job at Amazon?
        ·6· · · · · · MS. BODNER:· You can still answer.             ·6· · · ·A· · No.
        ·7· · · · · · MR. BEDELL:· If you can answer, you can        ·7· · · ·Q· · Why did you hope that Mr. Doden and Mr. Omar
        ·8· ·answer.                                                 ·8· ·could help you get a job at Amazon?
        ·9· · · · · · THE WITNESS:· I would have rephrased it        ·9· · · ·A· · Restate the question.
        10· ·differently.                                            10· · · ·Q· · Why did you believe -- strike that.
        11· ·BY MS. BODNER:                                          11· · · · · · Why did you hope that Mr. Omar and Mr. Doden
        12· · · ·Q· · Have you ever been employed by Amazon?         12· ·could help you get a job at Amazon?
        13· · · ·A· · No.                                            13· · · ·A· · Because these would be cool jobs to have.
        14· · · ·Q· · Did you ever receive any sort of               14· · · ·Q· · Did you hope that your e-mail to Mr. Bezos
        15· ·remuneration or compensation from Amazon?               15· ·would help you get a job at Amazon?
        16· · · ·A· · No.                                            16· · · · · · MR. BEDELL:· Objection.· When?
        17· · · ·Q· · Did you ever receive any sort of               17· · · · · · THE WITNESS:· Yeah, put that in perspective.
        18· ·remuneration or compensation from Gibson Dunn?          18· ·BY MS. BODNER:
        19· · · ·A· · No.                                            19· · · ·Q· · In 2020, did you hope that --
        20· · · ·Q· · Have you ever applied for a job with Amazon?   20· · · ·A· · Prior to me sending the e-mail, no.· After I
        21· · · ·A· · Yes.                                           21· ·sent the e-mail, I was like, well, you know what, why
        22· · · ·Q· · When did you apply for a job with Amazon?      22· ·not try.
        23· · · ·A· · Multiple times over the years.                 23· · · ·Q· · Do you think that Amazon owes you for
        24· · · ·Q· · Do you recall what years?                      24· ·sending that e-mail to Mr. Bezos?
        25· · · ·A· · No.                                            25· · · ·A· · Not at all.

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        ·1· · · ·Q· · Do you recall if you applied for a job at      ·1· · · ·Q· · Do you recall how Mr. Omar and Mr. Doden
        ·2· ·Amazon at any time between 2017 and 2022?               ·2· ·responded to this e-mail?
        ·3· · · ·A· · Probably.                                      ·3· · · ·A· · They said they couldn't help me.
        ·4· · · ·Q· · Do you recall which jobs?                      ·4· · · ·Q· · Did you ever interview for any of the jobs
        ·5· · · ·A· · Probably something in London.                  ·5· ·listed here?
        ·6· · · ·Q· · Why in London?                                 ·6· · · ·A· · No.
        ·7· · · ·A· · Because I want to live in London.              ·7· · · ·Q· · Are you hopeful that your e-mail to
        ·8· · · · · · MS. BODNER:· I'm going to introduce another    ·8· ·Mr. Bezos will help you get a job with Amazon in the
        ·9· ·document.· I just need to remember what exhibit         ·9· ·future?
        10· ·number we're up to.· I think it's 14.· I'm              10· · · ·A· · No.
        11· ·introducing Exhibit 14.                                 11· · · ·Q· · Are you hopeful that you might still receive
        12· · · · · · (Deposition Exhibit DM-014 was deemed          12· ·some sort of remuneration for the e-mail you sent to
        13· · · · · · ·marked for identification.)                   13· ·Mr. Bezos?
        14· ·BY MS. BODNER:                                          14· · · ·A· · No.
        15· · · ·Q· · Let me know when you're ready for me to ask    15· · · ·Q· · Do you do any work with Amazon presently?
        16· ·you some questions about it.                            16· · · ·A· · No.
        17· · · ·A· · Yes.                                           17· · · ·Q· · Is Amazon a potential client in your current
        18· · · ·Q· · Do you see -- strike that.                     18· ·line of work?
        19· · · · · · Do you recognize this as an e-mail you sent    19· · · ·A· · No.
        20· ·to Mr. Omar and Mr. Doden on January 16, 2020, about    20· · · ·Q· · Is Amazon a potential vendor in your current
        21· ·Amazon vacancies?                                       21· ·line of work?
        22· · · ·A· · I do.                                          22· · · ·A· · No.
        23· · · ·Q· · Were these jobs that you were interested in    23· · · ·Q· · Do you desire to work with Amazon in the
        24· ·applying to at Amazon?                                  24· ·future?
        25· · · ·A· · They were.                                     25· · · ·A· · No.


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        ·1· · · ·Q· · Have you purchased any land or building in     ·1· · · · · · MR. SMART:· Thank you.
        ·2· ·the hopes of doing a deal with Amazon in the future?    ·2· · · · · · MS. BODNER:· Yep.
        ·3· · · ·A· · No.                                            ·3· ·BY MS. BODNER:
        ·4· · · ·Q· · Do you know someone named Patricia Watson?     ·4· · · ·Q· · Do you do any work currently with IPI?
        ·5· · · ·A· · I do.                                          ·5· · · ·A· · No.
        ·6· · · ·Q· · How do you know her?                           ·6· · · ·Q· · Have you solicited any investment from IPI
        ·7· · · ·A· · Brian Watson's ex-wife.                        ·7· ·since working for Northstar?
        ·8· · · ·Q· · Did you work with her at Northstar?            ·8· · · ·A· · No.
        ·9· · · ·A· · No.                                            ·9· · · ·Q· · Have you had any communications with the FBI
        10· · · ·Q· · Do you have a personal relationship with       10· ·about Mr. Watson or Northstar?
        11· ·her?                                                    11· · · ·A· · Yes.
        12· · · ·A· · No.                                            12· · · ·Q· · When did you have those communications?
        13· · · ·Q· · When is the last time you communicated with    13· · · ·A· · In the last couple years.
        14· ·her?                                                    14· · · ·Q· · Do you recall the year?
        15· · · ·A· · I think probably towards the end of his        15· · · ·A· · Not at all.
        16· ·divorce.                                                16· · · ·Q· · Do you recall the name of who you
        17· · · ·Q· · Have you done any business with Patricia       17· ·communicated with?
        18· ·Watson?                                                 18· · · ·A· · No, I do not.
        19· · · ·A· · No.                                            19· · · ·Q· · Would the last name Huckle ring a bell?
        20· · · ·Q· · Do you do any business in Ohio?                20· · · ·A· · No.
        21· · · ·A· · No.                                            21· · · ·Q· · Do you know if it was the FBI that you spoke
        22· · · ·Q· · Have you ever been affiliated with any real    22· ·with?
        23· ·estate deals in Ohio?                                   23· · · ·A· · I believe it was.
        24· · · ·A· · No.                                            24· · · ·Q· · On how many occasions did you speak with the
        25· · · ·Q· · Have you ever assisted with any real estate    25· ·FBI?

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        ·1· ·deals in Ohio?                                          ·1· · · ·A· · I think just once.
        ·2· · · ·A· · No.                                            ·2· · · ·Q· · Do you recall how long that meeting was?
        ·3· · · ·Q· · Do you know if Ms. Watson has worked with      ·3· · · ·A· · No idea.
        ·4· ·Mr. Ramstetter on any commercial real estate            ·4· · · ·Q· · Do you recall what you talked about?
        ·5· ·opportunities?                                          ·5· · · ·A· · No.
        ·6· · · ·A· · No idea.                                       ·6· · · ·Q· · Did the FBI approach you or did you approach
        ·7· · · ·Q· · Do you know if Ms. Watson has worked with      ·7· ·them?
        ·8· ·Mr. Camenson on any real estate opportunities?          ·8· · · ·A· · They approached me.
        ·9· · · ·A· · No idea.                                       ·9· · · ·Q· · You don't recall anything at all about your
        10· · · ·Q· · Do you know someone named Rod Atherton?        10· ·conversation with the FBI?
        11· · · ·A· · No.                                            11· · · · · · MR. HEYBURN:· Objection.· Asked and
        12· · · ·Q· · You never heard the name before?               12· ·answered.
        13· · · ·A· · No.                                            13· · · · · · THE WITNESS:· I will clarify that they did
        14· · · · · · MR. SMART:· Hey, Sara.· I apologize for        14· ·ask me about some wires, some fraudulent wires or
        15· ·doing this.· Is it possible at 5:15 or in a few         15· ·some wire transactions that they were suspect of, I
        16· ·minutes if we take a break?· I have something pop up    16· ·have no idea about why, but that's what they were
        17· ·that I have to take care of for 10 minutes.             17· ·asking me about.
        18· · · · · · MS. BODNER:· Yep.                              18· ·BY MS. BODNER:
        19· · · · · · MR. SMART:· Is that okay?                      19· · · ·Q· · Do you know if those wire transactions
        20· · · · · · MS. BODNER:· Yep, that's fine.· Then I'll      20· ·involved Amazon?
        21· ·only have a few questions after the break.              21· · · ·A· · I have no idea.
        22· · · · · · MR. SMART:· I felt you were close to the end   22· · · ·Q· · You don't recall anything else about the
        23· ·and I'll be ready with mine when we come back on. I     23· ·wire transactions?
        24· ·don't have a lot.                                       24· · · ·A· · No.
        25· · · · · · MS. BODNER:· Okay.                             25· · · ·Q· · Do you recall talking about Amazon at all


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        ·1· ·with the FBI?                                           ·1· · · · · · MS. BODNER:· That's all the questions I have
        ·2· · · ·A· · I don't think so.· I don't remember, though.   ·2· ·for now.
        ·3· · · ·Q· · Do you recall if the FBI asked you questions   ·3· · · · · · I'm going to turn it over to Mr. Smart.
        ·4· ·about Mr. Watson?                                       ·4· · · · · · I may ask some additional final questions at
        ·5· · · ·A· · They did.· I don't remember what, though.      ·5· ·the end, but thank you very much for your time.
        ·6· · · ·Q· · So you don't remember anything about the       ·6· · · · · · THE WITNESS:· Okay.
        ·7· ·questions other than they had to do with some wires?    ·7· · · · · · · · · · · · EXAMINATION
        ·8· · · ·A· · That was the -- I mean, for whatever reason,   ·8· ·BY MR. SMART:
        ·9· ·those two things stuck out in my head.· But I don't     ·9· · · ·Q· · Good afternoon, Mr. Mulcahy.· Again, my name
        10· ·remember any of the rest of the conversation.           10· ·is Adam Smart.· I represent Carl Nelson and Cheshire
        11· · · ·Q· · Other than the FBI and the SEC deposition      11· ·Ventures in this matter; and I just have a few topics
        12· ·that we talked about earlier, have you spoken with      12· ·to hit.· I'll try and be brief.
        13· ·any federal agencies about Mr. Watson or Northstar?     13· · · · · · First of all, do you know an individual
        14· · · ·A· · No.                                            14· ·named Karen Mulcahy?
        15· · · · · · MS. BODNER:· Okay.· I think we have to take    15· · · ·A· · No.
        16· ·a break for Adam anyway.                                16· · · ·Q· · Do you know individual named JD Mulcahy?
        17· · · · · · THE VIDEOGRAPHER:· We are going off record     17· · · ·A· · No.
        18· ·at 2:15 p.m.                                            18· · · ·Q· · When you use the phrase "empirical proof,"
        19· · · · · · (Thereupon, a recess was taken.)               19· ·what do you mean by that?
        20· · · · · · THE VIDEOGRAPHER:· We are back on record at    20· · · ·A· · Tangible.
        21· ·2:31 p.m.                                               21· · · ·Q· · And how do you distinguish that from
        22· ·BY MS. BODNER:                                          22· ·intangible?
        23· · · ·Q· · Hi, Mr. Mulcahy.· I just have a couple final   23· · · ·A· · Wire confirmation would be tangible.
        24· ·questions for you today.                                24· · · ·Q· · Would -- do you consider someone else
        25· · · · · · Do you understand that you're still under      25· ·telling you something happened, is that within your

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        ·1· ·oath?                                                   ·1· ·definition of intangible proof?
        ·2· · · ·A· · I do.                                          ·2· · · ·A· · I don't know if that would be intangible
        ·3· · · ·Q· · Do you know anything about a property          ·3· ·proof.· I don't know.· It would just be hearsay
        ·4· ·located at 5212 Spanish Heights Drive?                  ·4· ·really.
        ·5· · · ·A· · No.                                            ·5· · · ·Q· · Okay.· And I believe earlier in the day you
        ·6· · · ·Q· · Do you know someone named Chuck Kuhn?          ·6· ·said you believed there was -- you used the phrase,
        ·7· · · ·A· · No.                                            ·7· ·"likely unscrupulous behavior" happened.· Is that a
        ·8· · · ·Q· · Have you ever accepted any investment funds    ·8· ·phrase that you recall using earlier?
        ·9· ·for any of your Dacia-related projects from             ·9· · · ·A· · I do.
        10· ·Mr. Camenson?                                           10· · · ·Q· · And can you specifically delineate what
        11· · · ·A· · No.                                            11· ·likely unscrupulous behavior you believe was
        12· · · ·Q· · Have you ever accepted any funds for any of    12· ·happening?
        13· ·your Dacia-related projects from Mr. Ramstetter?        13· · · ·A· · I believe that two Northstar employees were
        14· · · ·A· · No.                                            14· ·accepting cash payments in exchange for awarding
        15· · · ·Q· · What's the largest equity investment that      15· ·development deals to Northstar Commercial Partners.
        16· ·you've received for your Dacia-related projects from    16· · · ·Q· · And let me make sure I'm clear.· You mean
        17· ·any former Northstar investor?                          17· ·Amazon employees were?
        18· · · ·A· · Maybe 200,000.· I'm not sure, but probably     18· · · ·A· · Amazon employees, yes.
        19· ·200,000.                                                19· · · ·Q· · Okay.· And is it fair to say that you had no
        20· · · ·Q· · Do you recall if you've ever received any      20· ·personal knowledge of that actually occurring,
        21· ·equity investments larger than that from any            21· ·correct?
        22· ·Northstar investor?                                     22· · · ·A· · Correct.
        23· · · ·A· · I don't recall.· Probably not, though.· My     23· · · · · · MR. HEYBURN:· Objection to form.
        24· ·deals are small, so they don't really take lots of      24· ·BY MR. SMART:
        25· ·equity.                                                 25· · · ·Q· · And any information you had on that was


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        ·1· ·based on what other people were saying around the       ·1· ·with the marketability of what was awarded.· It just
        ·2· ·office at Northstar?                                    ·2· ·matters that some portion of those contracts' fees
        ·3· · · ·A· · Yes.                                           ·3· ·were being funneled back to the employees.
        ·4· · · ·Q· · And so is it like a rumor mill?· What was      ·4· · · ·Q· · I mean, that's pretty specific.· Do you have
        ·5· ·it?                                                     ·5· ·personal knowledge that that was happening?
        ·6· · · ·A· · No.· There's five people that were a part      ·6· · · ·A· · I was a part of -- you know, like I said,
        ·7· ·of -- in those conversations -- or four people I        ·7· ·there was people talking about it.· I'm just telling
        ·8· ·think we talked about earlier:· Brian Watson, Don       ·8· ·you that I can't remember the specific instance, but
        ·9· ·Marcotte, Brent Gray, Kristi Fisher, and Kyle           ·9· ·I've identified the five people who all, you know, do
        10· ·Ramstetter.                                             10· ·know about it and who I had varying degrees of
        11· · · ·Q· · So you heard Brian Watson say that Amazon      11· ·conversations with.
        12· ·employees were being paid to steer Amazon deals to      12· · · ·Q· · And you believe they all know about it
        13· ·Northstar?                                              13· ·because they told you they know about it?
        14· · · ·A· · I don't know which employees said it, but      14· · · ·A· · Yes.
        15· ·those are the five people that I would have heard it    15· · · ·Q· · Okay.· And they told you they know that
        16· ·from.                                                   16· ·money was going from Northstar to Mr. Nelson and
        17· · · ·Q· · Well, I'm asking you, do you have any          17· ·Mr. Kirschner to steer contracts to Northstar?
        18· ·recollection if Brian Watson ever said it?              18· · · ·A· · That's what I was told.
        19· · · ·A· · Not the specific words, no.· I don't have a    19· · · ·Q· · And who specifically of those people told
        20· ·recollection of any particular person saying it.        20· ·you?
        21· · · ·Q· · Okay.· So do you believe Brian Watson said     21· · · ·A· · I can't recall who specifically told me.
        22· ·anything like that?                                     22· · · ·Q· · Okay.· Because we talked to those people --
        23· · · ·A· · Yes.                                           23· · · ·A· · Go ahead.· Talk to them.
        24· · · ·Q· · And what did he say?                           24· · · ·Q· · We have.· Would it surprise you to learn
        25· · · ·A· · You just asked me whether I thought he said    25· ·that none of them have said that they ever told you

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        ·1· ·something like it.· I'm just assuming that he did.      ·1· ·that?
        ·2· · · ·Q· · You're assuming he did?                        ·2· · · · · · MR. BEDELL:· Objection.· Argumentative.
        ·3· · · ·A· · Yeah.· I don't recall an exact instance,       ·3· · · · · · MR. HEYBURN:· Objection to foundation.
        ·4· ·but --                                                  ·4· · · · · · THE WITNESS:· It's not for me to be
        ·5· · · ·Q· · What words do you recall him saying?           ·5· ·surprised or not to be surprised.
        ·6· · · ·A· · I don't.                                       ·6· ·BY MR. SMART:
        ·7· · · ·Q· · Okay.· And do you recall words from any of     ·7· · · ·Q· · In your e-mail that you sent to Mr. Bezos,
        ·8· ·those other people to that effect?                      ·8· ·you had some numbers in that e-mail.· How did you
        ·9· · · ·A· · No.                                            ·9· ·calculate those?
        10· · · ·Q· · And you never saw any records or any           10· · · ·A· · I don't recall.
        11· ·documents that indicated those payments were            11· · · ·Q· · Did you have documents that you looked at?
        12· ·happening to either Carl Nelson or Casey Kirschner,     12· · · ·A· · I don't recall.
        13· ·correct?                                                13· · · ·Q· · Do you have any knowledge as you sit here
        14· · · ·A· · Correct.                                       14· ·today on where those numbers came from?
        15· · · ·Q· · Okay.· You also used the phrase, "Amazon       15· · · ·A· · I don't recall.
        16· ·employees were not awarding contracts outside the       16· · · ·Q· · Okay.· So you couldn't testify that --
        17· ·free market."                                           17· ·strike that.
        18· · · · · · What did you mean by that?                     18· · · · · · Have you ever spoken to Carl Nelson?
        19· · · ·A· · Well, you've got to put it back in context     19· · · ·A· · No.
        20· ·of what the question was, right, which was -- I don't   20· · · ·Q· · Have you ever spoken -- did you speak to
        21· ·exactly say, but ultimately, it wasn't a fair bidding   21· ·Casey Kirschner at the time that he was in the
        22· ·process to win those contracts because ultimately       22· ·office -- or, I'm sorry, strike that.
        23· ·they were steering those to preferred partners          23· · · · · · Did you speak to him at the time you were at
        24· ·because they were being compensated, you know, for      24· ·the data center site?
        25· ·making those awards.· It doesn't have anything to do    25· · · ·A· · I did.


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        ·1· · · ·Q· · And what did you talk about with him?          ·1· ·to them about my client, Mr. Nelson?
        ·2· · · ·A· · Nothing in particular.· Just about the         ·2· · · ·A· · I don't recall.
        ·3· ·construction of data centers.                           ·3· · · ·Q· · When you spoke to Amazon, did you speak to
        ·4· · · ·Q· · And do you know what the bidding process at    ·4· ·them about my client, Mr. Nelson?
        ·5· ·Amazon is for contracts for data centers?               ·5· · · ·A· · I don't recall.
        ·6· · · ·A· · No.                                            ·6· · · ·Q· · When you sent an e-mail to Mr. Bezos, you
        ·7· · · ·Q· · Do you know whether there had to be an open    ·7· ·intended that to include my client, Mr. Nelson,
        ·8· ·bidding process with multiple potential bidders?        ·8· ·right?
        ·9· · · ·A· · No.                                            ·9· · · ·A· · Carl, yeah.· I didn't know his last name at
        10· · · ·Q· · Do you have an understanding that any of the   10· ·the time, but, yes, Carl.
        11· ·fees and rates used in any of the transactions with     11· · · ·Q· · And when you spoke to Amazon, would you have
        12· ·Northstar were improper?                                12· ·clarified that with them?
        13· · · ·A· · No.                                            13· · · ·A· · Clarified what?
        14· · · ·Q· · Okay.· And you discussed the consulting        14· · · ·Q· · That you intended to include Mr. Nelson in
        15· ·agreement that Christian Kirschner had a little bit,    15· ·that group of individuals you were referring to in
        16· ·correct?                                                16· ·the e-mail?
        17· · · ·A· · Briefly.                                       17· · · ·A· · I don't recall.· Probably.
        18· · · ·Q· · And did I understand that you at least at      18· · · ·Q· · You used the term "side deal" a lot today.
        19· ·some point were involved in providing edits to that?    19· ·What do you mean when you use the word "side deal"?
        20· · · ·A· · Say that again.                                20· · · ·A· · Undisclosed -- undisclosed arrangements, not
        21· · · ·Q· · Did I understand correctly that at some        21· ·a part of the, you know, arguably the deal at hand.
        22· ·point you were involved in providing edits to that      22· · · ·Q· · Okay.· And do you use the term "side deal"
        23· ·document?                                               23· ·to refer to the arrangement between Northstar and
        24· · · ·A· · Correct.                                       24· ·Christian Kirschner?
        25· · · ·Q· · And did you have any concerns with the         25· · · ·A· · No.

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        ·1· ·propriety of that document in and of itself?            ·1· · · ·Q· · Okay.· Were you using "side deal" to refer
        ·2· · · ·A· · No.                                            ·2· ·to what you believe the arrangement was between
        ·3· · · ·Q· · Did you have a concern with any of the         ·3· ·Christian Kirschner and Mr. Nelson and Casey
        ·4· ·percentages that were used in that document in and of   ·4· ·Kirschner?
        ·5· ·itself?                                                 ·5· · · ·A· · Yes.
        ·6· · · ·A· · No.                                            ·6· · · ·Q· · Okay.· And that's just your clarification
        ·7· · · ·Q· · And have you done any investigation of the     ·7· ·of -- that's just your term, right?· There's not a
        ·8· ·information that you passed on to Amazon yourself to    ·8· ·legal meaning to that in your head, right?
        ·9· ·determine the veracity or reliability of it?            ·9· · · ·A· · Not that I'm aware of.
        10· · · ·A· · No.                                            10· · · ·Q· · And I believe when you said you reported
        11· · · ·Q· · And I believe you said something to the        11· ·this to Mr. Bezos -- were you still working at
        12· ·effect of you believe that or you understood from       12· ·Northstar when you sent that e-mail to Mr. Bezos?
        13· ·other people that Christian served as a conduit with    13· · · ·A· · No.
        14· ·Casey and Carl receiving the bulk of the funds from     14· · · ·Q· · And how long had you been gone?
        15· ·the transactions at issue in this case.                 15· · · ·A· · Almost a year.
        16· · · · · · Is that -- did I say that correctly?           16· · · ·Q· · In any of the documents you sent him, did
        17· · · ·A· · Yes.                                           17· ·you already have those in your possession when you
        18· · · ·Q· · And, again, you don't have any personal        18· ·left Northstar?
        19· ·knowledge of that being true, correct?                  19· · · ·A· · I did.
        20· · · ·A· · Correct.                                       20· · · ·Q· · I believe you said something to the effect
        21· · · ·Q· · And it's fair to say you don't have any idea   21· ·that you were reporting that out of the goodness of
        22· ·of what amount of funds were being claimed to go to     22· ·your heart; is that correct?
        23· ·Casey or Carl?                                          23· · · ·A· · Correct.
        24· · · ·A· · Correct.                                       24· · · ·Q· · So -- but you did ask if there was a
        25· · · ·Q· · When you spoke with the FBI, did you speak     25· ·potential for future engagements, right?


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                                                      EXHIBIT 5
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        ·1· · · ·A· · Yes.                                           ·1· ·you met with at Amazon?
        ·2· · · ·Q· · And you even asked if there might be           ·2· · · ·A· · I mean, as far as the legal team is
        ·3· ·potential compensation, right?                          ·3· ·concerned?
        ·4· · · ·A· · I did.                                         ·4· · · ·Q· · Anyone.· I'm not sure who you met with.
        ·5· · · ·Q· · On another occasion you again asked if there   ·5· · · ·A· · I've only spoken to, yeah, a couple people
        ·6· ·was potential remuneration, right?                      ·6· ·on the legal side.
        ·7· · · ·A· · I did.                                         ·7· · · ·Q· · Okay.· So is it fair to say you don't
        ·8· · · ·Q· · And, in fact, you sent specific job postings   ·8· ·believe you spoke to anyone outside of lawyers for
        ·9· ·to Amazon indicating your interest in those, right?     ·9· ·Amazon?
        10· · · ·A· · That was after everything had already          10· · · ·A· · Correct.
        11· ·been· -- that was after everything had already          11· · · ·Q· · Do you think that you have any personal
        12· ·transpired, all the conversations, everything else.     12· ·responsibility for the impacts of the statements you
        13· ·It was well after the fact.                             13· ·have made to Amazon if they turn out not to be true?
        14· · · ·Q· · The job postings were well after the fact,     14· · · ·A· · No.
        15· ·but the other stuff wasn't, was it?                     15· · · · · · MR. HEYBURN:· Objection to form.
        16· · · ·A· · No, it wasn't.                                 16· · · · · · MR. SMART:· That's all I have.· Thank you.
        17· · · ·Q· · Okay.· I mean, you sent the job postings --    17· · · · · · MS. BODNER:· Should we go off the record?
        18· ·I'm looking at it, Exhibit 14, you did that on          18· · · · · · MR. HEYBURN:· Sure.
        19· ·January 16th, right?                                    19· · · · · · THE VIDEOGRAPHER:· We are going off record
        20· · · ·A· · Uh-huh.                                        20· ·at 2:50 p.m.
        21· · · ·Q· · That was less than a month after you sent      21· · · · · · (Thereupon, a recess was taken.)
        22· ·that e-mail?                                            22· · · · · · THE VIDEOGRAPHER:· We are back on record at
        23· · · ·A· · Right.                                         23· ·3:04 p.m.
        24· · · ·Q· · And you're not aware of what any content of    24· · · · · · ///
        25· ·any employment contract that either Mr. Nelson or       25· · · · · · ///

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        ·1· ·Mr. Kirschner may have had with Amazon, are you?        ·1· · · · · · · · · · · · EXAMINATION
        ·2· · · ·A· · No, I'm not.                                   ·2· ·BY MR. HEYBURN:
        ·3· · · ·Q· · Okay.· And when did you send documents to      ·3· · · ·Q· · Good afternoon, Mr. Mulcahy.· My name is
        ·4· ·Amazon?                                                 ·4· ·Jack Heyburn.· I represent the plaintiff, Amazon, in
        ·5· · · ·A· · No idea.                                       ·5· ·this action.
        ·6· · · ·Q· · In the e-mails we looked at, it looked like    ·6· · · · · · I just have a few additional questions for
        ·7· ·it was -- let me see which exhibit that is -- it's in   ·7· ·you today.· I'm going to do my best to not go over
        ·8· ·Exhibit 11.                                             ·8· ·everything that we've been over so far and just get
        ·9· · · ·A· · It's Document 11.· Okay, yeah.                 ·9· ·us out of here as quickly as possible.
        10· · · ·Q· · You sent an org chart to them on               10· · · · · · You testified that you had conversations
        11· ·January 27th, correct?                                  11· ·with certain individuals at Northstar who were
        12· · · ·A· · Yes.                                           12· ·involved in the kickback scheme; is that right?
        13· · · ·Q· · So that's after you sent the job postings,     13· · · ·A· · I did.
        14· ·right?                                                  14· · · ·Q· · And when you had those conversations with
        15· · · ·A· · I have no idea.                                15· ·them, is it safe to say that you had personal
        16· · · ·Q· · Okay.· Did you have any concerns about any     16· ·knowledge of the kickback scheme?
        17· ·potential liability to any of the people that you       17· · · · · · MS. BODNER:· Objection.· Form.
        18· ·were reporting to Amazon based on what you've called,   18· · · · · · MR. SMART:· Same objection.
        19· ·I think, hearsay and speculation?                       19· · · · · · THE WITNESS:· Personal knowledge is, again,
        20· · · · · · MR. HEYBURN:· Objection to form.               20· ·the -- you guys as lawyers, that's your guys'
        21· · · · · · MR. BEDELL:· I'm going to object as well.      21· ·definition.· It was -- I can say that amongst the
        22· · · · · · THE WITNESS:· No.                              22· ·five people -- or maybe there's a couple more even --
        23· ·BY MR. SMART:                                           23· ·at Northstar it was common knowledge.
        24· · · ·Q· · And to be clear, you don't recall the          24· ·BY MR. HEYBURN:
        25· ·specific names of anyone as you sit here of anyone      25· · · ·Q· · And when they told you about the scheme, you


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                                                      EXHIBIT 5
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        ·1· ·had the knowledge of the scheme?                        ·1· · · ·A· · Brian Watson.
        ·2· · · · · · MS. BODNER:· Object to form.                   ·2· · · ·Q· · And what was your -- strike that.
        ·3· · · · · · THE WITNESS:· Correct.                         ·3· · · · · · How would you describe Brian Watson's
        ·4· ·BY MR. HEYBURN:                                         ·4· ·management style?
        ·5· · · ·Q· · You also testified that you provided certain   ·5· · · ·A· · Inconsistent.
        ·6· ·documents to Amazon; is that right?                     ·6· · · ·Q· · Why was it inconsistent?
        ·7· · · ·A· · I did.                                         ·7· · · ·A· · Well, there's laissez-faire on one side and
        ·8· · · ·Q· · And did you believe that those documents       ·8· ·then controlling on the other side.
        ·9· ·were evidence of the kickback scheme?                   ·9· · · ·Q· · So in some circumstances he was controlling?
        10· · · ·A· · They were evidence of -- they weren't          10· · · ·A· · Correct.
        11· ·definitive evidence.· They were just simply, you        11· · · ·Q· · Do you have any examples that come to mind?
        12· ·know, tools to investigate, you know, documents to      12· · · ·A· · Well, not a good example, but, you know,
        13· ·investigate to see if they had merit.                   13· ·maybe comment on punctuation in a paragraph, but not
        14· · · ·Q· · But you provided them to Amazon because you    14· ·comment on the content of the paragraph.
        15· ·thought they would be helpful?                          15· · · ·Q· · And in what circumstances might he have been
        16· · · ·A· · Correct.· Correct.                             16· ·more hands-off?
        17· · · ·Q· · You're not a lawyer; is that right --          17· · · ·A· · Hands-off?
        18· · · ·A· · Correct.                                       18· · · ·Q· · Laissez-faire.
        19· · · ·Q· · -- Mr. Mulcahy?                                19· · · ·A· · Laissez-faire, well, I mean, a lot of his
        20· · · · · · Do you have any legal training?                20· ·deals, he just sort of -- in his mind, he hired
        21· · · ·A· · No.                                            21· ·people to do a job and then he would just leave it at
        22· · · · · · MR. BEDELL:· Wait for him to finish his        22· ·that without holding them accountable.· Without --
        23· ·question.                                               23· ·yeah, without holding them accountable.· And then to
        24· · · · · · THE WITNESS:· Sorry.                           24· ·answer that question, that's what would happen.
        25· · · · · · ///                                            25· · · ·Q· · Gotcha.· Did he control all the major

                                                              211                                                          213
        ·1· ·BY MR. HEYBURN:                                         ·1· ·decisions at Northstar?
        ·2· · · ·Q· · So are you familiar with the legal             ·2· · · ·A· · Ultimately he did, yes.
        ·3· ·definition of "hearsay"?                                ·3· · · ·Q· · Did others play a meaningful role in
        ·4· · · ·A· · No.                                            ·4· ·decision-making at Northstar?
        ·5· · · ·Q· · Are you familiar with the legal definition     ·5· · · ·A· · Not decision-making.· He made all the
        ·6· ·of "evidence"?                                          ·6· ·decisions.· There's no decisions per se made without
        ·7· · · ·A· · No.                                            ·7· ·Brian, yes.
        ·8· · · ·Q· · Are you familiar with the legal definition     ·8· · · ·Q· · And on that point, you discussed the
        ·9· ·of "circumstantial" versus "direct evidence"?           ·9· ·referral program earlier?
        10· · · ·A· · No.                                            10· · · ·A· · Correct.
        11· · · ·Q· · Are you familiar with the legal definition     11· · · ·Q· · Who was in charge of the referral program?
        12· ·of "tangible" versus "intangible evidence"?             12· · · ·A· · Brian.
        13· · · ·A· · No.                                            13· · · ·Q· · And did you have involvement in the referral
        14· · · ·Q· · So there's been a lot of testimony and         14· ·program?
        15· ·questions about these phrases.· When you use these      15· · · ·A· · Other than trying to keep track of which one
        16· ·phrases in your testimony, you're not using them in     16· ·of his investors might have brought another investor
        17· ·their legal sense; is that right?                       17· ·and, you know, the particular arrangement he might
        18· · · ·A· · Correct.                                       18· ·have had, because he had multiple -- he had multiple
        19· · · · · · MR. SMART:· Objection.· Form.                  19· ·referral agreements out with multiple investors.
        20· ·BY MR. HEYBURN:                                         20· ·They weren't all consistent.· We tried to bring some
        21· · · ·Q· · Are you using them in a colloquial sense?      21· ·consistency to it at the end, right --
        22· · · ·A· · Yes.                                           22· · · ·Q· · Correct.
        23· · · · · · MR. SMART:· Objection.· Form.                  23· · · ·A· · -- but I don't believe that it ever got to a
        24· ·BY MR. HEYBURN:                                         24· ·consistent form as represented by, you know, we had a
        25· · · ·Q· · Who did you report to at Northstar?            25· ·form and then it got changed completely when he did


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        ·1· ·the deal with Christian.                                ·1· ·relationship with other referral partners?
        ·2· · · ·Q· · Got it.· So ultimately Brian Watson was        ·2· · · · · · MS. BODNER:· Objection to form.
        ·3· ·making the decisions on the referral program?           ·3· · · · · · THE WITNESS:· No.· He was much closer to
        ·4· · · ·A· · Correct.                                       ·4· ·Christian.
        ·5· · · ·Q· · Would you say that you had a meaningful role   ·5· · · · · · I mean, he is close with a lot of people. I
        ·6· ·in the referral program?                                ·6· ·mean, Brian knows a lot of people, but I'd say yeah,
        ·7· · · · · · MS. BODNER:· Objection.· Form.                 ·7· ·he was very close with Christian.
        ·8· · · · · · THE WITNESS:· No, I mean, other than           ·8· ·BY MR. HEYBURN:
        ·9· ·offering it to some investors, I had no per se          ·9· · · ·Q· · Did he treat it as a more important
        10· ·control over the referral program.                      10· ·relationship for Northstar's business than other
        11· ·BY MR. HEYBURN:                                         11· ·referral partners?
        12· · · ·Q· · Was Brian Watson transparent with his          12· · · ·A· · I can't answer to that.
        13· ·employees about Northstar's operations?                 13· · · ·Q· · I believe earlier you discussed Christian
        14· · · · · · MS. BODNER:· Objection.· Form.                 14· ·Kirschner making introductions for Brian.· How
        15· · · · · · THE WITNESS:· I have no idea what he was       15· ·frequently did he make introductions?
        16· ·transparent and not transparent about.· I mean,         16· · · ·A· · I don't know.· Those would have been between
        17· ·obviously if he wasn't being transparent, I wouldn't    17· ·Christian and Brian, not Christian, Brian and me.· Or
        18· ·know.                                                   18· ·not Christian, me, Brian -- it would have gone
        19· ·BY MR. HEYBURN:                                         19· ·directly to Brian.
        20· · · ·Q· · But did employees at Northstar generally       20· · · · · · MR. HEYBURN:· I'm going to introduce an
        21· ·know why certain decisions were being made?             21· ·exhibit.· This will be Exhibit 15.
        22· · · ·A· · I assume so.· Again, I don't know what was     22· · · · · · (Deposition Exhibit DM-015 was deemed
        23· ·transparent and what wasn't transparent.                23· · · · · · ·marked for identification.)
        24· · · · · · MS. BODNER:· Can you wait one second?          24· · · · · · MR. HEYBURN:· It's Exhibit 6 to Amazon's
        25· · · · · · Adam, are you still able to hear us?           25· ·Second Amended Complaint.

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        ·1· · · · · · THE WITNESS:· Is he there?                     ·1· ·BY MR. HEYBURN:
        ·2· · · · · · MS. BODNER:· Adam, are you there?              ·2· · · ·Q· · And if you could let me know when you can
        ·3· · · · · · MR. SMART:· Yeah, I'm here.· Thank you.        ·3· ·see it.
        ·4· · · · · · MS. BODNER:· There was some sort of pop-up.    ·4· · · ·A· · Okay.· Yes.
        ·5· · · · · · MR. SMART:· That's okay.· Go ahead.· You       ·5· · · ·Q· · Are you familiar with this document?
        ·6· ·don't need to read it back.· I know what the question   ·6· · · ·A· · No, I'm not.
        ·7· ·was.· That's fine.                                      ·7· · · ·Q· · Do you see what the title of the document
        ·8· ·BY MR. HEYBURN:                                         ·8· ·is?
        ·9· · · ·Q· · Earlier you discussed Christian Kirschner.     ·9· · · ·A· · I do.
        10· ·What was your impression of him?                        10· · · ·Q· · And who -- just by looking at the document,
        11· · · ·A· · Nice guy.                                      11· ·who is this agreement between?
        12· · · ·Q· · What was your impression of his relationship   12· · · ·A· · WDC Holdings and Villanova Trust.
        13· ·with Brian Watson?                                      13· · · ·Q· · Were you aware that WDC Holdings and
        14· · · ·A· · They were close.                               14· ·Villanova Trust had an agreement like this?
        15· · · ·Q· · How did you know that they were close?         15· · · ·A· · I never saw this version of this agreement,
        16· · · ·A· · They represented to each other that they       16· ·so, I mean, I saw a template somewhat similar. I
        17· ·were close.· You know, when we were there, I know we    17· ·haven't reviewed this agreement, so I don't know what
        18· ·did at least one investor event up in C Lazy U that     18· ·the variances are, but I never did see this final
        19· ·Christian was invited from and -- invited to.· And it   19· ·version of this.
        20· ·was represented that they've known each other for       20· · · ·Q· · But you saw versions of the independent
        21· ·years and, you know, that Christian had had some        21· ·contractor agreement?
        22· ·difficult times with a previous business venture and    22· · · ·A· · I saw -- I'd say that the first iteration of
        23· ·Brian helped him out thereafter.                        23· ·this I saw, but I have no idea how many iterations
        24· · · ·Q· · In your opinion, was Brian Watson's            24· ·happened thereafter.
        25· ·relationship with Christian Kirschner typical of his    25· · · ·Q· · Gotcha.· When did you first see a version of


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        ·1· ·this document?                                          ·1· ·opinion?
        ·2· · · ·A· · I don't know.· I mean, in the exhibits that    ·2· · · ·A· · I guess it would also, you know, largely
        ·3· ·they showed me earlier today, you know, I think Brian   ·3· ·depend on --
        ·4· ·told me, make these modifications, so I guess that's    ·4· · · · · · MR. SMART:· Form.
        ·5· ·probably the last time I saw this agreement.            ·5· · · · · · THE WITNESS:· -- the size of a deal at the
        ·6· · · ·Q· · I would like you to go to the last page of     ·6· ·same time, right; you know, the bigger the deal, the
        ·7· ·this document.                                          ·7· ·less the percentage.· The smaller the deal maybe --
        ·8· · · ·A· · Yes.                                           ·8· ·you know, because you have sort of a critical tipping
        ·9· · · ·Q· · Do you see the page that's titled, "Exhibit    ·9· ·point.· You're building a house and you need to build
        10· ·A, Villanova Trust Referral Fee Participation           10· ·that house, you know, maybe paying a larger fee out,
        11· ·Schedule"?                                              11· ·but it only amounts to $3,000, and maybe it's
        12· · · ·A· · I do.                                          12· ·reasonable in that regard.
        13· · · ·Q· · Do you see the column where it says,           13· ·BY MR. HEYBURN:
        14· ·"Referral fee based on brokerage commission"?           14· · · ·Q· · Do you see the column that says, "Lease
        15· · · ·A· · I do.                                          15· ·commission rate"?
        16· · · ·Q· · Do you know what that is, what the purpose     16· · · ·A· · I do.
        17· ·of that fee is?                                         17· · · ·Q· · What is the purpose of the lease commission
        18· · · · · · MR. SMART:· Objection.· Foundation.            18· ·rate?
        19· · · · · · THE WITNESS:· No, I do not.                    19· · · · · · MS. BODNER:· Objection.· Form.
        20· ·BY MR. HEYBURN:                                         20· · · · · · MR. SMART:· Objection.· Form and foundation.
        21· · · ·Q· · Do you see where it says "Development fee"?    21· · · · · · THE WITNESS:· Well, this would have been a
        22· · · ·A· · I do.                                          22· ·commission paid based on the lease term, the initial
        23· · · ·Q· · Do you know what the purpose of a              23· ·lease term.· It would have been a percentage of its
        24· ·development fee is?                                     24· ·overall value paid.
        25· · · ·A· · I do.                                          25· · · · · · ///

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        ·1· · · · · · MR. SMART:· Objection.· Foundation.            ·1· ·BY MR. HEYBURN:
        ·2· · · · · · MS. BODNER:· Same objection.                   ·2· · · ·Q· · In your experience, is it reasonable to pay
        ·3· ·BY MS. BODNER:                                          ·3· ·a lease commission rate of this type to a referral
        ·4· · · ·Q· · What is the purpose of a development fee?      ·4· ·partner?
        ·5· · · ·A· · A development fee is a fee charged to          ·5· · · · · · MS. BODNER:· Objection.· Form and
        ·6· ·develop a property.· It ranges in any given deal.       ·6· ·foundation.
        ·7· · · ·Q· · Do you see the percentage of the development   ·7· · · · · · MR. SMART:· Objection.· Foundation.
        ·8· ·fee for this particular agreement?                      ·8· · · · · · THE WITNESS:· That probably would not have
        ·9· · · ·A· · I do.                                          ·9· ·been unreasonable to me, no.
        10· · · ·Q· · And what is it?                                10· ·BY MR. HEYBURN:
        11· · · ·A· · 20 percent.                                    11· · · ·Q· · Not unreasonable.
        12· · · ·Q· · In your experience, is it reasonable to pay    12· · · · · · Do you know if other referral partners
        13· ·development fees of that type to a referral partner?    13· ·received that type of fee?
        14· · · · · · MS. BODNER:· Objection.· Form and              14· · · ·A· · I do not know that.
        15· ·foundation.                                             15· · · ·Q· · Do you see the column that says, "Manager's
        16· · · · · · MR. SMART:· Objection.· Form.                  16· ·net profits interest percentage"?
        17· · · · · · THE WITNESS:· I wouldn't pay 20 percent. I     17· · · ·A· · Yes.
        18· ·don't know whether it's considered reasonable in the    18· · · ·Q· · What's the purpose of that payment?
        19· ·market.· I can say for me it would not be reasonable.   19· · · · · · MS. BODNER:· Objection.· Form and
        20· ·BY MR. HEYBURN:                                         20· ·foundation.
        21· · · ·Q· · Why wouldn't you think that was reasonable?    21· · · · · · MR. SMART:· Join.
        22· · · ·A· · I just wouldn't pay that much out.             22· · · · · · THE WITNESS:· I think it would be typically
        23· · · ·Q· · You think that it's too much?                  23· ·a manager has a profits interest; and in this case
        24· · · ·A· · Yeah.                                          24· ·the manager is sharing 15 percent of his profits
        25· · · ·Q· · What's a reasonable development fee in your    25· ·interest.


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                                                      EXHIBIT 5
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                                       CONFIDENTIAL
        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
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        ·1· ·BY MR. HEYBURN:                                         ·1· · · · · · MS. BODNER:· Objection.· Foundation.
        ·2· · · ·Q· · And in your experience, is it reasonable to    ·2· · · · · · THE WITNESS:· I do not know.
        ·3· ·pay a fee of that type to a referral partner?           ·3· ·BY MR. HEYBURN:
        ·4· · · · · · MS. BODNER:· Objection.· Form and              ·4· · · ·Q· · If he had told you to make a list of the top
        ·5· ·foundation.                                             ·5· ·10 referral partners, would you have not included
        ·6· · · · · · MR. SMART:· Join.                              ·6· ·Christian?
        ·7· · · · · · THE WITNESS:· I guess reasonable in this       ·7· · · · · · MR. SMART:· Objection.· Foundation.
        ·8· ·case would be in the eye of the beholder.               ·8· · · · · · THE WITNESS:· I couldn't answer that.· I can
        ·9· ·BY MR. HEYBURN:                                         ·9· ·say that Christian was not a common referral partner
        10· · · ·Q· · Why is that?                                   10· ·for investors, but I don't know that I would not have
        11· · · ·A· · One person -- it might be reasonable to one    11· ·included him.
        12· ·person and depending on how valuable the relationship   12· ·BY MR. HEYBURN:
        13· ·is.                                                     13· · · ·Q· · Why was he not common?
        14· · · · · · MR. HEYBURN:· I would like to introduce        14· · · ·A· · I just hadn't gotten any investors from him.
        15· ·another document.· Our Tab 6.                           15· ·You know, my -- you know, Brian worked with him more
        16· · · · · · MR. BEDELL:· While they're doing that, wait    16· ·on finding deals and I focused on finding investors
        17· ·a second to give your answer so the objections can --   17· ·and he didn't really find investors per se.
        18· · · · · · THE WITNESS:· Yeah, sorry about that.          18· · · ·Q· · So do you think Brian Watson's comment to
        19· · · · · · MR. BEDELL:· Leave her a little space to       19· ·make sure you included Christian, does that mean that
        20· ·type and catch up.                                      20· ·Christian was somehow different from the referral
        21· · · · · · MR. SMART:· Thank you.                         21· ·partners, other referral partners?
        22· · · · · · (Off-the record discussion.)                   22· · · ·A· · Well, it was probably because, you know,
        23· · · · · · MR. HEYBURN:· We're introducing Exhibit 16.    23· ·Brian and Christian had their communications. I
        24· · · · · · (Deposition Exhibit DM-016 was deemed          24· ·wasn't -- I rarely -- I think I even mentioned that I
        25· · · · · · ·marked for identification.)                   25· ·probably didn't talk to Christian more than -- I

                                                              223                                                          225
        ·1· ·BY MR. HEYBURN:                                         ·1· ·think I said five times or something earlier, right?
        ·2· · · ·Q· · Do you see Exhibit 16 on your screen?          ·2· ·I rarely, rarely spoke to Christian.
        ·3· · · ·A· · I do.                                          ·3· · · ·Q· · Do you see on the first page of this exhibit
        ·4· · · ·Q· · Do you see on the second page of this          ·4· ·an e-mail that you sent and then do you see the row
        ·5· ·document an e-mail from Brian Watson to you?· Second    ·5· ·that says, in parentheses, "Christian, Villanova
        ·6· ·page.                                                   ·6· ·Trust"?
        ·7· · · ·A· · Okay.                                          ·7· · · ·A· · I do.
        ·8· · · ·Q· · On December 11, 2018.                          ·8· · · ·Q· · And then what is the figure?
        ·9· · · ·A· · I do, yes.                                     ·9· · · ·A· · 50 grand.
        10· · · ·Q· · Do you recall this e-mail?                     10· · · ·Q· · 50 grand.· So are you telling -- you're
        11· · · ·A· · I don't.                                       11· ·responding to Brian Watson's question, then, in this
        12· · · ·Q· · Is that your e-mail address in the "to"        12· ·e-mail?
        13· ·line?                                                   13· · · ·A· · Correct.
        14· · · ·A· · It is.                                         14· · · ·Q· · And you're saying that Christian and
        15· · · ·Q· · Do you have any reason to believe that you     15· ·Villanova Trust have received $50,000?
        16· ·did not receive this e-mail?                            16· · · ·A· · That's all I was aware of, yes.
        17· · · ·A· · No, I do not.                                  17· · · · · · MS. BODNER:· Objection.· Foundation.
        18· · · ·Q· · In this e-mail, Brian Watson says, "Please     18· ·BY MR. HEYBURN:
        19· ·send me how much we have paid our top 10 referral       19· · · ·Q· · Do you see, then, at the top of that page,
        20· ·partners."                                              20· ·Brian Watson's response?
        21· · · · · · Then he goes on to say, "This should also      21· · · ·A· · I do.
        22· ·include the total we have paid them and should          22· · · ·Q· · And what does he say?
        23· ·include Christian as well."                             23· · · ·A· · "I think Christian has received millions."
        24· · · · · · Why did Brian Watson need to specifically      24· · · ·Q· · Do you recall getting that e-mail?
        25· ·make sure that you included Christian on that list?     25· · · ·A· · I do.


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        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
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        ·1· · · ·Q· · And what was your reaction when you saw his    ·1· · · · · · Can you read her response, please?
        ·2· ·response?                                               ·2· · · ·A· · "Villanova:· $4,641,955.40.· Chiles Capital:
        ·3· · · ·A· · Wow.                                           ·3· ·$100,000."
        ·4· · · ·Q· · That surprised you?                            ·4· · · ·Q· · And what was your reaction when you received
        ·5· · · ·A· · Yes.                                           ·5· ·that e-mail from Kristi Fisher?
        ·6· · · ·Q· · Why did it surprise you?                       ·6· · · ·A· · That's when I was like, wow, that's a lot of
        ·7· · · ·A· · I just -- it just hadn't occurred to me.       ·7· ·money.
        ·8· ·You know, that's a lot of money.                        ·8· · · ·Q· · Same reaction as before?
        ·9· · · ·Q· · Did you know that Villanova Trust and          ·9· · · ·A· · Yes.
        10· ·Christian Kirschner had received millions of dollars    10· · · ·Q· · Do you know where Kristi got this
        11· ·from Northstar?                                         11· ·information from?
        12· · · ·A· · Not at that time.· I think the follow-up to    12· · · ·A· · Kristi is the one who -- you know, between
        13· ·this one right here was the other one that had Kristi   13· ·Kristi and the CFO, they would be the ones to handle
        14· ·Fisher in there saying 4 million or something in it     14· ·this type of information.
        15· ·that you showed me earlier today.                       15· · · ·Q· · Did you have access to that information?
        16· · · ·Q· · Right.                                         16· · · ·A· · No.
        17· · · ·A· · And that's when I -- I think that's the same   17· · · ·Q· · Was information like this typically
        18· ·day that I e-mailed that e-mail to my Gmail, like       18· ·balkanized at Northstar?
        19· ·that was a lot of money.                                19· · · · · · MS. BODNER:· Objection to form.
        20· · · ·Q· · I would like to take a look at that e-mail.    20· · · · · · MR. SMART:· Join.
        21· ·We've introduced our Tab 7.                             21· · · · · · THE WITNESS:· I don't know what was typical
        22· · · · · · MS. BODNER:· I meant to object to the prior    22· ·there.· I just wasn't aware of distributions or
        23· ·question, but I didn't want to talk over him, so I      23· ·referral fees that had been paid out.
        24· ·apologize.                                              24· ·BY MR. HEYBURN:
        25· · · · · · THE WITNESS:· I'll try and slow down.          25· · · ·Q· · Was it your understanding that Brian Watson

                                                              227                                                          229
        ·1· · · · · · MR. HEYBURN:· I'm introducing a document as    ·1· ·wanted to hide the total number of fees that had been
        ·2· ·Exhibit 17.                                             ·2· ·sent to Villanova Trust from some people at
        ·3· · · · · · (Deposition Exhibit DM-017 was deemed          ·3· ·Northstar?
        ·4· · · · · · ·marked for identification.)                   ·4· · · · · · MS. BODNER:· Objection.· Form and
        ·5· ·BY MR. HEYBURN:                                         ·5· ·foundation.
        ·6· · · ·Q· · And if you could let me know when you see it   ·6· · · · · · MR. SMART:· Join.
        ·7· ·on your screen.                                         ·7· · · · · · THE WITNESS:· I couldn't speak to that one
        ·8· · · ·A· · I see it.                                      ·8· ·way or the other.
        ·9· · · ·Q· · Do you see Brian Watson's e-mail at the        ·9· ·BY MR. HEYBURN:
        10· ·bottom of the first page?                               10· · · ·Q· · But the information --
        11· · · ·A· · Yes.                                           11· · · ·A· · I can assume that, you know, you hold that
        12· · · ·Q· · And is that your e-mail address in the cc      12· ·type of information confidential, but I don't know if
        13· ·line?                                                   13· ·he made any implicit attempts to hide it.
        14· · · ·A· · It is.                                         14· · · ·Q· · But you weren't privy --
        15· · · ·Q· · Do you recall receiving this e-mail?           15· · · ·A· · I would not have been privy to it.
        16· · · ·A· · I've seen this, but I don't recall the         16· · · ·Q· · -- to that information?
        17· ·moment.· But, yes, I do recall seeing this e-mail.      17· · · · · · Sorry, I just need to finish my question.
        18· · · ·Q· · And there's no reason to think that you did    18· · · · · · But you weren't privy to that information?
        19· ·not receive this e-mail; is that right?                 19· · · ·A· · No, I was not.
        20· · · ·A· · Correct.· Correct.                             20· · · ·Q· · Did you ever ask anyone why the fees were so
        21· · · ·Q· · In this e-mail, Brian Watson asks, "What is    21· ·high at Northstar?
        22· ·the total amount of fees we have paid to Villanova or   22· · · · · · MS. BODNER:· Objection.· Foundation.
        23· ·all fees... leasing, sales, development, etcetera?"     23· · · · · · THE WITNESS:· No.
        24· · · · · · And then Kristi Fisher responds to Brian       24· ·BY MR. HEYBURN:
        25· ·with you still cc'ed.                                   25· · · ·Q· · Did you ever speak to Brian Watson about why


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        Danny Christopher Mulcahy                Amazon.com, Inc., et al. v. WDC Holdings LLC
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        ·1· ·Villanova Trust was receiving so much in fees?          ·1· ·meeting.
        ·2· · · · · · MS. BODNER:· Objection to form.                ·2· ·BY MR. HEYBURN:
        ·3· · · · · · THE WITNESS:· No.                              ·3· · · ·Q· · So he would not discuss --
        ·4· ·BY MR. HEYBURN:                                         ·4· · · ·A· · Paying somebody $4 million.
        ·5· · · ·Q· · When you received -- or strike that.           ·5· · · ·Q· · He would not discuss any payments to Casey
        ·6· · · · · · Was this e-mail exchange the first time that   ·6· ·Kirschner or Carleton Nelson broadly at Northstar?
        ·7· ·you became suspicious that something improper was       ·7· · · · · · MS. BODNER:· Objection.· Form and
        ·8· ·going on with the Northstar/Villanova Trust             ·8· ·foundation.
        ·9· ·relationship?                                           ·9· · · · · · MR. SMART:· Same objections.
        10· · · · · · MS. BODNER:· Objection.· Form and              10· · · · · · THE WITNESS:· No.
        11· ·foundation.                                             11· ·BY MR. HEYBURN:
        12· · · · · · MR. SMART:· Join.                              12· · · ·Q· · To your knowledge, did Brian Watson discuss
        13· · · · · · THE WITNESS:· I don't know if it's the first   13· ·the Villanova Trust with anyone at Amazon other than
        14· ·time.· It was a remarkable time, but maybe not the      14· ·Carleton Nelson and Casey Kirschner?
        15· ·first time.                                             15· · · · · · MS. BODNER:· Objection.· Form and
        16· ·BY MR. HEYBURN:                                         16· ·foundation.
        17· · · ·Q· · You testified earlier that it is your          17· · · · · · THE WITNESS:· No idea.
        18· ·understanding that Brian Watson was aware that a        18· · · · · · MR. SMART:· Same objection.
        19· ·portion of the payments going from Northstar to the     19· ·BY MR. HEYBURN:
        20· ·Villanova Trust were subsequently transferred to        20· · · ·Q· · To your knowledge, did Brian Watson attempt
        21· ·Carleton Nelson and Casey Kirschner; is that right?     21· ·to hide the Villanova Trust from anyone at Amazon
        22· · · · · · MS. BODNER:· Objection to form.                22· ·other than Carleton Nelson and Casey Kirschner?
        23· · · · · · THE WITNESS:· That was my understanding.       23· · · · · · MS. BODNER:· Objection.· Form and
        24· ·BY MR. HEYBURN:                                         24· ·foundation.
        25· · · ·Q· · To your knowledge, was Mr. Watson aware that   25· · · · · · MR. SMART:· Join.

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        ·1· ·this arrangement would violate Northstar's policies?    ·1· · · · · · THE WITNESS:· Not aware.
        ·2· · · · · · MS. BODNER:· Objection.· Form and              ·2· ·BY MR. HEYBURN:
        ·3· ·foundation.                                             ·3· · · ·Q· · Is there any way that he treated this
        ·4· · · · · · MR. SMART:· Join.                              ·4· ·agreement differently than other agreements?
        ·5· · · · · · THE WITNESS:· Repeat the question.             ·5· · · · · · MS. BODNER:· Objection.· Form and
        ·6· ·BY MR. HEYBURN:                                         ·6· ·foundation.
        ·7· · · ·Q· · To your knowledge, was Mr. Watson aware that   ·7· · · · · · MR. SMART:· Join.
        ·8· ·this arrangement might violate Northstar's policies?    ·8· · · · · · THE WITNESS:· Only in the manner that I
        ·9· · · ·A· · I can't answer that.                           ·9· ·never saw the final agreement.
        10· · · ·Q· · To your knowledge, was Mr. Watson aware that   10· ·BY MR. HEYBURN:
        11· ·this arrangement might violate Amazon's policies?       11· · · ·Q· · And would you typically see a final
        12· · · · · · MS. BODNER:· Objection.· Form and              12· ·agreement for a referral partner?
        13· ·foundation.                                             13· · · ·A· · I had started to be a part of those with,
        14· · · · · · THE WITNESS:· I can't speak to what he knew    14· ·like, if you saw that list of referral partners,
        15· ·or didn't know.                                         15· ·Nicole Gamp and Carl Medearis; that was the call I
        16· · · · · · MR. SMART:· Join.                              16· ·was speaking about earlier.· And that was the lady I
        17· ·BY MR. HEYBURN:                                         17· ·was speaking about earlier.· In those cases, yes, I
        18· · · ·Q· · Did you ever see anything that would lead      18· ·saw those agreements.· I filed those agreements.
        19· ·you to think that Mr. Watson wanted to hide this        19· · · ·Q· · So was it unusual that you did not see the
        20· ·aspect of the agreement from anyone at Northstar?       20· ·final agreement for this partner?
        21· · · · · · MS. BODNER:· Objection.· Form.                 21· · · · · · MS. BODNER:· Objection to form.
        22· · · · · · MR. SMART:· And foundation.                    22· · · · · · THE WITNESS:· I'm not going to say that it
        23· · · · · · THE WITNESS:· Again, I don't know if it was    23· ·was unusual.· We were transitioning to a process
        24· ·an explicit hiding.· Certainly not something that he    24· ·wherein I should have been the champion or gatekeeper
        25· ·went and discussed with everybody at the weekly         25· ·of those referral agreements, and for whatever


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        ·1· ·reason, it hadn't fully materialized.                   ·1· ·talk -- it's not something that you'd want ever out,
        ·2· ·BY MR. HEYBURN:                                         ·2· ·you know, in the public.
        ·3· · · ·Q· · To your knowledge, was anyone else at          ·3· · · ·Q· · So just making sure I have this right, did
        ·4· ·Northstar concerned that this agreement with            ·4· ·you have conversations with Josh Richards, Patricia
        ·5· ·Villanova Trust might be improper?                      ·5· ·Watson, and Brent Gray about your collective concerns
        ·6· · · ·A· · Again, I can't speak to a specific moment,     ·6· ·about the Villanova Trust arrangement?
        ·7· ·but, yes, I would say outside of Brian Watson and Don   ·7· · · · · · MS. BODNER:· Objection to form and
        ·8· ·Marcotte, I would expect that the other people that     ·8· ·foundation.
        ·9· ·knew about the arrangement knew that it might not be    ·9· · · · · · MR. SMART:· Join.
        10· ·appropriate.                                            10· · · · · · THE WITNESS:· I've never spoken to Patricia
        11· · · ·Q· · Do you remember who those individuals were?    11· ·Watson about any of this stuff.· My only area of
        12· · · ·A· · No.· Again, I don't know the specific          12· ·conversation with Patricia Watson was helping Brian
        13· ·example, but I would expect of the people I mentioned   13· ·deal with his divorce from Patricia Watson.· That's
        14· ·earlier, Brent Gray, Kristi Fisher, Tim Lorman, for     14· ·the only time I ever had any engagement with Patricia
        15· ·that matter -- if Tim was even involved.· I don't       15· ·Watson.
        16· ·know what Tim knew and didn't know.                     16· · · · · · I had all types of other conversations with
        17· · · ·Q· · Did you ever speak to Brent Gray about the     17· ·Brent Gray and Josh Richards and Kristi Fisher and
        18· ·Villanova Trust agreement?                              18· ·Kyle Ramstetter.· We all worked in the same office,
        19· · · ·A· · Not about the agreement, no.                   19· ·you know.· I'd boil it down to almost water-cooler
        20· · · ·Q· · Did you ever speak to Patricia Watson about    20· ·talk in a manner.
        21· ·the Villanova Trust agreement?                          21· ·BY MR. HEYBURN:
        22· · · ·A· · No.                                            22· · · ·Q· · Staying on this just for a minute, do you
        23· · · ·Q· · Did you ever speak to Josh Richards about      23· ·remember anything specifically that Brent Gray told
        24· ·the Villanova Trust agreement?                          24· ·you during these conversations?
        25· · · ·A· · No.                                            25· · · ·A· · No.

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        ·1· · · ·Q· · Just bear with me a minute.· I want to make    ·1· · · ·Q· · Do you remember anything specific about what
        ·2· ·sure that we're not repeating things too much.          ·2· ·Josh Richards told you during these conversations?
        ·3· · · ·A· · Right.· A point of clarification.· You're      ·3· · · ·A· · No.
        ·4· ·saying the Villanova Trust agreement, being this        ·4· · · ·Q· · Do you recall earlier discussing the White
        ·5· ·exact document, I didn't have those discussions.        ·5· ·Peaks transaction?
        ·6· · · · · · About the overall arrangement, you know, I     ·6· · · ·A· · I do.
        ·7· ·can't say at any specific time I did, but I know I      ·7· · · ·Q· · And if I refer to it as the White Peaks
        ·8· ·did speak about the overall arrangement with those      ·8· ·transaction, I think you discussed it earlier, you
        ·9· ·parties.                                                ·9· ·would know what I'm referring to?
        10· · · ·Q· · So let me ask again, then:· Did you ever       10· · · ·A· · I will.
        11· ·speak with Josh Richards about the overall Villanova    11· · · ·Q· · While you were at Northstar, did you have
        12· ·Trust arrangement?                                      12· ·any knowledge of the White Peaks transaction?
        13· · · ·A· · The structure of the Amazon deal in all of     13· · · ·A· · I did not.
        14· ·its merits, yes; I had conversations with all of        14· · · ·Q· · Do you know if others at Northstar knew that
        15· ·those people about all of the people mentioned prior    15· ·Kyle Ramstetter and Will Camenson were pursuing that
        16· ·at different times and at different levels of           16· ·transaction?
        17· ·discussion.                                             17· · · · · · MS. BODNER:· Objection.· Foundation.
        18· · · ·Q· · Do you recall when you had these               18· · · · · · THE WITNESS:· No, I have no idea.
        19· ·conversations?                                          19· ·BY MR. HEYBURN:
        20· · · ·A· · I do not.                                      20· · · ·Q· · Did you ever hear anyone discussing that
        21· · · ·Q· · Do you recall what you discussed with them?    21· ·transaction while you were at Northstar?
        22· · · ·A· · No, just free-flow conversation about it.      22· · · ·A· · No.
        23· · · ·Q· · At a general level, was the conversation       23· · · ·Q· · Did you know that that transaction involved
        24· ·about concerns about the arrangement?                   24· ·a same-day flip that netted White Peaks Capital an
        25· · · ·A· · Yes.· That it's not something that we should   25· ·$18 million profit?


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        ·1· · · · · · MS. BODNER:· Objection to form.                ·1· · · · · · (Deposition Exhibit DM-019 was deemed
        ·2· · · · · · MR. SMART:· Objection to form and              ·2· · · · · · ·marked for identification.)
        ·3· ·foundation.                                             ·3· ·BY MR. HEYBURN:
        ·4· · · · · · THE WITNESS:· I didn't know the details to     ·4· · · ·Q· · And if you could just let me know when you
        ·5· ·any of it, no.                                          ·5· ·see that exhibit.
        ·6· ·BY MR. HEYBURN:                                         ·6· · · ·A· · Okay.
        ·7· · · ·Q· · You read an article about it; is that right?   ·7· · · ·Q· · Do you see the exhibit?
        ·8· · · ·A· · Correct.                                       ·8· · · ·A· · I do.
        ·9· · · ·Q· · Did you learn in that article that White       ·9· · · ·Q· · Can you turn to the second page?· Do you
        10· ·Peaks purchased the property on the same day that       10· ·recall this e-mail that Brian Watson sent to you and
        11· ·they sold it to Amazon?                                 11· ·several others on February 15, 2019?
        12· · · ·A· · No, I did not.                                 12· · · ·A· · Vaguely.
        13· · · ·Q· · Were you aware that Brian Watson engaged in    13· · · ·Q· · If you'll see at the bottom of his e-mail,
        14· ·the mediation with Kyle Ramstetter and Will Camenson    14· ·he says, "I then leave Friday evening the 15th for
        15· ·regarding their involvement in the White Peaks          15· ·New Zealand/Australia with the Sterling execs."
        16· ·transaction?                                            16· · · · · · Do you recall that trip to New Zealand and
        17· · · · · · MS. BODNER:· Objection.· Foundation.           17· ·Australia?
        18· · · · · · MR. SMART:· Join.                              18· · · ·A· · Yes, I do.
        19· · · · · · THE WITNESS:· I was aware that they had some   19· · · ·Q· · Do you recall who attended the trip?
        20· ·sort of mediation.                                      20· · · ·A· · I think it was -- I want to say it was Casey
        21· ·BY MR. HEYBURN:                                         21· ·and Kyle and Brian.
        22· · · ·Q· · Are you aware of the result of the             22· · · ·Q· · Did Brian Watson pay for this trip?
        23· ·mediation?                                              23· · · ·A· · I have no idea.
        24· · · ·A· · I am not.                                      24· · · ·Q· · Do you recall what the purpose of this trip
        25· · · · · · MR. HEYBURN:· Okay.· I'm going to introduce    25· ·was?

                                                              239                                                          241

        ·1· ·another exhibit.· This will be Exhibit 18.              ·1· · · ·A· · It was a hunting trip.
        ·2· · · · · · (Deposition Exhibit DM-018 was deemed          ·2· · · ·Q· · Do you know why he invited -- who did you
        ·3· · · · · · ·marked for identification.)                   ·3· ·say that he took?
        ·4· · · · · · THE WITNESS:· I have Exhibit 17.               ·4· · · ·A· · Kyle and Casey.
        ·5· · · · · · Okay, here it is.· Here we go.                 ·5· · · ·Q· · Do you know why that he invited Casey and
        ·6· ·BY MR. HEYBURN:                                         ·6· ·Kyle?
        ·7· · · ·Q· · Do you have the exhibit up?                    ·7· · · ·A· · No.
        ·8· · · ·A· · I do.                                          ·8· · · ·Q· · Do you believe that he invited Casey to
        ·9· · · ·Q· · Do you recall this e-mail that Brian Watson    ·9· ·obtain further business from Amazon?
        10· ·sent you?                                               10· · · · · · MS. BODNER:· Objection.· Form and
        11· · · ·A· · I do not recall it.                            11· ·foundation.
        12· · · ·Q· · Is that your e-mail address in the "to"        12· · · · · · THE WITNESS:· Yes.
        13· ·line?                                                   13· · · · · · MR. SMART:· Join.
        14· · · ·A· · It is.                                         14· ·BY MR. HEYBURN:
        15· · · ·Q· · Do you have any reason to believe that you     15· · · ·Q· · Did Brian Watson ever treat any other
        16· ·did not receive this e-mail?                            16· ·individuals that he worked with outside of Northstar
        17· · · ·A· · No, I do not.                                  17· ·to trips like this?
        18· · · ·Q· · The e-mail contains a forwarded e-mail         18· · · · · · MS. BODNER:· Objection.· Form.
        19· ·thread discussing a trip to Naples, Florida.· Do you    19· · · · · · THE WITNESS:· Not that I'm aware of.
        20· ·recall the trip to Florida referenced in this e-mail?   20· ·BY MR. HEYBURN:
        21· · · ·A· · I do not.                                      21· · · ·Q· · To your knowledge, did Brian Watson ever try
        22· · · ·Q· · Do you recall -- strike that.                  22· ·to hide the fact of this trip from anyone at Amazon
        23· · · · · · MR. HEYBURN:· I would like to introduce        23· ·other than Casey Kirschner and Carleton Nelson?
        24· ·another exhibit.· This will be Exhibit 19, our Tab      24· · · · · · MS. BODNER:· Objection.· Form and
        25· ·12.                                                     25· ·foundation.


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                                                      EXHIBIT 5
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        ·1· · · · · · MR. SMART:· Join.                              ·1· · · · · · Do you recall the discussion about that
        ·2· · · · · · THE WITNESS:· I'm not aware if he tried to     ·2· ·e-mail?
        ·3· ·hide it from anybody.                                   ·3· · · ·A· · I do.
        ·4· ·BY MR. HEYBURN:                                         ·4· · · ·Q· · It's my understanding that you said that
        ·5· · · ·Q· · Did you have any concerns about this trip?     ·5· ·that was not the first time you became concerned
        ·6· · · ·A· · Not personally.                                ·6· ·about the Northstar/Villanova Trust arrangement, but
        ·7· · · ·Q· · Are you aware of any other trips that Brian    ·7· ·it was a significant thing that made you concerned.
        ·8· ·Watson provided for Amazon employees?                   ·8· ·Is that an accurate --
        ·9· · · · · · MS. BODNER:· Objection.· Form and              ·9· · · · · · MS. BODNER:· Objection.· Form and
        10· ·foundation.                                             10· ·foundation.
        11· · · · · · THE WITNESS:· Not that I'm aware of.           11· · · · · · MR. SMART:· Join.
        12· ·BY MR. HEYBURN:                                         12· ·BY MR. HEYBURN:
        13· · · ·Q· · Are you aware of any other gifts that Brian    13· · · ·Q· · I can restate the question.
        14· ·Watson provided any other employees?                    14· · · · · · Was that the first time that you became
        15· · · · · · MS. BODNER:· Same objection.                   15· ·concerned about the Northstar/Villanova Trust
        16· · · · · · MR. SMART:· Join.                              16· ·arrangement?
        17· · · · · · THE WITNESS:· No, I'm not aware.               17· · · ·A· · I actually think you asked that question in
        18· ·BY MR. HEYBURN:                                         18· ·the context of was that the first time I suspected
        19· · · ·Q· · Other than what we've discussed so far         19· ·things at Northstar, not regarding Villanova itself
        20· ·today, during your time at Northstar did you ever       20· ·or that deal in particular; and I said it might not
        21· ·observe Brian Watson doing anything that you            21· ·have been the first time, but it was a sort of a
        22· ·considered improper?                                    22· ·remarkable time.
        23· · · · · · MR. SMART:· Objection.· Form.                  23· · · ·Q· · And were there earlier instances that you
        24· · · · · · MS. BODNER:· Same objection.                   24· ·can recall that made you concerned about the
        25· · · · · · THE WITNESS:· Only what was previously         25· ·Northstar/Villanova Trust arrangement?

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        ·1· ·discussed this afternoon.                               ·1· · · · · · MR. SMART:· Objection.
        ·2· ·BY MR. HEYBURN:                                         ·2· · · · · · THE WITNESS:· I can't recall.
        ·3· · · ·Q· · And other than what was discussed this         ·3· ·BY MR. HEYBURN:
        ·4· ·afternoon, did you ever observe Brian Watson engaging   ·4· · · ·Q· · Earlier you testified about your
        ·5· ·in any activity that you thought might be illegal?      ·5· ·understanding of Don Marcotte's role in this kickback
        ·6· · · · · · MS. BODNER:· Objection.· Form.                 ·6· ·scheme.· What is your understanding of Don Marcotte's
        ·7· · · · · · THE WITNESS:· No.                              ·7· ·role in the kickback scheme?
        ·8· · · · · · MR. SMART:· Same objection.                    ·8· · · · · · MS. BODNER:· Objection.· Foundation.
        ·9· · · · · · MR. HEYBURN:· I think we're about done.        ·9· · · · · · MR. SMART:· Join.
        10· ·We'd like to just take five.· I think we should only    10· · · · · · THE WITNESS:· Don, to be colloquial, was
        11· ·have a few questions when we come back if that's all    11· ·along for the ride.· He wasn't a decision-maker per
        12· ·right with everyone.                                    12· ·se in -- you know, but he was intimately involved in
        13· · · · · · MS. BODNER:· Yep.                              13· ·the decision-making.· I mean, he wasn't a
        14· · · · · · THE VIDEOGRAPHER:· We are going off record     14· ·decision- -- but he was aware of exactly all the
        15· ·at 3:46 p.m.                                            15· ·dynamics.
        16· · · · · · (Thereupon, a recess was taken.)               16· ·BY MR. HEYBURN:
        17· · · · · · THE VIDEOGRAPHER:· We are back on record at    17· · · ·Q· · And he was aware that payments made by
        18· ·3:54 p.m.                                               18· ·Northstar to Villanova Trust would subsequently be
        19· ·BY MR. HEYBURN:                                         19· ·transferred to Casey Kirschner and Carleton Nelson;
        20· · · ·Q· · Okay.· Just a couple other questions,          20· ·is that right?
        21· ·Mr. Mulcahy.· We'll be done in less than five           21· · · · · · MS. BODNER:· Objection.· Form and
        22· ·minutes.                                                22· ·foundation.
        23· · · · · · Earlier we discussed the e-mail you received   23· · · · · · MR. SMART:· Join.
        24· ·from Kristi Fisher which laid out the fees that         24· · · · · · THE WITNESS:· Again, I -- back to that word
        25· ·Northstar had paid to Villanova Trust.                  25· ·"tangible," "empirical," etcetera, etcetera.· It was


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        ·1· ·my understanding that he was aware of all those         ·1· ·arrangement with Villanova Trust?
        ·2· ·things; but, you know, I was not on the e-mail chain.   ·2· · · ·A· · Kristi Fisher is just -- is an employee who
        ·3· ·I wasn't sitting in the same discussion with Brian      ·3· ·controls a lot of information and check writing and
        ·4· ·and him and whoever.                                    ·4· ·bill payment.· She would have done what she was told
        ·5· ·BY MR. HEYBURN:                                         ·5· ·by Brian Watson.
        ·6· · · ·Q· · And that's all I'm asking about is your        ·6· · · ·Q· · Have you had any conversations with Kristi
        ·7· ·understanding.                                          ·7· ·Fisher in which she expressed concern about being
        ·8· · · ·A· · That was my understanding, yes.                ·8· ·told by Brian Watson to do things related to
        ·9· · · ·Q· · Is it your understanding that he helped        ·9· ·Villanova Trust?
        10· ·facilitate those payments to Casey Kirschner and        10· · · ·A· · No, I did not.· She didn't express any
        11· ·Carleton Nelson?                                        11· ·concern, no.
        12· · · · · · MS. BODNER:· Objection.· Foundation.           12· · · ·Q· · Has Kristi Fisher ever expressed any
        13· · · · · · MR. SMART:· Objection.· Same objection.        13· ·concerns about her employment at Northstar to you?
        14· · · · · · THE WITNESS:· I don't believe he had any       14· · · ·A· · No.
        15· ·role in the facilitating because that would have        15· · · ·Q· · Did you try to hire Kristi Fisher while she
        16· ·fallen more into the CFO and Kristi Fisher's role.      16· ·was employed by Northstar?
        17· ·It would have been at the direction of Brian Watson     17· · · ·A· · Not per se.
        18· ·to Brent and Kristi in some manner to pay Christian.    18· · · ·Q· · What do you mean by that?
        19· ·And I don't know how it went from Christian into        19· · · ·A· · I've never per se headhunted her like I
        20· ·anywhere else.                                          20· ·would, you know, some other people in business. I
        21· · · · · · MR. HEYBURN:· Okay.· That is all we have       21· ·know she is active in RVing and motorcycling and I've
        22· ·today.· Thank you very much for your time and your      22· ·certainly told her that she always had a home with me
        23· ·patience.                                               23· ·if she wanted.
        24· · · · · · THE WITNESS:· Thank you.                       24· · · ·Q· · When you told her that she always had a home
        25· · · · · · MS. BODNER:· I have just a couple minutes of   25· ·with you, were you referring to an employment home?

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        ·1· ·questions, but I will quick.                            ·1· · · ·A· · Yeah, more of a, you know, what's called a
        ·2· · · · · · · · · · FURTHER EXAMINATION                    ·2· ·workamper.· It's not really -- it's a workamper role,
        ·3· ·BY MS. BODNER:                                          ·3· ·yes.· You know, stay at an RV park, put in some
        ·4· · · ·Q· · Following up on the question that you were     ·4· ·hours, get a discount on your space.· That's what
        ·5· ·just asked, do you have any personal knowledge that     ·5· ·millions of people do.
        ·6· ·Brian Watson directed Brent Gray or Kristi Fisher to    ·6· · · ·Q· · When you made that offer to Kristi Fisher,
        ·7· ·make payments to Villanova Trust?                       ·7· ·you had no concerns about her judgment?
        ·8· · · ·A· · No.                                            ·8· · · ·A· · No.
        ·9· · · ·Q· · Who was Kristi Fisher?                         ·9· · · ·Q· · Do you recall the e-mail in which Kristi
        10· · · ·A· · She -- I guess her job title was probably      10· ·Fisher sent figures that you called remarkable?
        11· ·office manager at Northstar Commercial Partners.        11· · · ·A· · Pardon me?
        12· · · ·Q· · Did you interact with her when you worked at   12· · · ·Q· · Do you recall discussing an e-mail in which
        13· ·Northstar?                                              13· ·Kristi Fisher sent certain figures and you called
        14· · · ·A· · I did.                                         14· ·those remarkable?
        15· · · ·Q· · While you worked at Northstar, did you have    15· · · ·A· · Discussing today, yes, I recall that.
        16· ·any reason to believe that Kristi Fisher was engaged    16· · · ·Q· · Correct.· You haven't remembered much today,
        17· ·in improper conduct?                                    17· ·so how do you remember that you thought those figures
        18· · · ·A· · Can you clarify that?                          18· ·were remarkable?
        19· · · ·Q· · While you were working at Northstar, did you   19· · · · · · MR. BEDELL:· Objection.· Argumentative.
        20· ·have any concerns about any of Kristi Fisher's          20· · · · · · THE WITNESS:· They are remarkable and I
        21· ·conduct?                                                21· ·remember they were remarkable because I forwarded
        22· · · ·A· · Kristi Fisher is a great woman and a           22· ·that e-mail thread.· I don't know when I did it, but
        23· ·straight-shooter.                                       23· ·I know I forwarded that e-mail thread to my personal
        24· · · ·Q· · Did you, at any point, have any concerns       24· ·account so that I'd have a record of it.
        25· ·that Kristi Fisher was involved in Northstar's          25· · · · · · ///


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        ·1· ·BY MS. BODNER:                                          ·1· · · ·Q· · So is it fair to say that you and Christian
        ·2· · · ·Q· · And do you recall that I showed you a          ·2· ·Kirschner had different roles at Northstar?
        ·3· ·different version of the document this morning when I   ·3· · · ·A· · Well, of course we had different roles. I
        ·4· ·asked you questions and asked you why you forwarded     ·4· ·was the director of equity and he was just a referral
        ·5· ·that e-mail to yourself?                                ·5· ·partner referring both corporate opportunities and
        ·6· · · ·A· · Vaguely.· What's your question?                ·6· ·investors.
        ·7· · · ·Q· · Do you recall telling me that you don't know   ·7· · · ·Q· · I'm sorry, did you just say that you
        ·8· ·why you forwarded that e-mail to your personal Gmail?   ·8· ·referred both corporate opportunities --
        ·9· · · ·A· · I don't remember saying that.· If I did, I     ·9· · · ·A· · No, I said he referred corporate
        10· ·did.                                                    10· ·opportunities and investors.
        11· · · ·Q· · Did you testify that it was your               11· · · ·Q· · Thank you.
        12· ·understanding that the Villanova Trust arrangement      12· · · · · · And to clarify, you referred just investors,
        13· ·was kept a secret at Northstar?                         13· ·right?
        14· · · · · · MR. BEDELL:· Objection to the form of the      14· · · ·A· · Correct.
        15· ·question, and specifically you're asking him a memory   15· · · ·Q· · And did you understand that Christian
        16· ·question about what he said today.                      16· ·Kirschner's referral agreement involved him
        17· · · · · · THE WITNESS:· Say it one more time.            17· ·introducing Northstar to companies?
        18· · · · · · MR. HEYBURN:· Same.· Objection to form.        18· · · ·A· · Didn't we just have this conversation?· His
        19· ·BY MS. BODNER:                                          19· ·role was to introduce investors and corporate
        20· · · ·Q· · Is it your understanding that the Villanova    20· ·relationships.
        21· ·Trust arrangement was a secret at Northstar?            21· · · ·Q· · Thank you.
        22· · · ·A· · I did not testify today that it was a          22· · · · · · Do you believe that the investors in the
        23· ·secret.· And, yeah, I don't know if it was hidden or    23· ·Sterling deals were harmed by the complaint you made
        24· ·not.· It just wasn't publicized.                        24· ·to Amazon?
        25· · · ·Q· · Would it surprise you to hear that others      25· · · · · · MR. HEYBURN:· Objection to form.

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        ·1· ·have testified that the Villanova Trust arrangement     ·1· · · · · · THE WITNESS:· Repeat the question.
        ·2· ·was common knowledge?                                   ·2· ·BY MS. BODNER:
        ·3· · · · · · MR. HEYBURN:· Objection to form.               ·3· · · ·Q· · Do you believe that the investors in the
        ·4· · · · · · THE WITNESS:· Repeat the question.             ·4· ·Sterling deals were harmed by your complaint to
        ·5· ·BY MS. BODNER:                                          ·5· ·Amazon?
        ·6· · · ·Q· · Would it surprise you to learn that others     ·6· · · ·A· · Not by my complaint, no.
        ·7· ·have testified that the Villanova Trust agreement was   ·7· · · ·Q· · Do you believe that the investors in the
        ·8· ·common knowledge?                                       ·8· ·Sterling deals have been harmed in any way by your
        ·9· · · ·A· · It wouldn't surprise me one way or the         ·9· ·actions with respect to Northstar?
        10· ·other, no.                                              10· · · · · · MR. HEYBURN:· Objection to form.
        11· · · ·Q· · Did you ever ask to see a fully signed copy    11· · · · · · THE WITNESS:· Not at all.
        12· ·of the Villanova Trust agreement from Mr. Watson?       12· ·BY MS. BODNER:
        13· · · ·A· · Not that I'm aware of.                         13· · · ·Q· · Did you understand that the IPI reduced
        14· · · ·Q· · Did you understand that Christian              14· ·buyout was related to the claims you made to Amazon?
        15· ·Kirschner's role was to open up corporate real estate   15· · · · · · MR. HEYBURN:· Objection to form.
        16· ·opportunities and not raise equity?                     16· · · · · · THE WITNESS:· Repeat the question.
        17· · · ·A· · No, that's not how I understood it.            17· ·BY MS. BODNER:
        18· · · ·Q· · How did you understand his role to be?         18· · · ·Q· · Do you understand that the IPI reduced
        19· · · ·A· · He was referral partner for both corporate     19· ·buyout was related to the claims you made to Amazon?
        20· ·opportunities and investors.                            20· · · ·A· · They weren't related to my claims.
        21· · · ·Q· · Did you understand that your role was          21· · · ·Q· · What is your understanding as to the impetus
        22· ·limited to just investors?                              22· ·for the IPI reduced buyout?
        23· · · ·A· · My role or his role?                           23· · · ·A· · The actions of WDC and Amazon.· Breach of
        24· · · ·Q· · Your role.                                     24· ·the morality clause.
        25· · · ·A· · My role is to just work on investors, yes.     25· · · ·Q· · So you believe the investors in the Sterling


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        ·1· ·deals were harmed by the actions of WDC?                ·1· · · · · · MS. BODNER:· We have no further questions.
        ·2· · · ·A· · Correct.                                       ·2· · · · · · MR. BEDELL:· Did Adam have any more?
        ·3· · · ·Q· · And were the actions that harmed the           ·3· · · · · · MS. BODNER:· I think Adam might have one or
        ·4· ·investors in the Sterling deals anything other than     ·4· ·two.
        ·5· ·what we've already discussed today?                     ·5· · · · · · · · · · FURTHER EXAMINATION
        ·6· · · ·A· · Repeat the question.                           ·6· ·BY MR. SMART:
        ·7· · · ·Q· · Were the actions that -- strike that.          ·7· · · ·Q· · I have one.· So let's look at -- actually,
        ·8· · · · · · Were the actions conducted by WDC that you     ·8· ·I'm going to ask it this way.· I believe counsel for
        ·9· ·believe harmed the Sterling deals anything other than   ·9· ·Amazon asked you whether you were privy to the
        10· ·what we've already discussed today?                     10· ·referral fees being paid to Villanova Trust.
        11· · · ·A· · No.                                            11· · · · · · Do you recall that question?
        12· · · ·Q· · What was your annual global income in 2019?    12· · · ·A· · What was your question?
        13· · · ·A· · No idea.                                       13· · · · · · MR. BEDELL:· Do you recall talking about
        14· · · ·Q· · Do you have a best guess?                      14· ·that with him?
        15· · · ·A· · No.                                            15· · · · · · THE WITNESS:· Yes, I recall that.
        16· · · ·Q· · Can you estimate what your annual global       16· ·BY MR. SMART:
        17· ·income was in 2019?                                     17· · · ·Q· · And you were included on the two e-mails
        18· · · · · · MR. BEDELL:· Objection as to the same thing.   18· ·that were setting forth the amount of fees that were
        19· ·You just asked that.                                    19· ·paid to Villanova Trust, right?
        20· · · · · · MR. HEYBURN:· Objection.· Relevance.           20· · · ·A· · The percentage -- the percentages?
        21· · · · · · MS. BODNER:· I just asked about 2018.          21· · · ·Q· · The 4 million, the $4 million amount and
        22· · · · · · MR. BEDELL:· You said 2019 both times.         22· ·change, do you remember that?
        23· · · · · · MS. BODNER:· You're right.· Thank you.         23· · · ·A· · Yes, yes.· I saw those e-mails.
        24· ·BY MS. BODNER:                                          24· · · · · · MR. SMART:· That's all I have.
        25· · · ·Q· · Can you estimate --                            25· · · · · · MS. BODNER:· I'm sorry.· Can I ask one

                                                              255                                                          257
        ·1· · · · · · MR. BEDELL:· I do have a relevance objection   ·1· ·question.· I overlooked it in my notes.
        ·2· ·in this deposition.                                     ·2· · · · · · · · · · FURTHER EXAMINATION
        ·3· ·BY MS. BODNER:                                          ·3· ·BY MS. BODNER:
        ·4· · · ·Q· · Can you estimate what your annual global       ·4· · · ·Q· · Mr. Mulcahy, you testified earlier today
        ·5· ·income was in 2020?                                     ·5· ·about five people that you discussed the Villanova
        ·6· · · ·A· · Why would my income in 2020 have anything to   ·6· ·Trust arrangement with.
        ·7· ·do with this deposition?· I don't need to disclose      ·7· · · · · · Do you recall that testimony?
        ·8· ·that information.                                       ·8· · · ·A· · I discussed and I clarified that I had
        ·9· · · ·Q· · You can answer that question.                  ·9· ·conversations about the overall structure of it, not
        10· · · ·A· · I'd say no.                                    10· ·the particular referral agreement with Villanova
        11· · · ·Q· · No, you don't have any estimate?               11· ·Trust.
        12· · · ·A· · No.                                            12· · · ·Q· · Can you -- strike that.
        13· · · ·Q· · Do you have an estimate as to your annual      13· · · · · · And I believe you testified to opposing
        14· ·global income from 2021?                                14· ·counsel that you considered that water-cooler talk;
        15· · · ·A· · No.                                            15· ·is that correct?
        16· · · ·Q· · You have no understanding?                     16· · · · · · MR. BEDELL:· Objection.· Form.
        17· · · · · · MR. HEYBURN:· Asked and answered.              17· · · · · · THE WITNESS:· In a manner, correct.
        18· · · · · · MR. BEDELL:· Objection.                        18· ·BY MS. BODNER:
        19· ·BY MS. BODNER:                                          19· · · ·Q· · Can you identify the names of all the
        20· · · ·Q· · You can answer.                                20· ·individuals you engaged in this water-cooler talk
        21· · · ·A· · Oh, no, I'm not going to guess what my         21· ·with so that it's clear for the record?
        22· ·income is.                                              22· · · ·A· · I think I've stated several times, but I'll
        23· · · ·Q· · Have you done your 2021 taxes?                 23· ·do it again:· Brent Gray, Kristi Fisher, Kyle
        24· · · ·A· · I haven't filed them yet, no.                  24· ·Ramstetter would be the three -- or however many that
        25· · · · · · MR. HEYBURN:· Objection to relevance.          25· ·was, those would be the primary ones.


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                                                                                                                                  YVer1f
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                                                             258                                                               260
        ·1· · · · · · There's other -- other per se conversations   ·1·   · · · · · · · · ·CERTIFICATE OF WITNESS
                                                                    ·2·   ·PAGE· ·LINE· · ·CHANGE· · · · · · · · · · ·REASON
        ·2· ·that I was a part of.· I can't bring them to the
                                                                    ·3·   ·_____________________________________________________
        ·3· ·exact example of when those conversations were, but
                                                                    ·4·   ·_____________________________________________________
        ·4· ·what I was aware that, you know, Don Marcotte and      ·5·   ·_____________________________________________________
        ·5· ·Brian Watson, the arrangements that they were making   ·6·   ·_____________________________________________________
        ·6· ·and agreeing to.                                       ·7·   ·_____________________________________________________
        ·7· · · ·Q· · So you just identified five individuals.      ·8·   ·_____________________________________________________
        ·8· · · · · · Are there other individuals formerly or       ·9·   ·_____________________________________________________
                                                                    10·   ·_____________________________________________________
        ·9· ·currently employed by Northstar that you engaged in
                                                                    11·   ·_____________________________________________________
        10· ·this water-cooler talk with?                           12·   ·_____________________________________________________
        11· · · ·A· · Maybe Josh Richards also.· You know, very     13·   ·_____________________________________________________
        12· ·initially.                                             14·   ·_____________________________________________________
        13· · · ·Q· · Can you remember anyone else?                 15·   ·_____________________________________________________
        14· · · ·A· · That should be it.                            16·   ·_____________________________________________________
                                                                    17·   ·_____________________________________________________
        15· · · · · · MR. BEDELL:· Can you spell that last name
                                                                    18·   ·_____________________________________________________
        16· ·for her?                                               19·   · · · · · · · · · · · ·* * * * *
        17· · · · · · THE WITNESS:· Josh Richards.                  20·   · · · · I, DANIEL CHRISTOPHER MULCAHY, witness herein,
        18· · · · · · MR. BEDELL:· Richards, okay.                  · ·   ·do hereby certify and declare under penalty of
        19· · · · · · MS. BODNER:· I have no further questions. I   21·   ·perjury the within and foregoing transcription to be
        20· ·don't know if anyone wants to follow up on that.       · ·   ·my deposition in said action; that I have read,
                                                                    22·   ·corrected and do hereby affix my signature to said
        21· · · · · · MR. HEYBURN:· None for us.
                                                                    · ·   ·deposition.
        22· · · · · · MS. BODNER:· Thank you very much.
                                                                    23
        23· · · · · · MR. BEDELL:· Before we go off the record,     24·   · · · · ________________________________· ·___________
        24· ·pursuant to the protective order, we're designating    · ·   · · · · · · ·DANIEL CHRISTOPHER MULCAHY· · · · ·DATE
        25· ·this as confidential.                                  25


                                                             259                                                               261
        ·1· · · · · · Now you can go off the record.                ·1·   · · · · · · · · ·REPORTER'S CERTIFICATE
                                                                    ·2
        ·2· · · · · · THE VIDEOGRAPHER:· This concludes the         · ·   ·STATE OF NEVADA· · · )
        ·3· ·video-recorded deposition of Danny Mulcahy taken on    ·3·   · · · · · · · · · · · )· SS
                                                                    · ·   ·COUNTY OF CLARK· · · )
        ·4· ·March 30, 2022.                                        ·4
                                                                    ·5·   · · · · I, Sarah Safier, a duly certified court
        ·5· · · · · · We are going off record, and the time is      · ·   ·reporter licensed in and for the State of Nevada, do
        ·6· ·4:12 p.m.                                              ·6·   ·hereby certify:
                                                                    ·7·   · · · · That I reported the taking of the deposition
        ·7· · · · · · THE REPORTER:· Before I go off the record,    · ·   ·of the witness, DANIEL CHRISTOPHER MULCAHY, at the
        ·8· ·Counsel, can I get your copy orders, please?           ·8·   ·time and place aforesaid;
                                                                    ·9·   · · · · That prior to being examined, the witness was
        ·9· · · · · · Mr. Bedell?                                   · ·   ·by me duly sworn to testify to the truth, the whole
        10· · · · · · MR. BEDELL:· Don't need one.                  10·   ·truth, and nothing but the truth;
                                                                    11·   · · · · That I thereafter transcribed my shorthand
        11· · · · · · THE REPORTER:· Mr. Heyburn?                   · ·   ·notes into typewriting and that the typewritten
        12· · · · · · MR. HEYBURN:· We'd like a rough transcript    12·   ·transcript of said deposition is a complete, true and
                                                                    · ·   ·accurate record of testimony provided by the witness
        13· ·as soon as possible and an expedited final.            13·   ·at said time to the best of my ability.
                                                                    14·   · · · · I further certify (1) that I am not a
        14· · · · · · THE REPORTER:· Mr. Smart, would you like a    · ·   ·relative, employee or independent contractor of
        15· ·copy?                                                  15·   ·counsel of any of the parties; nor a relative,
                                                                    · ·   ·employee or independent contractor of the parties
        16· · · · · · MR. SMART:· What's the normal time for the    16·   ·involved in said action; nor a person financially
        17· ·transcript?                                            · ·   ·interested in the action; nor do I have any other
                                                                    17·   ·relationship with any of the parties or with counsel
        18· · · · · · THE REPORTER:· Ten working days.              · ·   ·of any of the parties involved in the action that may
        19· · · · · · MR. SMART:· That will be fine.                18·   ·reasonably cause my impartiality to be questioned;
                                                                    · ·   ·and (2) that transcript review pursuant to FRCP 30(e)
        20· · · · · · THE REPORTER:· Sara?                          19·   ·was not requested.
        21· · · · · · MS. BODNER:· And then we would just like a    20·   · · · · IN WITNESS WHEREOF, I have hereunto set my
                                                                    · ·   ·hand in the County of Clark, State of Nevada, this
        22· ·rough and then regular time on the transcript.         21·   ·4th day of April, 2022.
                                                                    22
        23· · · · · · (Thereupon, the videotaped deposition         23
        24· · · · · · ·was concluded at 4:12 p.m.)                  24
                                                                    · ·   · · · · · · · · ·_________________________________
        25· · · · · · · · · · · ·*· *· *· * *                       25·   · · · · · · · · · · SARAH SAFIER, CCR 808



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